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                                           LOAN AGREEMENT




                                         Dated as of October 21, 2016



                                                  Between



                                         KORNBLUTH TEXAS, LLC,
                                               as Borrower



                                                     and



                                  RIALTO MORTGAGE FINANCE, LLC,
                                             as Lender




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                                           LOAN AGREEMENT

       THIS LOAN AGREEMENT, dated as of October 21, 2016 (as amended, restated,
replaced, supplemented or otherwise modified from time to time, this "Agreement"), between
RIALTO MORTGAGE FINANCE, LLC, a Delaware limited liability company, having an
address at 600 Madison Avenue, 12th Floor, New York, New York 10022 ("Lender") and
KORNBLUTH TEXAS, LLC, a Texas limited liability company, having an address at 302 W.
Bay Area Boulevard, Webster, Texas 77598 ("Borrower").

                                           W IT NE S S ETH:

          WHEREAS, Borrower desires to obtain the Loan (as hereinafter defined) from Lender;
and

       WHEREAS, Lender is willing to make the Loan to Borrower, subject to and in
accordance with the terms of this Agreement and the other Loan Documents (as hereinafter
defined).

       NOW THEREFORE, in consideration of the making of the Loan by Lender and the
covenants, agreements, representations and warranties set forth in this Agreement, the parties
hereto hereby covenant, agree, represent and warrant as follows:

         I.        DEFINITIONS; PRINCIPLES OF CONSTRUCTION

          Section I. I      Definitions.


        1.1.1 Certain Defined Terms. For all purposes of this Agreement, the following terms
shall have the meanings ascribed to them below:

        "Alteration Threshold" shall mean an amount equal to the greater of (i) one percent
(I%) of the original Loan amount and (ii) $200,000.

         "Applicable Interest Rate" shall mean 5.00% per annum.

         "Franchisor" shall mean Holiday Hospitality Franchising, LLC, a Delaware limited
liability company, or, if the context requires, any replacement franchisor approved by Lender in
accordance with the terms of this Agreement.

        "Free Window Date" shall mean the Payment Date that occurs three (3) months prior to
the Stated Maturity Date.

        "Guarantor" shall mean individually and collectively, William Kornbluth and Cheryl
Tyler, and any other Person guaranteeing any payment or performance obligation of Borrower.

         "Initial Capital Expenditure Deposit" shall mean an amount equal to $0.00.

         "Initial Insurance Deposit" shall mean an amount equal to $18,729.77.


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          "Initial PIP Deposit" shall mean an amount equal to $279,500.00.

          "Initial Tax Deposit" shall mean an amount equal to $166,512.54.

          "Key Principal" shall mean Guarantor.

       "Loan" shall mean the loan in the original principal amount of EIGHT MILLION
THREE HUNDRED FIFTY THOUSAND AND 00/100 DOLLARS ($8,350,000.00) made by
Lender to Borrower pursuant to this Agreement.

       "Manager" shall mean an entity selected as manager of the Property in accordance with
the terms of this Agreement or other Loan Documents or, if the context requires, a Qualified
Manager that manages the Property in accordance with the terms and provisions of this
Agreement and the other Loan Documents pursuant to a Replacement Management Agreement.

       "Monthly Capital Expenditure Deposit" shall mean an amount equal to the greater of
(a) an amount equal to one-twelfth (1112) of four percent (4.0%) of Gross Income from
Operations during the calendar year immediately preceding the calendar year in which such
Payment Date occurs and (b) the aggregate amount, if any, required to be reserved under the
Management Agreement and the Franchise Agreement.

      "Monthlv Debt Service Payment Amount" shall mean a constant monthly payment
amount of $44,824.61.

        "PACE Loan" shall mean any Property-Assessed Clean Energy loan or any similar
financing.

       "Permitted Defeasance Date" shall mean the date that is two (2) years from the "startup
day" within the meaning of Section 860G(a)(9) of the Code of the REMIC Trust established in
connection with the last Securitization involving any portion of the Loan.

       "Permitted Release Date" shall mean the date that is the earlier of (a) three (3) years
from the Closing Date or (b) Permitted Defeasance Date.

          "Required Repair Deposit" shall mean an amount equal to $0.00.

        "Reserve Funds" shall mean, collectively, the Required Repair Funds, the Tax Funds,
the Insurance Funds, the Capital Expenditure Funds, the Rollover Funds, the PIP Reserve Funds,
the Excess Cash Flow Funds and any other escrow or reserve fund established by the Loan
Documents.

       "Restoration Threshold" shall mean an amount equal to one percent (1 %) of the
Outstanding Principal Balance.

          "Stated Maturitv Date" shall mean November 6, 2026.

       1.1.2 Other Defined Terms. For all purposes of this Agreement, except as otherwise
expressly provided:



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          "Account Liabilities" shall have the meaning set forth in Section 6.1.4.

        "Accrual Period" shall mean, with respect to any Payment Date, the period commencing
on the eleventh (I !th) day of the preceding month and ending on the tenth (I 0th) day of the
calendar month in which such Payment Date occurs, provided that if the Closing Date is any date
other than the eleventh (I Ith) day of a month, the first Accrual Period shall (i) consist of only the
date hereof, if the date hereof is the tenth (I 0th) day of a month, or (ii) commence on the date
hereof and shall end on the immediately following tenth (I 0th) day of a calendar month.

        "Affiliate" shall mean, as to any Person, any other Person that (i) directly or indirectly,
owns ten percent (I 0%) or more of legal, beneficial or economic interests in such Person, (ii) is
in control of, is controlled by or is under common ownership or control with such Person, (iii) is
a director or officer of such Person or of an Affiliate of such Person and/or (iv) is the spouse,
issue or parent of such Person or of an Affiliate of such Person.

      "Affiliated Manager" shall mean any property manager which is an Affiliate of
Borrower or any Guarantor.

          "ALTA" shall mean American Land Title Association, or any successor thereto.

      "Approved Annual Budget" shall have the meaning set forth in the Cash Management
Agreement.

          "Approved Capital Expenditures" shall have the meaning set forth in Section 6.5.1
hereof.

          "Approved Leasing Expenses" shall have the meaning set forth in Section 6.6.I hereof.

       "Assignment of Leases" shall mean, that certain first priority Assignment of Leases and
Rents, dated as of the date hereof, from Borrower, as assignor, to Lender, as assignee, assigning
to Lender all of Borrower's interest in and to the Leases and Rents of the Property as security for
the Loan, as the same may be amended, restated, replaced, supplemented or otherwise modified
from time to time.

       "Assignment of Management Agreement" shall mean any Assignment of Management
Agreement and Subordination of Management Fees required pursuant to this Agreement and
entered into among Lender, Borrower and Manager, as the same may be amended, restated,
replaced, supplemented or otherwise modified from time to time.

          "Available Funds" shall have the meaning set forth in Section 6.1.3.

       "Award" shall mean any compensation paid by any Governmental Authority m
connection with a Condemnation in respect of all or any part of the Property.

        "Bankruptcy Action" shall mean, with respect to any Person, (i) such Person filing a
voluntary petition under the Bankruptcy Law; (ii) the filing of an involuntary petition against
such Person under the .Bankruptcy Law, or soliciting or causing to be solicited petitioning
creditors for any involuntary petition against such Person; (iii) such Person filing an answer


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consenting to or otherwise acquiescing in or joining in any involuntary petition filed against it,
by any other Person under the Bankruptcy Law; (iv) such Person consenting to or acquiescing in
or joining in an application for the appointment of a custodian, receiver, trustee, or examiner for
such Person or any portion of the Property; or (v) such Person making an assignment for the
benefit of creditors, or admitting, in writing or in any legal proceeding, its insolvency or inability
to pay its debts as they become due.

       "Bankruptcv Code" shall mean Title 11 U.S.C. § 101 et seq., and the regulations
adopted and promulgated pursuant thereto (as the same may be amended from time to time).

       "Bankruptcy Law" shall mean the Bankruptcy Code, any other federal, state or foreign
bankruptcy or insolvency law and any comparable foreign laws relating to bankruptcy,
insolvency or creditors' rights.

       "Borrower" shall have the meaning set fmth m the introductory paragraph hereto,
together with its successors and assigns.

          "Broker" shall have the meaning set forth in Section 9.21 hereof.

       "Business Day" shall mean any day other than a Saturday, Sunday or any other day on
which national banks in New York, New York are not open for business.

          "Capital Expenditure Account" shall have the meaning set forth in Section 6.5.1
hereof.

          "Capital Expenditure Funds" shall have the meaning set forth in Section 6.5.1 hereof.

        "Capital Expenditures" shall mean, for any period, the amount expended for items
capitalized under GAAP and the Uniform System of Accounts (including expenditures for
building improvements or major repairs, leasing commissions and tenant improvements).

          "Cash Management Account" shall have the meaning set forth in Section 6.1.3 hereof.

       "Cash Management Activation Notice" shall mean a written notice from Lender or
Servicer to Clearing Account Bank stating that a Cash Management Trigger Event has occurred
and instructing Clearing Account Bank to transfer all available funds in the Clearing Account to
the Cash Management Account in accordance with the Clearing Account Agreement.

       "Cash Management Agreement" shall mean that certain Cash Management Agreement,
dated as of the date hereof, between Lender, Borrower and Cash Management Bank, as the same
may be amended, restated, replaced, supplemented or otherwise modified from time to time.

        "Cash Management Bank" shall mean Wells Fargo Bank, National Association or any
other federal or state chartered depository institution or trust company acting in its fiduciary
capacity and subject to supervision or examination by federal and State authority selected by
Lender.




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          "Cash Management De-Activation Notice" shall mean a written notice from Lender or
Servicer to Clearing Account Bank stating that a Cash Management Trigger Event no longer
exists and instructing Clearing Account Bank to transfer all available funds in the Clearing
Account to an account designated by Borrower in accordance with the Clearing Account
Agreement.

          "Cash Management DSCR Trigger Event" shall mean that, as of any date on which
Lender determines the Debt Service Coverage Ratio, the Debt Service Coverage Ratio based on
the trailing twelve (12) month period immediately preceding the date of such determination is
less than 1.25 to 1.00.

          "Cash Management Trigger Event" shall mean the occurrence of:

                    (i)       an Event of Default;

                    (ii)      without waiving any Event of Default or the assessment of late charges
                              arising therefrom, Borrower's second failure in any consecutive twelve
                              (12) month period to pay a Monthly Debt Service Payment Amount on a
                              Payment Date;

                    (iii)     any Bankruptcy Action of Borrower;

                    (iv)      any Bankruptcy Action of Guarantor;

                    (v)       any Bankruptcy Action of Manager;

                    (vi)      a Cash Management DSCR Trigger Event; or

                    (vii)     the occurrence of a Franchise Trigger Event.

          "Cash Management Trigger Event Cure" shall mean:

                    (i)       if the Cash Management Trigger Event is caused solely by the occurrence
                              of clause (i) in the definition of "Cash Management Trigger Event," a cure
                              of the Event of Default which is accepted or waived in writing by Lender
                              which gave rise to such Cash Management Trigger Event; provided that
                              Lender shall not have exercised any of its rights under the Security
                              Instrument to accelerate the Loan, move to appoint a receiver or
                              commence a foreclosure action;

                    (ii)     if the Cash Management Trigger Event is caused solely by the occurrence
                             of clause (ii) in the definition of "Cash Management Trigger Event," the
                             timely payment of Monthly Debt Service Payment Amounts on twelve
                             (12) consecutive Payment Dates;

                   (iii)     if the Cash Management Trigger Event is caused solely by the occurrence
                             of clause (iii) in the definition of "Cash Management Trigger Event," if
                             such Cash Management Trigger Event is as a result of the filing of an


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                            involuntary petition against Borrower with respect to which neither
                            Borrower, Guarantor nor any Affiliate of Borrower or Guarantor solicited
                            or caused to be solicited petitioning creditors or consented to or otherwise
                            acquiesced in or joined in such involuntary petition, upon the same being
                            discharged, stayed or dismissed within thirty (3 0) days of such filing;
                            provided that (A) in Lender's reasonable opinion, such filing (after
                            dismissal or discharge) does not materially increase Borrower's monetary
                            obligations, and (B) Borrower is not in breach of the provisions set forth in
                            Sections 4.1.12 or 8.5 of this Agreement;

                   (iv)     if the Cash Management Trigger Event is caused solely by the occurrence
                            of clause (iv) in the definition of "Cash Management Trigger Event," if
                            such Cash Management Trigger Event is as a result of the filing of an
                            involuntary petition against Guarantor with respect to which neither
                            Guarantor nor any Affiliate of Guarantor solicited or caused to be solicited
                            petitioning creditors or consented to or otherwise acquiesced in or joined
                            in such involuntary petition, upon the same being discharged, stayed or
                            dismissed within thirty (30) days of such filing; provided that, in Lender's
                            reasonable opinion, such filing (after dismissal or discharge) does not
                            materially and adversely affect Guarantor's ability to perform its
                            obligations under the Loan Documents to which it is a party;

                   (v)      ifthe Cash Management Trigger Event is caused solely by the occurrence
                            of clause (v) in the definition of "Cash Management Trigger Event," (A) if
                            Borrower replaces Manager with a new Manager acceptable to Lender in
                            accordance with the Assignment of Management Agreement, or (B) if
                            such Cash Management Trigger Event is as a result of the filing of an
                            involuntary petition against Manager with respect to which neither
                            Manager nor any Affiliate of Manager solicited or caused to be solicited
                            petitioning creditors or consented to or otherwise acquiesced in or joined
                            in such involuntary petition, upon the same being discharged, stayed or
                            dismissed within one hundred twenty (120) days of such filing; provided
                            that, in Lender's reasonable opinion, such filing (after dismissal or
                            discharge) does not materially and adversely affect Manager's ability to
                            perform its obligations under the Management Agreement;

                   (vi)     if the Cash Management Trigger Event is caused solely by the occurrence
                            of clause (vi) in the definition of "Cash Management Trigger Event," once
                            the Debt Service Coverage Ratio based upon the trailing twelve (12)
                            month period immediately preceding the date of such determination is
                            greater than 1.30 to 1.00 for two (2) consecutive quarters; and

                  (vii)     if the Cash Management Trigger Event is caused solely by the occurrence
                            of clause (viii) in the definition of "Cash Management Trigger Event," a
                            new Franchise Agreement acceptable to Lender (or extension of the
                            existing Franchise Agreement acceptable to Lender) is entered into by
                            Borrower with Franchisor or a replacement Franchisor acceptable to


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                              Lender, all related property improvement requirements have been
                              completed and paid for in full and Lender has received an acceptable
                              comfort letter from such Franchisor.

provided that each Cash Management Trigger Event Cure set forth above shall be subject to the
following conditions: (1) after giving effect to such Cash Management Trigger Event Cure, no
Cash Management Trigger Event shall have occurred and remain outstanding, (2) Borrower shall
have notified Lender in writing of its election to cure the applicable Cash Management Trigger
Event, and (3) Borrower shall have paid all of Lender's reasonable costs and expenses incurred
in connection with such Cash Management Trigger Event Cure (including reasonable attorneys'
fees and expenses).

       "Cash Management Trigger Event Period" shall mean any period commencing on the
occurrence of a Cash Management Trigger Event and continuing until the earlier of (i) the
Payment Date following the date that no Cash Management Trigger Event shall have occurred
and be continuing or (ii) the payment in full of all principal and interest on the Loan and all other
amounts payable under the Loan Documents in accordance with the terms and provisions of the
Loan Documents.

        "Cash Sweep DSCR Trigger Event" shall mean that, as of any date on which Lender
detennines the Debt Service Coverage Ratio, the Debt Service Coverage Ratio based on the
trailing twelve (12) month period immediately preceding the date of such determination is less
than 1.10 to 1.00.

          "Cash Sweep Event" shall mean the occurrence of:

                    (i)       an Event of Default;

                    (ii)      any Bankruptcy Action of Borrower;

                    (iii)     any Bankruptcy Action of Guarantor;

                    (iv)      any Bankruptcy Action of Manager;

                    (v)       a Cash Sweep DSCR Trigger Event; or

                    (vi)     the occurrence of a Franchise Trigger Event.

          "Cash Sweep Event Cure" shall mean:

                    (i)      if the Cash Sweep Event is caused solely by the occurrence of clause (i) in
                             the definition of "Cash Sweep Event," a cure of the Event of Default
                             which is accepted or waived in writing by Lender which gave rise to such
                             Cash Sweep Event; provided that Lender shall not have exercised any of
                             its rights under the Security Instrument to accelerate the Loan, move to
                             appoint a receiver or commence a foreclosure action;




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                   (ii)     if the Cash Sweep Event is caused solely by the occurrence of clause (ii)
                            in the definition of "Cash Sweep Event," if such Cash Sweep Event is as a
                            result of the filing of an involuntary petition against Borrower with respect
                            to which neither Borrower, Guarantor nor any Affiliate of Borrower or
                            Guarantor solicited or caused to be solicited petitioning creditors or
                            consented to or otherwise acquiesced in or joined in such involuntary
                            petition, upon the same being discharged, stayed or dismissed within thirty
                            (30) days of such filing; provided that (A) in Lender's reasonable opinion,
                            such filing (after dismissal or discharge) does not materially increase
                            Borrower's monetary obligations and (B) Borrower is not in breach of the
                            provisions set forth in Sections 4.1.12 or 8.5 of this Agreement;

                   (iii)    if the Cash Sweep Event is caused solely by the occurrence of clause (iii)
                            in the definition of "Cash Sweep Event," if such Cash Sweep Event is as a
                            result of the filing of an involuntary petition against Guarantor with
                            respect to which neither Guarantor nor any Affiliate of Guarantor solicited
                            or caused to be solicited petitioning creditors or consented to or otherwise
                            acquiesced in or joined in such involuntary petition, upon the same being
                            discharged, stayed or dismissed within thirty (3 0) days of such filing;
                            provided that, in Lender's reasonable opinion, such filing (after dismissal
                            or discharge) does not materially and adversely affect Guarantor's ability
                            to perform its obligations under the Loan Documents to which it is a party;

                   (iv)     if the Cash Sweep Event is caused solely by the occurrence of clause (iv)
                            in the definition of "Cash Sweep Event,'' (A) if Borrower replaces
                            Manager with a new Manager acceptable to Lender in accordance with the
                            Assignment of Management Agreement, or (B) if such Cash Sweep Event
                            is as a result of the filing of an involuntary petition against Manager to
                            which Manager did not consent, upon the same being discharged, stayed
                            or dismissed within one hundred twenty (120) days of such filing;
                            provided that, in Lender's reasonable opinion, such filing (after dismissal
                            or discharge) does not materially and adversely affect Manager's ability to
                            perform its obligations under the Management Agreement;

                   (v)      ifthe Cash Sweep Event is caused solely by the occurrence of clause (v) in
                            the definition of "Cash Sweep Event,'' once the Debt Service Coverage
                            Ratio based upon the trailing twelve (12) month period immediately
                            preceding the date of such determination is greater than 1.15 to 1.00 for
                            two (2) consecutive quarters; and

                  (vi)      if the Cash Sweep Event is caused solely by the occurrence of clause (vi)
                            in the definition of "Cash Sweep Event," a Franchise Trigger Event, a new
                            Franchise Agreement acceptable to Lender (or extension of the existing
                            Franchise Agreement acceptable to Lender) is entered into by Borrower
                            with Franchisor or a replacement Franchisor acceptable to Lender, all
                            related property improvement requirements have been completed and paid



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                             for in full and Lender has received an acceptable comfort letter from such
                             Franchisor.

provided that each Cash Sweep Event Cure set forth above shall be subject to the following
conditions: (I) after giving effect to such Cash Sweep Event Cure, no Cash Sweep Event shall
have occurred and remain outstanding, (2) Borrower shall have notified Lender in writing of its
election to cure the applicable Cash Sweep Event, and (3) Borrower shall have paid all of
Lender's reasonable costs and expenses incurred in connection with such Cash Sweep Event
Cure (including reasonable attorneys' fees and expenses).

        "Cash Sweep Event Period" shall mean any period commencing on the occurrence of
any Cash Sweep Event and continuing until the earlier of (i) the Payment Date following the date
that no Cash Sweep Event shall have occurred and be continuing or (ii) the payment in full of all
principal and interest on the Loan and all other amounts payable under the Loan Documents in
accordance with the terms and provisions of the Loan Documents.

          "Casualtv" shall have the meaning set forth in Section 5.2 hereof.

          "Casualty Consultant" shall have the meaning set fo1ih in Section 5.4(b)(iii) hereof.

          "Casualtv Retainage" shall have the meaning set forth in Section 5.4(b)(iv) hereof.

         "Clearing Account" shall have the meaning set forth in Section 6.1.1.

         "Clearing Account Activation" shall have the meaning set forth in Section 6.1.1.

       "Clearing Account Activation Documentation" shall have the meaning set forth in
Section 6.1.1.

       "Clearing Account Agreement" shall mean any depository account control agreement
between Clearing Account Bank, Borrower and Lender with respect to the Clearing Account and
any lockbox established in connection therewith in a form acceptable to Lender, as the same may
be amended, restated, replaced, supplemented or otherwise modified from time to time.

       "Clearing Account Bank" shall mean Wells Fargo Bank, National Association, or any
successor thereto designated in accordance with the terms of Sections 6. l .2(b) or 6. l .2(c) hereof.

         "Closing Date" shall mean the date of the funding of the Loan.

       "Code" shall mean the Internal Revenue Code of 1986, as amended, as it may be further
an1ended from time to time, and any successor statutes thereto, and all applicable U.S.
Department of Treasury regulations issued pursuant thereto in temporary or final form.

        "Condemnation" shall mean a temporary or permanent taking by any Governmental
Authority as the result or in lieu or in anticipation of the exercise of the right of condemnation or
eminent domain, of all or any part of the Property, or any interest therein or right accruing
thereto, including any right of access thereto or any change of grade affecting the Property or any
part thereof.



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          "Condemnation Proceeds" shall have the meaning set forth in Section 5.4(b) hereof.

       "control" (and the correlative terms "controlled by" and "controlling") shall mean the
possession, directly or indirectly, of the power to direct or cause the direction of management
and policies of the business and affairs of the entity in question by reason of the ownership of
beneficial interests, by contract or otherwise.

          "Credit Card Company" shall have the meaning set forth in Section 6. l .2Ca).

          "Credit Card Instruction Notice" shall have the meaning set forth in Section 6. l.2(a).

       "Debt" shall mean the Outstanding Principal Balance, together with all interest accrued
and unpaid thereon and all other sums payable to Lender in respect of the Loan under the Note,
this Agreement, the Security Instrument or any other Loan Document.

       "Debt Service" shall mean the scheduled monthly principal and interest payments due
and payable under the Note (but assuming, for the purpose of calculating the Debt Service
Coverage Ratio, that the Debt Service was based on the Applicable Interest Rate and an
amortization period of thirty years).

       "Debt Service Coverage Ratio" shall mean as of any date of determination, the ratio, as
determined by Lender for the applicable period, in which:

                    (i)      the numerator is the Net Operating Income (excluding interest on credit
                             accounts and using annualized operating expenses for any recurring
                             expenses not paid monthly) for such period as set forth in financial
                             statements required hereunder (and if the applicable period is less than
                             twelve (12) months, the Net Operating Income for such period shall be
                             annualized), without deduction for (a) actual management fees incurred in
                             connection with the operation of the Property, (b) actual franchise fees
                             incurred in connection with the operation of the Property, or (c) actual
                             amounts paid to the Reserve Funds, less (!) management fees equal to the
                             greater of (A) assumed management fees of three percent (3 .0%) of Gross
                             Income from Operations and (B) the actual management fees incurred, (2)
                             franchise fees equal to the greater of (A) assumed franchise fees of seven
                             percent (7.0%) of Gross Income from Operations and (B) the actual
                             franchise fees incurred, and (3) contributions to the Capital Expenditure
                             Account contributions for such period based on an assumed annual
                             amount equal to $1,216.00 per hotel room at the Property; and

                    (ii)      the denominator is the annual Debt Service.

        "Default Rate" shall mean, with respect to the Loan, a rate per annum equal to the lesser
of(a) the Maximum Legal Rate, or (b) five percent (5%) above the Applicable Interest Rate.

          "Defeasance Collateral" shall have the meaning set forth in Section 2.5.1 (b) hereof.

          "Defeasance Date" shall have the meaning set forth in Section 2.5. l(a) hereof.


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        "Defeasance Deposit" shall mean an amount sufficient to purchase U.S. Obligations
necessary to meet the Scheduled Defeasance Payments, pay any costs and expenses incurred or
to be incurred in the purchase of U.S. Obligations necessary to meet the Scheduled Defeasance
Payments and pay any revenue, documentary stamp or intangible taxes or any other tax or charge
due in connection with the transfer of the Note or otherwise required to accomplish the
agreements of Section 2.4 hereof.

          "Defeasance Event" shall have the meaning set forth in Section 2.5. l(a) hereof.

          "Defeasance Security Agreement" shall have the meaning set forth in Section 2.5.l(a)
hereof.

          "Disclosure Document" shall have the meaning set forth in Section 8.2 hereof.

         "Eligible Account" shall mean a separate and identifiable account from all other funds
held by the holding institution that is either (i) an account or accounts (or subaccounts thereof)
maintained with a federal or state-chartered depository institution or trust company which
complies with the definition of Eligible Institution or (ii) a segregated trust account or accounts
(or subaccounts thereof) maintained with a federal or state chartered depository institution or
trust company acting in its fiduciary capacity which, in the case of a state chartered depository
institntion or trust company, is subject to regulations substantially similar to 12 C.F.R. §9.lO(b),
having in either case a combined capital and surplus of at least $50,000,000 and subject to
supervision or examination by federal and state authority. An Eligible Account will not be
evidenced by a certificate of deposit, passbook or other instrument.

       "Eligible Institution" shall mean a depository institution or trust company insured by the
Federal Deposit Insurance Corporation the short term unsecured debt obligations or commercial
paper of which are rated at least "A-1" by S&P, "P-1" by Moody's, and "F-1" by Fitch in the
case of accounts in which funds are held for· thirty (30) days or less or, in the case of accounts in
which funds are held for more than thirty (30) days, the long term unsecured debt obligations of
which are rated at least "A" by Fitch and S&P and "A2" by Moody's.

       "Environmental Indemnitv" shall mean that certain Environmental Indemnity
Agreement executed by Borrower and Guarantor in connection with the Loan for the benefit of
Lender, as the same may be amended, restated, replaced, supplemented or otherwise modified
from time to time.

      "ERISA" shall mean the Employee Retirement Income Security Act of I 974, as the same
may be amended from time to time.

          "Event of Default" shall have the meaning set forth in Section 7.1 hereof.

      "Excess Cash Flow" shall have the meaning set forth in the Cash Management
Agreement.

          "Excess Cash Flow Account" shall have the set forth in Section 6.9.1 hereof.

          "Excess Cash Flow Funds" shall have the meaning set forth in Section 6.9. I hereof.


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         "Exchange Act" shall have the meaning set forth in Section 8.2 hereof.

       "Exchange Act Filing" shall mean a filing pursuant to the Exchange Act in connection
with or relating to a Securitization.

        "Extraordinary Lease Payments" shall mean any amounts paid to Borrower in
connection with a termination, cancellation, surrender, modification, sale or other disposition of
any Lease or any portion thereof, other than amounts paid for rent and other charges in respect of
periods prior to the date of such termination, cancellation, surrender, modification, sale or other
disposition.

       "Fiscal Year" shall mean each twelve (12) month period commencing on January 1 and
ending on December 31 during the term of the Loan.

         "Fitch" shall mean Fitch, Inc.

       "Franchise Agreement" shall mean that ce1iain License Agreement, dated as of the date
hereof, between Borrower and Franchisor, as the same may be amended, supplemented or
otherwise modified from time to time in accordance with the terms and provisions of this
Agreement, or, if the context requires, any replacement franchise agreement approved by Lender
in accordance with the terms of this Agreement.

        "Franchise Trigger Event" shall mean (x) the Franchise Agreement shall expire or
terminate for any reason or (y) the date that occurs twelve (12) months prior to the then current
expiration date of the Franchise Agreement.

      "GAAP" shall mean generally accepted accounting principles in the United States of
America as of the date of the applicable financial report.

        "Governmental Authority" shall mean any court, board, agency, commission, office,
central bank or other authority of any nature whatsoever of any governmental unit (federal, State,
county, district, municipal, city, country or otherwise) or quasi-governmental unit whether now
or hereafter in existence.

        "Gross Income from Operations" shall mean all income and proceeds (whether in cash
or on credit and computed on an accrual basis) received by Borrower or Manager for the use,
occupancy or enjoyment of the Property, or any part thereof, or received by Borrower or
Manager for the sale of any goods, services or other items sold on or provided from the Property
in the ordinary course of the Property operation, including without limitation: (i) all income and
proceeds received from Leases and rental of rooms, commercial space and meeting, conference
and/or banquet space within the Property (including net parking revenue); (ii) all income and
proceeds received from food and beverage operations and from catering services conducted from
the Property even though rendered outside of the Property; (iii) all income and proceeds from
business or rental interruption or other loss of income insurance and use and occupancy
insurance with respect to the operation of the Property (after deducting therefrom all costs and
expenses incurred in the adjustment or collection thereof); (iv) all Awards for temporary use
(after deducting therefrom all costs and expenses incurred in the adjustment or collection thereof
and in Restoration of the Property); (v) all income and proceeds from judgments, settlements and


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other resolutions of disputes with respect to matters which would be includable in this definition
of "Gross Income from Operations" if received in the ordinary course of the Property operation
(after deducting therefrom all costs and expenses incurred in the adjustment or collection
thereof); and (vi) interest on credit accounts, rent concessions or credits, and other required pass-
throughs and interest on Reserve Funds; but excluding, (a) gross receipts received by lessees,
licensees or concessionaires of the Property; (b) consideration received at the Property for hotel
accommodations, goods and services to be provided at other hotels, although arranged by, for or
on behalf of Borrower or Manager; (c) income and proceeds from the sale or other disposition of
goods, capital assets and other items not in the ordinary course of the Property operation; (d)
federal, state and municipal excise, sales, use or other taxes collected directly from patrons or
guests of the Property as a part of or based on the sales price of any goods, services or other
items, such as gross receipts, room, admission, cabaret or equivalent taxes; (e) Awards (except to
the extent provided in clause (iv) above); (f) refunds of amounts not included in Operating
Expenses at any time and uncollectible accounts; (g) gratuities collected by the Property
employees; (h) the proceeds of any financing; (i) other income or proceeds resulting other than
from the use or occupancy of the Property, or any part thereof, or other than from the sale of
goods, services or other items sold on or provided from the Property in the ordinary course of
business; and G) any credits or refunds made to customers, guests or patrons in the form of
allowances or adjustments to previously recorded revenues.

       "Guaranty" shall mean that certain Guaranty of Recourse Obligations, dated as of the
date hereof, from Guarantor to Lender, as the same may be amended, restated, replaced,
supplemented or otherwise modified from time to time.

        "Improvements" shall have the meaning set forth in Article 1 of the Security Instrument
with respect to the Property.

       "Indebtedness" shall mean, for any Person, without duplication, any debt or liability,
secured or unsecured, direct or contingent (including any guaranty).

          "Indemnified Liabilities" shall have the meaning set forth in Section 9.13 hereof.

        "Indemnified Parties" shall mean Lender and any person or entity who is or will have
been involved in the origination of the Loan, any person or entity who is or will have been
involved in the servicing of the Loan, any person or entity in whose name the encumbrance
created by the Security Instrument is or will have been recorded and persons and entities who
may hold or acquire or will have held a full or partial interest in the Loan, including, but not
limited to, custodians, trustees and other fiduciaries who hold or have held a full or partial
interest in the Loan.

        "Insolvency Opinion" shall mean any bankruptcy non-consolidation opinion letter
delivered to Lender in connection with the Loan.

         "Insurance Account" shall have the meaning set forth in Section 6.4.1 hereof.

         "Insurance Funds" shall have the meaning set forth in Section 6.4.1 hereof.

         "Insurance Premiums" shall have the meaning set forth in Section 5. ](b) hereof.


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          "Insurance Proceeds" shall have the meaning set forth in Section 5.4(b) hereof.

          "Investor" shall have the meaning set forth in Section 8.1 (b) hereof.

          "Leases" shall have the meaning set forth in Article 1 of the Security Instrument.

        "Legal Requirements" shall mean all federal, state, county, municipal and other
governmental statutes, laws, rules, orders, regulations, ordinances, judgments, decrees, demands
and injunctions of Governmental Authorities at any time affecting the Loan, any Secondary
Market Transactions, Borrower, Guarantor or the Property or any part thereof or the ownership,
construction, alteration, use, management or operation of the Property or any part thereof,
whether now or hereafter enacted and in force, including, without limitation, the Securities Act,
the Exchange Act, Regulations AB, S-K and S-X under the Securities Act, the rules and
regulations promulgated pursuant to the Dodd-Frank Wall Street Reform and Consumer
Protection Act, zoning and land use laws, the Americans with Disabilities Act of 1990, as
amended, and all permits, licenses and authorizations and regulations relating thereto, and all
covenants, agreements, restrictions and encumbrances contained in any instruments, either of
record or known to Borrower, at any time in force affecting Borrower, Guarantor or the Property
or any part thereof, including, without limitation, any which may (y) require repairs,
modifications or alterations in or to the Property or any part thereof or (z) in any way limit the
use and enjoyment thereof.

        "Lender" shall have the meaning set forth in the introductory paragraph hereto, together
with its successors and assigns.

        "Lien" shall mean any mortgage, deed of trust, lien, pledge, hypothecation, assignment,
security interest, or any other encumbrance, charge or transfer of, on or affecting Borrower, the
Property, any portion thereof or any direct or indirect interest therein, including, without
limitation, any conditional sale or other title retention agreement, any financing lease having
substantially the same economic effect as any of the foregoing, the filing of any financing
statement, and mechanic's, materialmen's and other similar liens and encumbrances.

       "Loan Documents" shall mean, collectively, this Agreement, the Note, the Security
Instrument, the Assignment of Leases, the Environmental Indemnity, the Assignment of
Management Agreement, the Guaranty, the Clearing Account Agreement, the Cash Management
Agreement and all other documents executed and/or delivered in connection with the Loan.

         "Losses" shall mean any and all claims, suits, liabilities (including, without limitation,
strict liabilities), actions, proceedings, obligations, debts, damages, losses, costs, expenses, fines,
penalties, charges, fees, expenses, judgments, awards, amounts paid in settlement of whatever
kind or nature (including but not limited to reasonable out-of-pocket attorneys' fees and other
costs of defense).

       "Major Lease" shall mean any Lease. Notwithstanding anything contained herein to the
contrary, the usage of hotel units or banquet, meeting or food and beverage space substantially in
accordance with the current ordinary course of operations of the Property shall not constitute a
"Major Lease".



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       "Management Agreement" shall mean any management agreement entered into
between Borrower and Manager, pursuant to which the Manager is to provide management and
other services with respect to the Property, or, if the context requires, the Replacement
Management Agreement executed in accordance with the terms and provisions of this
Agreement.

         "Material Adverse Effect" shall mean any material adverse effect upon (i) the business
operations, economic performance, assets, condition (financial or otherwise), equity, contingent
liabilities, prospects, material agreements or results of operations of Borrower, Guarantor or the
Property, (ii) the ability of Borrower or Guarantor to perform its obligations under any Loan
Document to which it is a party, (iii) the enforceability or validity of any Loan Document, the
perfection or priority of any Lien created under any Loan Document or the rights, interests and
remedies of Lender under any Loan Document or (iv) the value, use or operation of the Property
or the cash flows from the Property.

       "Material Agreements" shall mean (i) each management, franchise, brokerage or leasing
agreement (other than the Management Agreement and the Franchise Agreement), and (ii) any
cleaning, maintenance, service or other contract or agreement of any kind (other than the Leases)
of a material nature (materiality for purposes of this definition shall include, without limitation,
any contract with a term longer than one year or any contract that is not cancelable on thirty (30)
days' or less notice without the payment of any termination fee or payments of any kind), in
either case relating to the ownership, development, leasing, management, use, operation,
maintenance, repair, improvement or restoration of the Property, whether written or oral.

       "Maturitv Date" shall mean the Stated Maturity Date, or such other date on which the
final payment of the principal of the Note becomes due and payable as therein or herein
provided, whether at such stated maturity date, by declaration of acceleration, or otherwise.

        "Maximum Legal Rate" shall mean the maximum nonusurious interest rate, if any, that
at any time or from time to time may be contracted for, takert, reserved, charged or received on
the indebtedness evidenced by the Note and as provided for herein or the other Loan Documents,
under the laws of such State or States whose laws are held by any court of competent jurisdiction
to govern the interest rate provisions of the Loan.

          "Mezzanine Borrower" shall have the meaning set forth in Section 8.4 hereof.

         "Mezzanine Loan" shall have the meaning set forth in Section 8.4 hereof.

       "Minimum Disbursement Amount" shall mean Twenty-Five Thousand and No/100
Dollars ($25,000.00).

         "Monthly Insurance Deposit" shall have the meaning set forth in Section 6.4.1 hereof.

         "Monthly Tax Deposit" shall have the meaning set forth in Section 6.3 .I hereof.

         "Moody's" shall mean Moody's Investors Service, Inc.




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       "Net Cash Flow" for any period shall mean the amount obtained by subtracting
Operating Expenses and Capital Expenditures for such period from Gross Income from
Operations for such period.

       "Net Operating Income" shall mean, for any period, the amount obtained by subtracting
Operating Expenses for such period from Gross Income from Operations for such period.

          "Net Proceeds" shall have the meaning set forth in Section 5.4(b) hereof.

          "Net Proceeds Deficiency" shall have the meaning set forth in Section 5.4(b)(vi) hereof.

       "Note" shall mean that certain promissory note of even date herewith in the original
principal amount of the Loan, made by Borrower in favor of Lender, as the same may be
amended, restated, replaced, extended, renewed, supplemented, severed, split, or otherwise
modified from time to time.

        "NRSRO" shall mean any credit rating agency that has elected to be treated as a
nationally recognized statistical rating organization for purposes of Section l 5E of the Exchange
Act, without regard to whether or not such credit rating agency has been engaged in connection
with, or in anticipation of, a Securitization.

        "Obligations" shall mean Borrower's obligation to pay the Debt and perform its
obligations under the Note, this Agreement and the other Loan Documents.

       "OFAC" shall mean the Office of Foreign Assets Control or, if the context requires, any
successor Governmental Authority.

       "Officer's Certificate" shall mean a certificate delivered to Lender by Borrower which is
signed by an authorized senior officer of Borrower.

       "Operating Agreements" shall mean, collectively, any easements (including any
reciprocal easement agreement) covenants, restrictions or agreements of record relating to the
construction, operation or use of the Property.

        "Operating Expenses" shall mean, for any period, the sum of all costs and expenses of
operating, maintaining, directing, managing and supervising the Property (excluding (i)
depreciation and amortization, (ii) any Debt Service, (iii) any Capital Expenditures, or (iv) the
costs of any other things specified to be done or provided at Borrower's or Manager's sole cost
and expense), incurred by Borrower or Manager pursuant to the Management Agreement, or as
otherwise specifically provided therein, which are properly attributable to such period under
Borrower's system of accounting, including, without limitation: (a) the cost of all food and
beverages sold or consumed and of all necessary chinaware, glassware, linens, flatware,
uniforms, utensils and other items of a similar nature, including such items bearing the name or
identifying characteristics of the hotel as Borrower and/or Manager shall reasonably consider
appropriate (collectively, the "Operating Equipment") and paper supplies, cleaning materials
and similar consumable items (collectively, the "Operating Supplies") placed in use (other than
reserve stocks thereof in storerooms). Operating Equipment and Operating Supplies shall be
considered to have been placed in use when they are transferred from the storerooms of the


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Property to the appropriate operating departments; (b) salaries and wages of personnel of the
Property, including costs of payroll taxes and employee benefits (which benefits may include,
without limitation, a pension plan, medical insurance, life insurance, travel accident insurance
and an executive bonus program) and the costs of moving (1) employees of the Property whose
primary duties consist of the management of the Property or of a recognized department or
division thereof; or (2) personnel (A) who customarily and regularly direct the work of five (5)
or more other employees of the Property, (B) who have authority with reference to the hiring,
firing and advancement of other employees of the Property, (C) who customarily and regularly
exercise discretionary powers, (D) who devote at least ninety five percent (95%) of their work
time to activities which are directly and closely related to the performance of the work described
in clauses (A) through (C) of clause (2) of this sentence, and (E) who are not compensated on an
hourly basis (the "Executive Hotel Personnel"), their families and their belongings to the area
in which the Property is located at the commencement of their employment at the Property and
all other expenses not otherwise specifically referred to in this definition which are referred to as
"Administrative and General Expenses" in the Uniform System of Accounts. If the Executive
Hotel Personnel are on the payroll of Guarantor or any Affiliate of Guarantor, the cost of their
salaries, payroll taxes and employee benefits (which benefits, in the case of employees who are
not United States citizens or in the case of employees of hotels located outside the continental
United States may include, without limitation, in addition to the foregoing benefits, reasonable
home leave transportation expenses approved by Lender) shall be billed by said Affiliate to and
be reimbursed by Borrower and/or Manager monthly, and such reimbursement shall be an
Operating Expense. Except as otherwise expressly provided under the Management Agreement
with respect to employees regularly employed at the Property, the salaries or wages of other
employees or executives of Manager, Guarantor or any of their respective Affiliates shall in no
event be Operating Expenses, but they shall be entitled to free room and board and the free use
of all facilities at such times as they visit the Property exclusively in connection with the
management of the Property. Notwithstanding the foregoing, if it becomes necessary for an
employee or executive of Guarantor or an employee or executive of any Affiliate of Guarantor to
temporarily perform services at the Property of a nature normally performed by personnel of the
Property, his or her salary (including payroll taxes and employee benefits) as well as his or her
traveling expenses will be Operating Expenses and he or she will be entitled to free room, board
and use of the facilities as aforesaid, while performing such services; (c) the cost of all other
goods and services obtained by Borrower or Manager in connection with its operation of the
Property, including, without limitation, heat and utilities, office supplies and all services
perfonned by third parties, including leasing expenses in connection with telephone and data
processing equipment, and all existing and any future installations necessary for the operation of
the Improvements for hotel purposes (including, without limitation, heating, lighting, sanitary
equipment, air conditioning, laundry, refrigerating, built-in kitchen equipment, telephone
equipment, communications systems, computer equipment and elevators), Operating Equipment
and existing and any future furniture, furnishings, wall coverings, fixtures and hotel equipment
necessary for the operation of the Property for hotel purposes which shall include all equipment
required for the operation of kitchens, bars, laundries (if any), and dry cleaning facilities (if any),
office equipment, cleaning and engineering equipment and vehicles; (d) the cost of repairs to and
maintenance of the Property other than of a capital nature; (e) Insurance Premiums for general
liability insurance, workers' compensation insurance or insurance required by similar employee
benefits acts and such business or rental interruption or other loss of income insurance as may be



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provided for protection against claims, liabilities and losses arising from the operation of the
Property (as distinguished from any property damage insurance on the Property or its contents)
and losses incurred on any self-insured risks of the foregoing types, provided that (I) Lender has
specifically approved in advance such self-insurance or (2) insurance is unavailable to cover
such risks. Premiums on policies will be pro rated over the period of insurance and premiums
under blanket policies will be allocated among properties covered; (f) all Taxes and Other
Charges (other than federal, state or local income taxes and franchise taxes or the equivalent)
payable by or assessed against Borrower or Manager with respect to the operation of the
Property; (g) legal fees and fees of any firm of independent certified public accounts designated
from time to time by Borrower (the "Independent CPA") for services directly related to the
operation of the Property; (h) the costs and expenses of technical consultants and specialized
operational experts for specialized services in connection with non-recurring work on
operational, legal, functional, decorating, design or construction problems and activities,
including the reasonable fees of Guarantor, any Affiliate of Guarantor or any subsidiary or
division of Guarantor or any Affiliate of Guarantor in connection therewith, provided that such
employment of Guarantor, any Affiliate of Guarantor or of any such subsidiary or division of
Guarantor or any Affiliate of Guarantor is approved in advance by Lender; provided, however,
that if such costs and expenses have not been included in a budget approved by Lender, then, if
such costs exceed $5,000 in any one instance, the same shall be subject to approval by Lender;
(i) all expenses for advertising the Property and all expenses of sales promotion and public
relations activities; (j) all out-of-pocket expenses and disbursements determined by the
Independent CPA to have been reasonably, properly and specifically incurred by Borrower,
Manager, Guarantor or any of their respective Affiliates pursuant to, in the course of and directly
related to, the management and operation of the Property under the Management Agreement.
Without limiting the generality of the foregoing, such charges may include all reasonable travel,
telephone, telegram, radiogram, cablegram, air express and other incidental expenses, but
excluding costs relating to the offices maintained by Borrower, Manager, Guarantor, or any of
their respective Affiliates other than the offices maintained at the Property for the management
of the Property; (k) the cost of any reservations system, any accounting services or other group
benefits, programs or services from time to time made available to properties in the Borrower's
system; (I) the cost associated with any Leases; (m) any management fees, basic and incentive
fees or other fees and reimbursables paid or payable to Manager under the Management
Agreement; (n) any franchise fees or other fees and reimbursables paid or payable to Franchisor
under the Franchise Agreement; and (o) all costs and expenses of owning, maintaining,
conducting, directing, managing and supervising the operation of the Property to the extent such
costs and expenses are not included above.

        "Organizational Documents" shall mean, as to any Person, the organizational or
governing documents of such Person, including the certificate of incorporation and by-laws with
respect to a corporation; the certificate of formation or organization and operating agreement
with respect to a limited liability company; and the certificate of limited partnership and
partnership agreement with respect to a limited partnership.

        "Other Charges" shall mean all ground rents, maintenance charges, impositions other
than Taxes, and any other charges, including, without limitation, vault charges and license fees
for the use of vaults, chutes and similar areas adjoining the Property, now or hereafter levied or
assessed or imposed against the Property or any part thereof.


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       "Outstanding Principal Balance" shall mean, as of any date, the outstanding principal
balance of the Loan.

        "Patriot Act" shall mean, collectively, all laws relating to terrorism or money
laundering, including Executive Order No. 13224 on Terrorist Financing (effective September
24, 2001) and the Uniting and Strengthening America by Providing Appropriate Tools Required
to Intercept and Obstruct Terrorism Act of 2001 (Public Law 107 56), as the same may be
amended, replaced, supplemented or otherwise modified from time to time.

         "Pavment Date" shall mean the sixth (6th) day of each calendar month prior to the
Maturity Date commencing on (i) the sixth (6th) day of the next succeeding calendar month after
the date hereof if the Closing Date is on or prior to the eleventh (!1th) day of a calendar month;
or (ii) the sixth (6th) day of the second succeeding calendar month after the date hereof if the
Closing Date is after the eleventh (11th) day of a calendar month.

          "Permitted Encumbrances" shall have the meaning set forth in Section 3.1.5 hereof.

      "Permitted Investments" shall have the meaning set forth in the Cash Management
Agreement.

        "Permitted Transfer" shall mean any of the following: (i) any transfer, directly as a
result of the death of a natural person, of stock, membership interests, partnership interests or
other ownership interests previously held by the decedent in question to the Person or Persons
lawfully entitled thereto, (ii) any transfer, directly as a result of the legal incapacity of a natural
person, of stock, membership interests, partnership interests or other ownership interests
previously held by such natural person to the Person or Persons lawfully entitled thereto, (iii) any
Lease of space in the Improvements to Tenants in accordance with the terms and provisions of
Section 4.1.6 hereof, (iv) any Transfer permitted without Lender's prior consent in accordance
with the terms and provisions of Section 4.1.12 hereof, (v) Permitted Encumbrances, (vi) any
transfer by a natural person to trusts for estate planning purposes for the benefit of his or her
immediate family member, and (vii) the sale, transfer or removal of worn out or obsolete
personal property in the ordinary course of owning and operating the Property, provided that the
same is promptly replaced with the similar property of equal or greater value to the extent
reasonably necessary in connection the operation of the Property.

         "Person" shall mean any individual, corporation, partnership, joint venture, limited
liability company, estate, trust, unincorporated association, any federal, State, county or
municipal government or any bureau, department or agency thereof and any fiduciary acting in
such capacity on behalf of any of the foregoing.

        "PIP" shall mean that certain Property Improvement Plan dated August 23, 2016 and any
other property improvement plan required by Franchisor (or any replacement franchisor)
pursuant to the terms of the Franchise Agreement or in connection with any extension, renewal
or replacement thereof in accordance with the terms of this Agreement.

         "PIP Reserve Account" shall have the meaning set forth in Section 6.11.1 hereof.

         "PIP Reserve Funds" shall have the meaning set forth in Section 6.11.1 hereof.


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         "PIP Work" shall have the meaning set forth in Section 6.11.1 hereof.

         "Policy" or "Policies" shall have the meaning set forth in Section 5. l(b) hereof.

        "Prohibited Person" shall means any Person subject to trade restrictions under U.S. law,
including, but not limited to, the International Emergency Economic Powers Act, 50 U.S.C. §§
1701 et seq., the Patriot Act, the Trading with the Enemy Act, 50 U.S.C. App. 1 et seq., and any
Executive Orders or regulations promulgated under any such legislation, including those related
to Specially Designated Nationals and Specially Designated Global Terrorists or listed in the
Annex to, or is otherwise subject to the prohibitions of, Executive Order No. 13224 on Terrorist
Financing, effective September 24, 2001, and relating to Blocking Property and Prohibiting
Transactions With Persons Who Commit, Threaten to Commit, or Support Terrorism or any
other similar prohibitions contained in the rules and regulations of OF AC or in any enabling
legislation or other Executive Orders.

        "Property" shall mean each parcel of real property, the Improvements thereon and all
personal property owned by Borrower and encumbered by the Security Instrument, together with
all rights pertaining to the Property and Improvements, as more particularly described in Article
1 of the Security Instrument and referred to therein as the "Property".

         "Provided Information" shall have the meaning set forth in Section 8.2 hereof.

         "Purchase Contract" shall have the meaning set forth in Section 3 .1.22 hereof.

       "Qualified Manager" shall mean, in the reasonable judgment of Lender, a reputable and
experienced manager (which may be an Affiliate of Borrower) which possesses experience in
managing properties similar in location, size, class, use, operation and value as the Property.

        "Rating Agencies" shall mean any NRSRO, including those designated by Lender to
assign a rating to the Securities.

         "Rating Agency Confirmation" shall mean written confirmation from each Rating
Agency designated by Lender to assign a rating to any Securities that any particular act or
omission shall not result in downgrade, withdrawal or qualification of the then current ratings
assigned to any ratings of the Securities or the proposed rating of any Securities. In the event
that, at any given time, no Rating Agency has elected to consider whether to grant or withhold
such an affirmation, then the term "Rating Agency Confirmation" shall be deemed instead to
require the written approval of Lender based on its good faith determination of whether the
Rating Agencies would issue a Rating Agency Confirmation; provided that the foregoing good
faith standard shall be inapplicable in any case in which Lender has an independent approval
right in respect of the matter at issue pursuant to the terms of this Agreement.

      "REMIC Trust" shall mean a "real estate mortgage investment conduit" within the
meaning of Section 860D of the Code that holds the Note.

        "Rents" shall have the meaning set forth in Article 1 of the Security Instrument have
respect to the Property.



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        "Replacement Management Agreement" shall mean, collectively, (a) either (i) a
management agreement with a Qualified Manager substantially in the same form and substance
as the Management Agreement, or (ii) a management agreement with a Qualified Manager,
which management agreement shall be reasonably acceptable to Lender in form and substance,
and (b) an assignment of management agreement substantially in the form of the Assignment of
Management Agreement (or such other form reasonably acceptable to Lender), executed and
delivered to Lender by Borrower and such Qualified Manager at Borrower's expense.

          "Replacement Note" shall have the meaning set forth in Section 8.4 hereof.

          "Required Repair Account" shall have the meaning set forth in Section 6.2.1 hereof.

          "Required Repair Funds" shall have the meaning set forth in Section 6.2.1 hereof.

          "Required Repairs" shall have the meaning set forth in Section 6.2.1 hereof.

       "Restoration" shall mean the repair and restoration of the Property after a Casualty or
Condemnation as nearly as possible to the condition the Property was in immediately prior to
such Casualty or Condemnation, with such alterations as may be approved by Lender.

       "Restricted Party" shall mean, collectively, (i) Borrower, any SPC Party, any Affiliated
Manager and Guarantor and (ii) any shareholder, partner, member, non-member manager or any
other direct or indirect legal or beneficial owner of Borrower, any SPC Party, any Affiliated
Manager, Guarantor or any non-member manager.

          "RIALTO" shall have the meaning set forth in Section 8.2 hereof.

          "S&P" shall mean Standard & Poor's Ratings Services, a division of McGraw-Hill, Inc.

          "Scheduled Defeasance Payments" shall have the meaning set forth in Section 2.5. l(b)
hereof.

          "Secondary Market Transaction" shall have the meaning set forth in Section 8.l(a)
hereof.

          "Securities" shall have the meaning set forth in Section 8.1 hereof.

          "Securities Act" shall have the meaning set forth in Section 8.2 hereof.

          "Securitization" shall have the meaning set forth in Section 8.1 hereof.

        "Securitization Indemnification Liabilities" shall have the meaning set forth in Section
8.2 hereof.

          "Securitization Indemnified Parties" shall have the meaning set forth in Section 8.2
hereof.

       "Security Instrument" shall mean that certain first priority mortgage, deed of trust or
deed to secure debt, as applicable, assignment of leases and rents, fixture filing and security


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agreement, executed and delivered by Borrower as security for the Loan and encumbering the
Property, as the same may be amended, restated, replaced, supplemented or otherwise modified
from time to time.

          "Servicer" shall have the meaning set forth in Section 8.3 hereof.

          "Servicing Agreement" shall have the meaning set forth in Section 8.3 hereof.

          "Settlement Statement" shall have the meaning set forth in Section 3.1.22 hereof.

          "Single Purpose Entity" shall have the meaning set forth in Schedule I hereof.

          "SPC Party" shall have the meaning set forth on Schedule I hereof.

        "State" shall mean the State or Commonwealth in which the Property or any part thereof
is located.

          "Successor Borrower" shall have the meaning set forth in Section 2.5.1 (c) hereof.

       "Survey" shall mean a survey prepared by a surveyor licensed in the State where the
Property is located and satisfactory to Lender and the company or companies issuing the Title
Insurance Policies, and containing a certification of such surveyor satisfactory to Lender.

          "Tax Account" shall have the meaning set forth in Section 6.3. I hereof.

          "Tax Funds" shall have the meaning set forth in Section 6.3. I hereof.

         "Taxes" shall mean all real estate and personal property taxes, assessments, water rates
or sewer rents, now or hereafter levied or assessed or imposed against the Property or part
thereof.

        "Tenant" shall mean any Person obligated by contract or otherwise to pay monies
(including a percentage of gross income, revenue or profits) under any Lease now or hereafter
affecting all or any part of the Property.

         "Tenant Instruction Notice" shall have the meaning set forth in Section 6. l .2(a).

         "Title Insurance Policy" shall mean, with respect to the Property, an AL TA mortgagee
title insurance policy in a form acceptable to Lender (or, if the Property is located in a State
which does not permit the issuance of such ALTA policy, such form as shall be permitted in such
State and acceptable to Lender) issued with respect to the Property and insuring the lien of the
Security Instrument encumbering the Property.

         "Transfer" shall have the meaning set forth in Section 4.1.12 hereof.

         "Transferee" shall have the meaning set forth in Section 4. l. l 2(f) hereof.

       "Transferee's Sponsors" shall mean, with respect to any Transferee, such Transferee's
shareholders, partners, members or non-member managers that, directly or indirectly, (i) own


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twenty- percent (20%) or more of legal, beneficial and economic interests in such Transferee or
(ii) are in control of such Transferee.

        "Treasury Rate" shall mean, at the time of the prepayment, as applicable, the rate of
interest per annum equal to the yield to maturity (converted by Lender to the equivalent monthly
yield using Lender's then system of conversion) of the United States Treasury obligations
selected by the holder of the Note having maturity dates closest to, but not exceeding, the
remaining term to the Free Window Date.

        "UCC" or "Uniform Commercial Code" shall mean the Uniform Commercial Code as
in effect in the State or, ifthe context requires, in the State of Texas.

        "U.S. Obligations" shall mean (i) direct full faith and credit obligations of the United
States of America that are not subject to prepayment, call or early redemption or (ii) to the extent
acceptable to the Rating Agencies, other "government securities" within the meaning of Treasury
Regulations Section l.860G-2(a)(8)(ii).

         "Yield Maintenance Default Premium" shall mean an amount equal to the greater of:
(i) three percent (3%) of the principal amount of the Loan being repaid and (ii) the excess, if any,
of (a) the present value (determined using a discount rate equal to the Treasury Rate at such
time) of all scheduled payments of principal and interest payable in respect of the principal
amount of the Loan being repaid provided that the Note shall be deemed, for purposes of this
definition, to be due and payable on the Free Window Date, over (b) the principal amount of the
Loan being repaid.

        "Yield Maintenance Premium" shall mean an amount equal to the greater of: (i) one
percent (1 %) of the principal amount of the Loan being prepaid and (ii) the excess, if any, of (a)
the present value (determined using a discount rate equal to the Treasury Rate at such time) of all
scheduled payments of principal and interest payable in respect of the principal amount of the
Loan being prepaid provided that the Note shall be deemed, for purposes of this definition, to be
due and payable on the Free Window Date, over (b) the principal amount of the Loan being
prepaid.

        Section 1.2     Principles of Construction. All references to sections and schedules are to
sections and schedules in or to this Agreement unless otherwise specified. All uses of the word
"including" shall mean "including, without limitation" unless the context shall indicate
otherwise. Unless otherwise specified, the words "hereof," "herein" and "hereunder" and words
of similar import when used in this Agreement shall refer to this Agreement as a whole and not
to any particular provision of this Agreement. Unless otherwise specified, all meanings
attributed to defined terms herein shall be equally applicable to both the singular and plural
forms of the terms so defined.

       II.    GENERAL TERMS
       Section 2.1    Loan. Subject to and upon the terms and conditions set forth herein,
Lender hereby agrees to make and Borrower hereby agrees to accept the Loan on the Closing
Date. Borrower may request and receive only one borrowing hereunder in respect of the Loan
and any amount borrowed and repaid hereunder in respect of the Loan may not be re borrowed.



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The Loan shall be evidenced by the Note and secured by the Security Instrument, the
Assignment of Leases and the other Loan Documents.

          Section 2.2         Interest; Payments; Late Payment Charge.

        2.2.1 Interest. Interest on the Outstanding Principal Balance shall accrue from and
including the Closing Date to and including the last day of the Accrual Period in which the
Maturity Date occurs at the Applicable Interest Rate. Upon the occurrence and during the
continuance of an Event of Default, interest on the Outstanding Principal Balance and, to the
extent permitted under applicable Legal Requirements, overdue interest in respect of the Loan,
shall accrue at the Default Rate. The Default Rate shall be computed from the occurrence of the
Event of Default until the earlier of the date upon which the Event of Default is cured or the date
upon which the Debt is paid in full. Nothing contained herein shall be construed as an agreement
or privilege to extend the date of the payment of the Debt, nor as a waiver of any other right or
remedy accruing to Lender by reason of the occurrence of any Event of Default. Interest on the
Outstanding Principal Balance shall be calculated by multiplying (a) the actual number of days
elapsed in the period for which the calculation is being made by (b) a daily rate based on a three
hundred sixty (360) day year by (c) the Outstanding Principal Balance. Borrower hereby
acknowledges that interest is to be calculated by Lender on the basis of a three hundred sixty
(360) day year and is fully aware that such calculations may result in an accrual and/or payment
of interest in amounts greater than corresponding interest calculations based on a three hundred
sixty-five (365) day year.

        2.2.2 Payments Before Maturity Date. If the Closing Date is not the eleventh (11th)
day of a month, Borrower shall make a payment to Lender of interest only on the Closing Date
for the initial Accrual Period. The Monthly Debt Service Payment Amount shall be paid by
Borrower to Lender on each Payment Date. Each Monthly Debt Service Payment Amount shall
be applied first to the payment of interest that has accrued or is scheduled to accrue during the
Accrual Period in which the related Payment Date occurs, and the balance, if any, shall be
applied to the reduction of the Outstanding Principal Balance. Lender shall have the right to
change the Payment Date to any other day of a calendar month selected by Lender, in its sole and
absolute discretion (including in connection with a Securitization) upon notice to Borrower (in
which event such change shall then be deemed effective) and, if requested by Lender, Borrower
shall promptly execute an amendment to this Agreement to evidence such change; provided that
if Lender shall have elected to change the Payment Date as aforesaid, Lender shall have the
option, but not the obligation, to adjust the Accrual Period accordingly.

        2.2.3 Payment on Maturity Date. Borrower shall pay to Lender on the Maturity Date
the Outstanding Principal Balance, all interest which has accrued and is scheduled to accrue
through and including the last day of the Accrual Period in which the Maturity Date occurs and
all other amounts payable to Lender hereunder and under the Note, the Security Instrument and
the other Loan Documents. In the event Lender changes the Payment Date in accordance with
this Agreement, the Maturity Date shall also be deemed to have been changed such that the
Maturity Date and the Payment Date shall occur on the same calendar day and, if requested by
Lender, Borrower shall promptly execute an amendment to this Agreement to evidence such
change.



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        2.2.4 Late Payment Charge. If any principal, interest or any other sums due under the
Loan Documents (other than the Outstanding Principal Balance due and payable on the Maturity
Date) is not paid by Borrower on the date on which it is due, Borrower shall pay to Lender upon
demand an amount equal to the lesser of five percent (5%) of such unpaid sum or the maximum
amount permitted under applicable Legal Requirements in order to defray the expense incurred
by Lender in handling and processing such delinquent payment and to compensate Lender for the
loss of the use of such delinquent payment. Any such amount shall be secured by the Security
Instrument and the other Loan Documents to the extent permitted by applicable Legal
Requirements. Nothing contained herein shall be construed as an agreement or privilege to
extend the date of the payment of the Debt, nor as a waiver of any other right or remedy accruing
to Lender by reason of the occurrence of any Event of Default.

         2.2.5 Usury Savings. This Agreement and the Note are subject to the express condition
that at no time shall Borrower be obligated or required to pay interest on the principal balance of
the Loan at a rate which could subject Lender to either civil or criminal liability as a result of
being in excess of the Maximum Legal Rate. If, by the terms of this Agreement or the other
Loan Documents, Borrower is at any time required or obligated to pay interest on the principal
balance due hereunder at a rate in excess of the Maximum Legal Rate, the Applicable Interest
Rate or the Default Rate, as the case may be, shall be deemed to be immediately reduced to the
Maximum Legal Rate and all previous payments in excess of the Maximum Legal Rate shall be
deemed to have been payments in reduction of principal and not on account of the interest due
hereunder. All sums paid or agreed to be paid to Lender for the use, forbearance, or detention of
the sums due under the Loan, shall, to the extent permitted by applicable Legal Requirements, be
amortized, prorated, allocated, and spread throughout the full stated term of the Loan until
payment in full so that the rate or amount of interest on account of the Loan does not exceed the
Maximum Legal Rate of interest from time to time in effect and applicable to the Loan for so
long as the Loan is outstanding.

          Section 2.3        Prepayments.

         2.3.l Voluntary Prepayments. Except as otherwise provided herein, Borrower shall not
have the right to prepay the Loan in whole or in part. From and after the Free Window Date,
Borrower may, at its option and upon thirty (30) days prior written notice to Lender, prepay the
Debt in whole (but not in part) without payment of the Yield Maintenance Premium, provided
that Borrower pays to Lender (i) all accrued and unpaid interest on the Outstanding Principal
Balance through and including the last day of the Accrual Period related to the Payment Date
next occurring following the date of prepayment (or, if such prepayment occurs on a Payment
Date, through and including the last day of the Accrual Period related to such Payment Date),
and (ii) all other sums due and payable under this Agreement, the Note and the other Loan
Documents. If a notice of prepayment is given by Borrower to Lender pursuant to this Section
2.3 .1, the amount designated for prepayment and all other sums required under this Section 2.3
shall be due and payable on the proposed prepayment date.

       2.3.2 Mandatory Prepayments. On each date on which Lender actually receives any
Net Proceeds, if Lender is not obligated to and elects not to make such Net Proceeds available to
Borrower for the restoration of the Property, Borrower shall prepay the Outstanding Principal
Balance in an amount equal to one hundred percent (100%) of such Net Proceeds. No Yield


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Maintenance Premium shall be due in connection with any prepayment made pursuant to this
Section 2.3.2.

        2.3.3 Prepayments After Default. If, following an Event of Default, payment of all or
any part of the Debt is tendered by Borrower or otherwise recovered by Lender, such tender or
recovery shall be deemed a voluntary prepayment by Borrower in violation of the prohibition
against prepayment set forth in Section 2.3.1 and Borrower shall pay, in addition to the Debt, (i)
an amount equal to the Yield Maintenance Default Premium, (ii) all accrued and unpaid interest
on the Outstanding Principal Balance through and including the last day of the Accrual Period
related to the Payment Date next occurring following the date of prepayment (or, if such
prepayment occurs on a Payment Date, through and including the last day of the Accrual Period
related to such Payment Date), and (iii) all other sums due and payable under this Agreement, the
Note and the other Loan Documents.

        2.3.4 Preoavment Prior to Permitted Defeasance Date. If the Permitted Release Date
has occurred but the Permitted Defeasance Date has not occurred, Borrower may, at its option
and upon thirty (30) days prior written notice to Lender, prepay the Debt in whole (but not in
part), provided that Borrower pays to Lender (i) the Yield Maintenance Premium, (ii) all accrued
and unpaid interest on the Outstanding Principal Balance through and including the last day of
the Accrual Period related to the Payment Date next occurring following the date of prepayment
(or, if such prepayment occurs on a Payment Date, through and including the last day of the
Accrual Period related to such Payment Date), and (iii) all other sums due and payable under this
Agreement, the Note and the other Loan Documents. Lender shall notify Borrower of the amount
and the basis of determination of the required prepayment consideration. If a notice of
prepayment is given by Borrower to Lender pursuant to this Section 2.3.4, the amount designated
for prepayment and all other sums required under this Section 2.3 shall be due and payable on
the proposed prepayment date. Lender shall not be obligated to accept any prepayment of the
Debt unless it is accompanied by the prepayment consideration due in connection therewith.

        Section 2.4     Making of Payments. Except as otherwise specifically provided herein, all
payments and prepayments under this Agreement, the Note and the other Loan Documents shall
be made to Lender not later than 2:00 P .M., New York City time, on the date when due and shall
be made in lawful money of the United States of America in immediately available funds at
Lender's office or as otherwise directed by Lender, and any funds received by Lender after such
time shall, for all purposes hereof, be deemed to have been paid on the next succeeding Business
Day. Whenever any payment to be made hereunder or under any other Loan Document shall be
stated to be due on a day which is not a Business Day, such payment shall be made on the first
Business Day succeeding such scheduled due date. All payments required to be made by
Borrower hereunder or under the Note or the other Loan Documents shall be made irrespective
of, and without deduction for, any setoff, claim or counterclaim and shall be made irrespective of
any defense thereto.

         Section 2.5        Defeasance.

      2.5.l Voluntary Defeasance. (a) Provided no Event of Default shall then exist,
Borrower shall have the right at any time after the Permitted Defeasance Date and prior to the
Free Window Date to voluntarily defease the entire Loan by and upon satisfaction of the


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following conditions (such event being a "Defeasance Event"): (i) Borrower shall provide not
Jess than thirty (30) days prior written notice to Lender specifying the date (the "Defeasance
Date") on which the Defeasance Event is to occur; (ii) Borrower shall pay to Lender (1) all
accrued and unpaid interest on the Outstanding Principal Balance through and including the last
day of the Accrual Period related to the Payment Date next occurring following the Defeasance
Date (or, if the Defeasance Date occurs on a Payment Date, through and including the last day of
the Accrual Period related to such Payment Date) and (2) all other sums then due and payable
under the Note, this Agreement, the Security Instrument and the other Loan Documents; (iii)
Borrower shall have delivered, or caused to be delivered, to Lender the Defeasance Deposit; (iv)
intentionally omitted; (v) Borrower shall execute and deliver a security agreement, in form and
substance reasonably satisfactory to Lender, creating a first priority lien on the Defeasance
Collateral purchased with the Defeasance Deposit in accordance with the provisions of this
Section 2.5 (the "Defeasance Security Agreement"); (vi) Borrower shall deliver an opinion of
counsel for Borrower that is standard in commercial lending transactions and subject only to
customary qualifications, assumptions and exceptions stating, among other things, that Borrower
has legally and validly transferred and assigned the Defeasance Collateral and all obligations,
rights and duties under and to the Note to the Successor Borrower, that Lender has a perfected
first priority security interest in the Defeasance Collateral delivered by Borrower and that any
REMIC Trust formed pursuant to a Securitization will not fail to maintain its status as a "real
estate mortgage investment conduit" within the meaning of Section 860D of the Code as a result
of such Defeasance Event; (vii) Borrower shall deliver a Rating Agency Confirmation, and, if
required by the applicable Rating Agencies, Borrower shall also deliver or cause to be delivered
an Insolvency Opinion with respect to the Successor Borrower in form and substance reasonably
satisfactory to Lender and the applicable Rating Agencies; (viii) Borrower shall deliver an
Officer's Certificate certifying that the requirements set forth in this Section 2.5. l(a) have been
satisfied; (ix) Borrower shall deliver a certificate of Borrower's independent certified public
accountant certifying that the U.S. Obligations purchased with the Defeasance Deposit generate
monthly amounts equal to or greater than the Scheduled Defeasance Payments; (x) Borrower
shall deliver such other certificates, documents or instruments as Lender may reasonably request;
(xi) Borrower shall have paid to Lender any revenue, documentary stamp or intangible taxes or
any other tax or charge due in connection with the transfer of the Note or otherwise required to
accomplish the agreements of this Section 2.5; and (xii) Borrower shall pay all out of pocket
costs and expenses of Lender incurred in connection with the Defeasance Event, including any
costs and expenses associated with a release of the Lien of the Security Instrument as provided in
Section 2.5.2 hereof, as well as reasonable attorneys' fees and expenses, and Rating Agency fees,
costs and expenses, if any.

                       (b)      In connection with a Defeasance Event, Borrower hereby appoints
Lender as its agent and attorney-in-fact for the purpose of using the Defeasance Deposit to
purchase U.S. Obligations (the "Defeasance Collateral") which provide payments on or prior
to, but as close as possible to, all successive scheduled payment dates after the Defeasance Date
upon which interest and principal payments are required under the Note (including the Stated
Maturity Date, as accelerated pursuant to the succeeding sentence) and in amounts equal to the
scheduled payments due on such dates under this Agreement and the Note (including without
limitation scheduled payments of principal and interest) (the "Scheduled Defeasance
Payments"). Simultaneously with the delivery of the Defeasance Collateral and the satisfaction
of all other conditions to the defeasance of the Loan set forth herein, the Stated Maturity Date


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shall be accelerated to the Free Window Date. Each of the U.S. Obligations that are part of the
Defeasance Collateral shall be duly endorsed by the holder thereof as directed by Lender or
accompanied by a written instrument of transfer in form and substance that would be satisfactory
to a prudent institutional lender (including, without limitation, such instruments as may be
required by the depository institution holding such securities or by the issuer thereof, as the case
may be, to effectuate book entry transfers and pledges through the book entry facilities of such
institution) in order to perfect upon the delivery of the Defeasance Collateral a first priority
security interest therein in favor of Lender in conformity with all applicable state and federal
Jaws governing the granting of such security interests. Borrower, pursuant to the Defeasance
Security Agreement or other appropriate document, shall authorize and direct that the payments
received from the Defeasance Collateral may be made directly to the Cash Management Account
(unless otherwise directed by Lender) and applied to satisfy the obligations of Borrower under
the Note. Any portion of the Defeasance Deposit in excess of the amount necessary to purchase
the Defeasance Collateral required by this Section 2.5 and satisfy Borrower's other obligations
under this Section 2.5 shall be promptly remitted to Borrower.

                       (c)    In connection with any Defeasance Event, Lender, its designee or,
at Lender's election, Borrower, shall establish or designate a successor entity (the "Successor
Borrower") which shall be a single purpose bankruptcy remote entity under criteria established
by the Rating Agencies, and Borrower shall transfer and assign all obligations, rights and duties
under and to the Note together with the pledged U.S. Obligations to such Successor Borrower.
Such Successor Borrower shall assume the obligations under the Note and the Defeasance
Security Agreement and Borrower shall be relieved of its obligations under such documents and
Guarantor shall be released from any liability under the Guaranty for acts and omissions first
occurring after said assumption. Borrower shall pay $1,000 to any such Successor Borrower as
consideration for assuming the obligations under the Note and the Defeasance Security
Agreement. Notwithstanding anything in this Agreement to the contrary, no assumption fee shall
be payable upon a transfer of the Note in accordance with this Section 2.5.l(c), but Borrower
shall pay all costs and expenses incurred by Lender, including Lender's reasonable attorneys'
fees and expenses, incurred in connection therewith.

         2.5.2 Release of Property. (a) Except as set forth in this Section 2.5.2 or in Section 2.6,
no repayment, prepayment or defeasance of all or any portion of the Note shall cause, give rise to
a right to require, or otherwise result in, the release of any Lien of the Security Instrument on the
Property. If Bo1TOwer has elected to defease the entire Loan and the requirements of Section
2.5.1 have been satisfied, the Property shall be released from the Lien of the Security Instrument
and the Defeasance Collateral, pledged pursuant to the Defeasance Security Agreement, shall be
the sole source of collateral securing the Note. In connection with the release of the Security
Instrument, Borrower shall submit to Lender, not Jess than thirty (30) days prior to the
Defeasance Date, a release of Lien (and related Loan Documents) for the Property for execution
by Lender. Such release shall be in a form appropriate in the jurisdiction in which the Property
is located and that would be satisfactory to a prudent lender. In addition, Borrower shall provide
all other documentation Lender reasonably requires to be delivered by Borrower in connection
with such release, together with an Officer's Certificate certifying that such documentation (i) is
in compliance with all Legal Requirements, and (ii) will effect such releases in accordance with
the terms of this Agreement.



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       Section 2.6    Release on Payment in Full. Lender shall, upon the written request and at
the expense of Borrower, upon payment in full of all principal and interest on the Loan and all
other amounts due and payable under the Loan Documents in accordance with the terms and
provisions of the Note and this Loan Agreement, release the Lien of the Security Instrument on
the Property.

         III.     REPRESENTATIONS AND WARRANTIES

       Section 3.1     Borrower Representations. Borrower represents and warrants as of the
Closing Date that:

        3.1.1 Organization. Borrower (a) is duly organized, validly existing and in good
standing under the laws of its state of organization or incorporation; (b) is duly qualified to
transact business and is in good standing in the State; and (c) has all necessary approvals,
governmental and otherwise, and full power and authority to own the Property and carry on its
business as now conducted and proposed to be conducted. Borrower now has and shall continue
to have the full right, power and authority to operate and lease the Property, to encumber the
Property as provided herein and to perform all of the other obligations to be performed by
Borrower under the Note, this Agreement, the Security Instrument and the other Loan
Documents. Borrower's principal place of business and chief executive office is and will
continue to be the address of Borrower set forth in the first paragraph of this Agreement (unless
Borrower notifies Lender in writing at least thirty (30) days prior to the date of such change).
Borrower's organizational identification number, if any, assigned by the state of its incorporation
or organization is 802549708. Borrower's federal tax identification number is XX-XXXXXXX. The
organizational chart attached hereto as Schedule II is true, correct and complete on and as of the
date hereof. No Person, other than those Persons shown on Schedule II, has any ownership
interest in, or right of control, directly or indirectly, in Borrower.

       3.1.2 Authority. Borrower (and the undersigned representative of Borrower, if any) has
full power, authority and legal right to execute this Agreement, the Note, the Security
Instruments and the other Loan Documents, and to mortgage, grant, bargain, sell, pledge, assign,
warrant, set-over, transfer and convey the Property pursuant to the terms of the Loan Documents
and to keep and observe all of the terms of the Loan Documents on Borrower's part to be
performed.

        3.1.3 Validity of Documents. (a) The execution, delivery and performance of this
Agreement, the Note, the Security Instrument and the other Loan Documents and the borrowing
evidenced by the Note (i) are within the corporate, partnership, trust or limited liability company
(as the case may be) power of Borrower; (ii) have been authorized by all requisite corporate,
partnership, trust or limited liability company (as the case may be) action; (iii) have received all
necessary approvals and consents, corporate, governmental or otherwise; (iv) will not violate,
conflict with, result in a breach of or constitute (with notice or lapse of time, or both) a default
under any provision of law, any order or judgment of any court or governmental authority, the
articles of incorporation, by laws, partnership, trust, operating agreement or other governing
instrument of Borrower, or any indenture, agreement or other instrument to which Borrower is a


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party or by which it or any of its assets or the Property is or may be bound or affected; (v) will
not result in the creation or imposition of any lien, charge or encumbrance whatsoever upon any
of its assets, except the lien and security interest created by the Loan Documents; and (vi) will
not require any authorization or license from, or any filing with, any governmental or other body
(except for the recordation of this instrument in appropriate land records in the State where the
Property is located and except for Uniform Commercial Code filings relating to the security
interest created hereby); and (b) this Agreement, the Note, the Security Instrument and the other
Loan Documents constitute the legal, valid and binding obligations of Borrower enforceable
against Borrower in accordance with their respective terms, subject only to applicable
bankruptcy, insolvency and similar laws affecting rights of creditors generally, and subject, as to
enforceability, to general principles of equity (regardless of whether enforcement is sought in a
proceeding in equity or at law). The Loan Documents are not subject to any right of rescission,
set off, counterclaim or defense by Borrower, any SPC Party, or Guarantor, including the defense
of usury, nor would the operation of any of the terms of the Loan Documents, or the exercise of
any right thereunder, render the Loan Documents unenforceable (subject only to applicable
bankruptcy, insolvency and similar laws affecting rights of creditors generally and, as to
enforceability, to principles of equity), and neither Borrower, any SPC Party nor Guarantor has
asserted any right ofrescission, set off, counterclaim or defense with respect thereto.

        3 .1.4 Litigation. There are no actions, suits or proceedings at law or in equity by or
before any Governmental Authority or other agency now pending or, to Borrower's knowledge,
threatened against or affecting Borrower, any SPC Party, Guarantor or the Property that could
have a Material Adverse Effect.

         3.1.5 Warranty of Title. Borrower has paid for and has good title to the Property and
has the right to mortgage, grant, bargain, sell, pledge, assign, warrant, set over, transfer and
convey the same and that Borrower possesses an unencumbered fee simple absolute estate in the
Land and the Improvements and that it owns the Property free and clear of all Liens,
encumbrances and charges whatsoever (including, without limitation, liens securing a PACE
Loan) except (i) the Liens created by the Loan Documents, (ii) Liens, encumbrances and other
exceptions shown in the title insurance policy insuring the lien of the Security Instrument and
(iii) Liens, if any, for Taxes not yet due or delinquent (the "Permitted Encumbrances"). The
Security Instrument, together with any Uniform Commercial Code financing statements required
to be filed in connection therewith (when properly recorded and/or filed, as applicable, in the
appropriate records) will create (a) a valid, perfected first priority lien on the Property, subject
only to Permitted Encumbrances, and (b) perfected security interests in and to, and perfected
collateral assignments of, all personalty (including the Leases), all in accordance with the terms
thereof, in each case subject only to the Permitted Encumbrances. All personal property
necessary to operate the Property in the manner it is currently operated is owned by Borrower
and included within the Property encumbered by the Security Instrument. The Pe1mitted
Encumbrances do not and will not, indi.vidually or in the aggregate, materially adversely affect or
interfere with the value, current use or operation of the Property, the security intended to be
provided by the Security Instrument, or the ability of Borrower to pay or perform its obligations
when due in accordance with the Note or the other Loan Documents. Borrower shall forever
warrant, defend and preserve the title and the validity and priority of the lien of the Security
Instrument and shall forever warrant and defend the same to Lender against the claims of all
persons whomsoever.


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         3.1.6 Property Status and Condition. (a) No portion of the Improvements is located in
an area identified by the Secretary of Housing and Urban Development or any successor thereto
as an area having special flood hazards pursuant to the National Flood Insurance Act of 1968 or
the Flood Disaster Protection Act of 1973, as amended, or any successor law, or, if located
within any such area, Borrower has obtained and will maintain the insurance prescribed in
Section 5.1; (b) Borrower has obtained all necessary certificates, licenses, permits and other
approvals, governmental and otherwise, necessary for the operation of the Property and the
conduct of its business and all required zoning, building code, land use, environmental and other
similar certificates, licenses, permits or approvals, all of which are in full force and effect as of
the date hereof and not subject to revocation, suspension, forfeiture or modification; (c) to the
best of Borrower's knowledge, the Property and the present and contemplated use and occupancy
thereof comply in all material respects with all Legal Requirements, including, without
limitation, zoning ordinances, building codes, land use and environmental laws, laws relating to
the disabled (including, but not limited to, the Americans With Disabilities Act of 1990, as
amended) and other similar laws; (d) the Property is served by all utilities (including, but not
limited to, public water and sewer systems) required for the cmTent or contemplated use thereof;
(e) all utility service is provided by public utilities and the Property has accepted or is equipped
to accept such utility service; (f) to the best of Borrower's knowledge, all public roads and streets
necessary for service of and access to the Property for the current or contemplated use thereof
have been completed, are serviceable and all weather and are physically and legally open for use
by the public; (g) the Property is in good repair and free of any material damage, waste or
defective condition, and to Borrower's knowledge, free from damage caused by fire, water, wind
or other casualty or any previous damage to the Property has been fully restored; (h) to the best
of B01rnwer's knowledge, all costs and expenses of any and all labor, materials, supplies and
equipment used in the construction of the Improvements have been paid in full; (i) to the best of
Borrower's knowledge, all liquid and solid waste disposal, septic and sewer systems located on
the Property are in a good and safe condition and repair and comply in all material respects with
all Legal Requirements; G) all Improvements lie within the boundary of the Land; (k) no
Condemnation or other similar proceeding has been commenced or, to Borrower's knowledge, is
threatened or contemplated with respect to all or any portion of the Property or for the relocation
of roadways providing access to the Property; (I) the Property is comprised of one (1) or more
parcels which constitute a separate tax lot or lots and does not constitute a p01iion of any other
tax lot not a part of the Property; (m) there are no pending or proposed special or other
assessments for public improvements or otherwise affecting the Property, nor are there any
contemplated improvements to the Property that may result in such special or other assessments;
(n) the Property is used exclusively for hotel purposes and other appurtenant and related uses; (o)
no portion of the Property has been or will be purchased with proceeds of any illegal activity
and, to Borrower's knowledge, there are no illegal activities at the Property; and (p) Borrower is
not in default in any material respect in the performance, observance or fulfillment of any of the
obligations, covenants or conditions contained in any Permitted Encumbrance or any other
agreement or instrument to which it is a party or by which Borrower or the Property is bound.

        3.1.7 Leases. (a) The rent roll attached hereto as Schedule III is true, correct and
complete in all material respects and the Property is not subject to any Leases other than the
Leases described in Schedule III; (b) the Leases identified on Schedule III are in full force and
effect and there are no defaults thereunder by any party thereto and there are no conditions that,
with the passage of time or the giving of notice, or both, would constitute defaults thereunder; (c)


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the copies of the Leases delivered to Lender are true, correct and complete, and there are no oral
agreements with respect thereto; (d) no Rent (including security or other deposits) has been paid
more than two (2) months in advance of its due date; (e) all work to be performed by the landlord
under each Lease has been performed as required and has been accepted by the applicable
Tenant; (f) any payments, free rent, partial rent, rebate of rent or other payments, credits,
allowances or abatements required to be given by the landlord to any Tenant has already been
received by such Tenant, and (without limitation to the foregoing) all tenant improvement, tenant
allowance, leasing commission costs (other than leasing commissions related to unexercised
renewal options) and other amounts required to be paid in connection with commencement of the
lease term or rent commencement have been paid; (g) all security or other deposits are being held
in accordance with the applicable Leases and all applicable Legal Requirements; (h) Borrower
has no knowledge of any notice of termination or default with respect to any Lease; (i) Borrower
has not assigned or pledged any of the Leases, the rents or any interest therein except to Lender;
G) no Tenant or other Person has an option, right of first refusal or offer or any other preferential
right to purchase all or any portion of, or interest in, the Property; (k) no Tenant has any right or
option for additional space in the Improvements; (1) to Borrower's knowledge, no Tenant has
assigned its Lease or sublet all or any portion of the premises demised thereby; (m) except as set
forth in the Lease, no Tenant has the right to terminate its Lease prior to expiration of the stated
term of such Lease; (n) intentionally omitted; and (o) all existing Leases are subordinate to the
Security Instrument either pursuant to their terms or a recorded subordination agreement. The
Assignment of Leases creates a valid assignment of, or a valid security interest in, certain rights
under the Leases, subject only to a license granted to Borrower to exercise certain rights and to
perform certain obligations of the lessor under the Leases, as more particularly set forth therein.
No Person other than Lender has any interest in or assignment of the Leases or any portion of the
Rents due and payable or to become due and payable thereunder.

        3.1.8 Solvency. Borrower is solvent, has received reasonably equivalent value for
entering into this Agreement and the other Loan Documents, and, immediately after the Loan is
made, will have sufficient working capital, including cash flow from the Property or other assets,
not only to adequately maintain the Property, but also to pay all of Borrower's outstanding debts
as they come due. No petition under any state or federal bankruptcy or insolvency laws has ever
been filed against Borrower, any SPC Party, Guarantor or any of their respective shareholders,
partners, members or non-member managers that, directly or indirectly, own ten percent (10%)
or more of the legal, beneficial or economic interests in Borrower, any SPC Party or Guarantor.
Neither Borrower, any SPC Party, Guarantor, nor any of their respective shareholders, partners,
members or non-member managers that, directly or indirectly, own ten percent (10%) or more of
the legal, beneficial or economic interests in Borrower, any SPC Party or Guarantor is
contemplating either the filing of a petition by it under any state or federal bankruptcy or
insolvency laws or the liquidation of all or a major portion of Borrower's or such Person's assets
or properties.

         3.1.9 Financial Information. All financial data, including, without limitation, the
statements of cash flow and income and operating expense, that have been delivered to Lender in
respect of the Property or otherwise in connection with the Loan (i) are true, correct and
complete in all material respects, and (ii) accurately represent the financial condition of
Borrower and the Property, as applicable, as of the date of such reports. Borrower has no
liabilities or other obligations that arose or accrued prior to the date hereof that, either


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individually or in the aggregate, could have a Material Adverse Effect. Borrower has no known
contingent liabilities. Since the date of such financial statements, there has been no materially
adverse change in the financial condition, operations or business of Borrower from that set fmih
in said financial statements.

       3.1.10 Not a Foreign Person. Borrower is not a "foreign person" within the meaning of
§1445(f)(3) of the Code.

       3.1.11 Filing and Recording Taxes. All transfer taxes, deed stamps, intangible taxes or
other amounts in the nature of transfer taxes required to be paid by any Person under applicable
Legal Requirements currently in effect in connection with the transfer of the Property to
Borrower have been paid. All mortgage, mortgage recording, stamp, intangible or other similar
tax required to be paid by any Person under applicable Legal Requirements currently in effect in
connection with the execution, delivery, recordation, filing, registration, perfection or
enforcement of any of the Loan Documents, including, without limitation, the Security
Instrument, have been paid.

        3.1.12 Franchise Agreement. The Franchise Agreement is in full force and effect, all
franchise fees, reservation fees, royalties and other sums due thereunder have been paid in full to
date, and neither Borrower nor Franchisor is in default thereunder.

      3.1.13 Management Agreement. Borrower has not engaged a Manager or entered into
any Management Agreement, and no Person is entitled to a property management fee ..

        3.1.14 Material Agreements and Operating Agreement. Each Material Agreement and
Operating Agreement is in full force and effect and neither Borrower nor, to Borrower's
knowledge, any other party to any Material Agreement or Operating Agreement, is in default
thereunder, and to Borrower's knowledge, there are no conditions which, with the passage of
time or the giving of notice, or both, would constitute a default under any Material Agreement or
Operating Agreement. Borrower has delivered true, correct and complete copies of the Material
Agreements (including all amendments and supplements thereto) to Lender.

        3.1.15 BRISA Compliance. As of the date hereof and throughout the term of the Loan,
(i) Borrower is not and will not be an "employee benefit plan" as defined in Section 3(3) of
BRISA, which is subject to Title I of BRISA; (ii) the assets of Borrower do not and will not
constitute "plan assets" of one or more such plans for purposes of Title I of ERISA; (iii)
Borrower is not and will not be a "governmental plan" within the meaning of Section 3(32) of
BRISA; and (iv) transactions by or with Borrower are not and will not be subject to state statutes
applicable to Borrower regulating investments of and fiduciary obligations with respect to
governmental plans. Borrower shall deliver to Lender such certifications or other evidence as
requested by Lender from time to time of Borrower's compliance with the foregoing
representations and covenants.

        3.1.16 Business Purposes. The Loan is solely for the business purpose of Borrower, and
is not for personal, family, household, or agricultural purposes.

       3.1.17 Taxes. Borrower has filed all federal, State, county, municipal, and city income
and other tax returns required to have been filed by it and has paid all taxes and related liabilities


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which have become due pursuant to such returns or pursuant to any assessments received by it.
Borrower knows of no basis for any additional assessment in respect of any such taxes and
related liabilities for prior years.

        3 .1.18 OFAC. Borrower represents and warrants that neither Borrower, Guarantor, or
any of their respective Affiliates or, to Borrower's knowledge, any other Person owning a direct
or indirect equity interest in Borrower or, if Guarantor is not a natural Person, Guarantor, is a
Prohibited Person, and Borrower, Guarantor, and their respective Affiliates and, to Borrower's
knowledge, each other Person owning a direct or indirect equity interest in Borrower or, if
Guarantor is not a natural Person, Guarantor, are in compliance in all material respects with all
applicable orders, rules, regulations and recommendations of The Office of Foreign Assets
Control of the U.S. Department of the Treasury and the Patriot Act.

          3.1.19 Intentionally Omitted.

        3.1.20 No Change in Facts or Circumstances; Disclosure. No information contained in
this Agreement, the other Loan Documents, or any written statement or document furnished by
or on behalf of Borrower in connection with the Loan or pursuant to the terms of this Agreement
or any other Loan Document contains any untrue statement of a material fact or omits to state a
material fact necessary to make the statements contained herein or therein not misleading in light
of the circumstances under which they were made. There is no fact or circumstance presently
known to Borrower which has not been disclosed to Lender and which could have a Material
Adverse Effect. All information submitted by or on behalf of Borrower to Lender and in all
financial statements, rent rolls, reports, certificates and other documents submitted in connection
with the Loan and all statements of fact made by or on behalf of Borrower in this Agreement or
in any other Loan Document, are true, correct and complete in all material respects. There has
been no material adverse change in any condition, fact, circumstance or event that would make
any such information or statement of fact inaccurate, incomplete or otherwise misleading in any
material respect or that otherwise has or could have a Material Adverse Effect.

          3.1.21 Intentionally Omitted.

        3.1.22 Acquisition Documents. Borrower has delivered to Lender a true, correct and
complete copy of the agreement pursuant to which Borrower is acquiring the Property on the
date hereof (including all amendments thereto) (the "Purchase Contract") and the settlement
statement (the "Settlement Statement") setting forth all payments, credits and prorations
associated with the purchase of the Property by Borrower. There is no other agreement (other
than the Purchase Contract) related to the sale, transfer or conveyance of the Property to
Borrower. The Settlement Statement constitutes a true, complete and correct statement of all
payments, credits, prorations and other consideration related to the sale of the Property to
Borrower.

        3 .1.23 Discounted Payoff. In the event that proceeds from the Loan are being used
directly or indirectly to pay off or refinance any mortgage, mezzanine or other similar debt (in
whole or in part) that is in default or is the subject of a discounted payoff, Borrower hereby
represents and warrants to Lender that each of Borrower, Guarantor and each of their respective
and applicable Affiliates (including the borrower(s) of such debt) has complied with all the terms


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and conditions of any documentation or agreement relating to such default or discounted payoff
and has provided to the holder of such debt all information and documentation relating to the
Property, Borrower, Guarantor and each of their respective and applicable Affiliates (including
the borrower(s) of such debt) (i) required to be so provided or (ii) necessary for the holder of
such debt to make an informed decision as to any discounted payoff amount.

       Section 3.2   Survival of Representations.        Borrower agrees that all of the
representations and warranties of Borrower set forth in Section 3. I and elsewhere in this
Agreement and in the other Loan Documents shall survive for so long as any amount remains
owing to Lender under this Agreement or any of the other Loan Documents by Borrower.

          IV.       BORROWER COVENANTS

          Section 4.1         Covenants. Borrower hereby covenants and agrees with Lender that:

         4.1.1 Existence; Compliance with Legal Requirements. (a) Borrower will continuously
 maintain its existence and its rights to do business in the State together with its franchises and
 trade names, and will keep in full force and effect all material licenses, permits and applicable
 governmental authorizations necessary for the continued use and operation of the Property.
 Without limitation to the foregoing, Borrower shall (i) promptly comply and cause Guarantor
 and the Property to comply with all existing and future Legal Requirements (hereinafter defined),
 (ii) from time to time, upon Lender's request, provide Lender with evidence satisfactory to
 Lender that the Property complies with all Legal Requirements or is exempt from compliance
 with Legal Requirements, (iii) give prompt notice to Lender of the receipt by Borrower of any
 notice related to a violation of any Legal Requirements and of the commencement of any
 proceedings or investigations which relate to compliance with Legal Requirements, and (iv) take
 appropriate measures to prevent and will not engage in or knowingly permit any illegal activities
 at the Property. After prior written notice to Lender, Borrower, at its own expense, may contest
 by appropriate legal proceeding promptly initiated and conducted in good faith and with due
 diligence, the validity of any Legal Requirement, the applicability of any Legal Requirement to
 Borrower or the Property or any alleged violation of any Legal Requirement, provided that (i) no
 Event of Default has occurred and remains uncured; (ii) such proceeding shall be permitted
 under and be conducted in accordance with the provisions of any instrument to which Borrower
 is subject and shall not constitute a default thereunder and such proceeding shall be conducted in
 accordance with all Legal Requirements; (iii) neither the Property nor any material part thereof
 or interest therein will reasonably be in danger of being sold, forfeited, terminated, cancelled or
 lost as a result of such contest; (iv) Borrower shall promptly upon final determination thereof
 comply with any such Legal Requirement determined to be valid or applicable or cure any
violation of any Legal Requirement; (v) such proceeding shall suspend the enforcement of the
 contested Legal Requirement against Borrower or the Property; and (vi) Borrower shall furnish
such security as may be required in the proceeding, or as may be reasonably requested by
Lender, to insure compliance with such Legal Requirement, together with all interest and
penalties payable in connection therewith. Lender may apply any such security or part thereof,
as necessary to cause compliance with such Legal Requirement at any time when, in the
judgment of Lender, the validity, applicability or violation of such Legal Requirement is finally
established or the Property (or any part thereof or interest therein) shall be in danger of being
sold, forfeited, terminated, cancelled or lost.


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        4.1.2 Taxes and Other Charges. Borrower shall pay all Taxes and Other Charges now
or hereafter levied or assessed or imposed against the Property or any part thereof as the same
become due and payable (provided, however, Borrower's obligation to directly pay Taxes shall
be suspended for so long as Borrower complies with the terms and provisions of Section 6.3).
Borrower shall furnish to Lender receipts, or other evidence for the payment of the Taxes and the
Other Charges prior to the date the same shall become delinquent (provided, however, that
Borrower is not required to furnish such receipts for payment of Taxes in the event that such
Taxes have been paid by Lender pursuant to Section 6.3). Except for Permitted Encumbrances
and for Liens contested in accordance with this Section 4.1.2, Borrower shall not suffer and shall
promptly cause to be paid and discharged any Lien or charge whatsoever which may be or
become a Lien or charge against the Property, and shall promptly pay for all utility services
provided to the Property. After prior written notice to Lender, Borrower, at its own expense,
may contest by appropriate legal proceeding, promptly initiated and conducted in good faith and
with due diligence, the amount or validity or application in whole or in part of any Taxes or
Other Charges, provided that (i) no Event of Default has occurred and remains uncured; (ii) such
proceeding shall be permitted under and be conducted in accordance with the provisions of any
other instrument to which Borrower is subject and shall not constitute a default thereunder and
such proceeding shall be conducted in accordance with all Legal Requirements; (iii) neither the
Property nor any material part thereof or interest therein will reasonably be in danger of being
sold, forfeited, terminated, cancelled or lost as a result of such contest; (iv) Borrower shall
promptly upon final determination thereof pay the amount of any such Taxes or Other Charges,
together with all costs, interest and penalties which may be payable in connection therewith; (v)
such proceeding shall suspend the collection of such contested Taxes or Other Charges from the
Property; and (vi) Borrower shall furnish such security as may be required in the proceeding, or
as may be requested by Lender, to insure the payment of any such Taxes or Other Charges,
together with all interest and penalties thereon. Lender may apply such security or part thereof
held by Lender at any time when, in the judgment of Lender, the validity or applicability of such
Tax or Other Charges is established or the Property (or material part thereof or interest therein)
shall be in danger of being sold, forfeited, terminated, cancelled or lost or there shall be any
danger of the Lien the Security Instrument being primed by any related Lien.

        4.1.3 Maintenance of Property. Borrower shall cause the Property to be maintained in a
good and safe condition and repair, ordinary wear and tear excepted. Borrower shall not commit
or suffer any waste of the Property or make any change in the use of the Property which will in
any way materially increase the risk of fire or other hazard arising out of the operation of the
Property, or take any action that might invalidate or give cause for cancellation of any Policy, or
do or permit to be done thereon anything that may in any way materially impair the value of the
Property or the security of the Security Instrument. Borrower shall not initiate, join in, acquiesce
in, or consent to any change in any private restrictive covenant, zoning law or other public or
private restriction, limiting or defining the uses which may be made of the Property or any part
thereof. If under applicable zoning provisions the use of all or any portion of the Property is or
shall become a nonconforming use, Borrower will not cause or permit the nonconforming use to
be discontinued or abandoned without the express written consent of Lender. Borrower shall not
suffer, permit or initiate the joint assessment of the Property (a) with any other real property
constituting a tax lot separate from the Property, and (b) with any portion of the Property which
may be deemed to constitute personal property, or any other action or procedure whereby the lien
of any taxes which may be levied against such personal property shall be assessed or levied or


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charged to the Property or any portion thereof. The Property shall be used only for hotel use and
other appurtenant and related uses, and for no other use without the prior written consent of
Lender.

       4.1.4 Financial Reporting. (a) Borrower shall keep and maintain, or shall cause to be
kept and maintained, in accordance with the Unifom1 System of Accounts and reconciled in
accordance with GAAP (or such other accounting basis acceptable to Lender) proper and
accurate books, records and accounts reflecting all of the financial affairs of Borrower and all
items of income and expense in connection with the operation of the Property. All financial
statements delivered to Lender pursuant to this Section 4.1.4 shall be prepared in accordance
with the Uniform System of Accounts and reconciled in accordance with GAAP (or such other
accounting basis acceptable to Lender) and consistently applied.

                         (b)     Prior to a Securitization, Borrower shall furnish, or cause to be
furnished, to Lender on or before twenty (20) days after the end of each calendar month the
following items, accompanied by an Officer's Certificate stating that such items are true, correct
and complete in all material respects and fairly present the financial condition and results of the
operations of Borrower and the Property (subject to normal year-end adjustments) as applicable:
(i) an occupancy report for the subject month, including an average daily rate, and any franchise
inspection reports received by Borrower during such month; (ii) monthly and year-to-date
operating statements prepared for such month, noting Gross Income from Operations, Operating
Expenses, Capital Expenditures, Net Operating Income, Net Cash Flow and such other
information necessary and sufficient to fairly represent the financial position and results of
operation of the Property during such month, all in form reasonably satisfactory to Lender; and
(iii) a calculation reflecting the Debt Service Coverage Ratio as of ilie last day of such month for
the immediately preceding twelve (12) month period. On or before thirty (30) days after the end
of each calendar month, Borrower also will furnish, or cause to be furnished, to Lender the most
current Smith Travel Research Reports then available to Borrower reflecting market penetration
and relevant hotel properties competing with the Property.

                        (c)    Borrower shall furnish, or cause to be furnished, to Lender on or
before forty-five (45) days after the end of each calendar quarter the following items,
accompanied by an Officer's Certificate stating that such items are true, correct and complete in
all material respects and fairly present the financial condition and results of the operations of
Borrower and the Property (subject to normal year-end adjustments) as applicable: (i) an
occupancy report for the subject quarter, including an average daily rate and franchise inspection
reports; (ii) (A) a balance sheet for Borrower as of the last day of such quarter and (B) quarterly
and year-to-date operating statements prepared for such quarter, noting Gross Income from
Operations, Operating Expenses, Capital Expenditures, Net Operating Income, Net Cash Flow
and such other information necessary and sufficient to fairly represent the financial position and
results of operation of the Property during such quarter, all in form reasonably satisfactory to
Lender; and (iii) a calculation reflecting the Debt Service Coverage Ratio as of the last day of
such quarter for such quarter and for the last four quarters.

                      (d)     Borrower shall furnish, or cause to be furnished, to Lender
annually, within ninety (90) days following the end of each Fiscal Year of Borrower, a complete
copy of Borrower's annual financial statements prepared and reviewed by an independent


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certified public accountant reasonably acceptable to Lender in accordance with the Uniform
System of Accounts and reconciled in accordance with GAAP (or such other accounting basis
acceptable to Lender) covering the Property for such Fiscal Year and containing statements of
profit and loss for Borrower and the Property and a balance sheet for Borrower. Such statements
shall set forth the financial condition and the results of operations for the Property for such Fiscal
Year, and shall include, but not be limited to, amounts representing annual Gross Income from
Operations, Operating Expenses, Capital Expenditures, Net Operating Income and Net Cash
Flow. Borrower's annual financial statements shall be accompanied by (i) an Officer's
Certificate stating that each such annual financial statement presents fairly the financial condition
and the results of operations of Borrower and the Property being reported upon in all material
respects and has been prepared in accordance with Uniform System of Accounts and reconciled
in accordance with GAAP (or such other accounting basis acceptable to Lender), and (ii)
occupancy statistics for the Property.

                       (e)     Each such financial statement shall be in scope and detail
reasonably satisfactory to Lender and certified by the chief financial officer or representative of
Borrower. Any reports, statements or other information required to be delivered under this
Agreement shall be delivered (i) in paper form, (ii) on a diskette, and (iii) if requested by Lender
and within the capabilities of Borrower's data systems without change or modification thereto, in
electronic form reasonably acceptable to Lender. Lender shall have the right from time to time at
all times during normal business hours and upon reasonable prior written notice to Borrower to
examine such books, records and accounts at the office of Borrower or other Person maintaining
such books, records and accounts and to make such copies or extracts thereof as Lender shall
desire. After the occurrence and during a continuance of an Event of Default, Borrower shall pay
any costs and expenses incurred by Lender to examine Borrower's accounting records with
respect to the Property, as Lender shall determine to be necessary or appropriate in the protection
of Lender's interest.

                      (f)    For the partial year period commencing on the date hereof, and for
each Fiscal Year thereafter, Borrower shall submit to Lender an annual operating budget
presented on a monthly basis consistent with the quarterly and annual operating statements
described above for the Property, including cash flow projections for the upcoming year, and all
proposed Capital Expenditures at least fifteen (15) days prior to the start of each Fiscal Year.

                      (g)     Borrower shall furnish to Lender, within five (5) Business Days
after request (or as soon thereafter as may be reasonably possible), such further detailed
info1mation with respect to the operation of the Property and the financial affairs of Borrower as
may be reasonably requested by Lender.

                        (h)   If Borrower fails to provide to Lender the financial statements and
other information specified in this Section 4.1.4 within the respective time period specified, then,
in addition to any other rights and remedies Lender may have herein or under applicable law,
Borrower shall pay to Lender a fee in the amount of $5,000 immediately upon the occurrence of
such failure and again upon the expiration of each 30-day period thereafter until compliance is
achieved, which amounts shall constitute a portion of the Obligations and, if unpaid, shall accrue
interest at the Default Rate.




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        4.1.5 Litigation. Borrower shall give prompt notice to Lender of any litigation or
governmental proceedings pending or threatened in writing against the Property, Borrower or
any Guarantor which, if adversely determined, is reasonably likely to have a Material Adverse
Effect. Borrower shall cooperate fully with Lender with respect to any proceedings before any
court, board or other Governmental Authority which may in any way affect the rights of Lender
hereunder or under any of the other Loan Documents and, in connection therewith, permit
Lender, at its election, to participate in any such proceedings.

         4.1.6 Leasing Matters. (a) All Leases and all renewals of Leases executed after the
date hereof shall (i) provide for economic terms, including rental rates, comparable to existing
local market rates for similar properties, (ii) be on commercially reasonable terms, (iii) have a
term of not less than three (3) years (unless Lender approves in writing a shorter term), (iv) have
a term of not more than fifteen (15) years, including all extensions and renewals (unless Lender
approves in writing a longer term), (v) provide that such Lease is subordinate to the Security
Instrument and the Assignment of Leases and that the Tenant thereunder will attom to Lender
and any purchaser at a foreclosure sale, (vi) be am1s-length transactions with bona fide,
independent third party tenants, (vii) be written substantially in accordance with a standard form
of Lease which shall have been approved in writing by Lender (subject to any commercially
reasonable changes made in the course of negotiations with the applicable Tenant), (viii) not be
with any Affiliate of Borrower, Guarantor or Manager, and (ix) not contain any option to
purchase, any right of first option to purchase, or any right of first refusal to purchase; provided
that, in connection with renewals of Leases existing on the date hereof, any applicable term that
would otherwise breach the requirements set forth in this Section 4. I .6(a) shall be permitted to
the extent necessary to implement a renewal term expressly contained in the applicable Lease
and with respect to which Borrower has no discretion.

                        (b)     Borrower (i) shall perform the obligations which Borrower is
required to perform under the Leases; (ii) shall enforce in a commercially reasonable manner the
obligations to be performed by the Tenants thereunder (short of termination thereof); (iii) shall
promptly furnish to Lender any notice of default or termination received by Borrower from any
Tenant, and any notice of default or termination given by Borrower to any Tenant; (iv) shall not
collect any Rents for more than one (1) month in advance of the time when the same shall
become due, except for bona fide security deposits not in excess of an amount equal to two (2)
months' rent; (v) shall not enter into any ground Lease or master Lease of any part of the
Property; (vi) shall not further assign or encumber any Lease or the Rents (except as
contemplated by the Loan Documents); (vii) shall not, except with Lender's prior consent, cancel
or accept surrender or termination of any Lease; and (viii) shall not, except with Lender's prior
consent, modify or amend any Lease (except, solely with respect to Leases that are not Major
Leases, for modifications and amendments entered into in the ordinary course of business,
consistent with prudent property management practices, not affecting the economic terms of the
applicable Lease, and which result in a Lease in conformance with the provisions of Section
4. l.6(a) above). Any action in violation of clause (v), (vi), (vii) or (viii) of this Section 4.1.6(b)
shall be void at the election of Lender.

                    (c)    All Major Leases and all renewals, modifications and amendments
thereof (other than renewals, modifications and amendments strictly limited to the
implementation of options or rights expressly contained in Major Leases and with respect to


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which Borrower has no discretion as to the terms thereof) executed after the date hereof shall be
subject to Lender's prior approval.

                       (d)    Borrower shall not permit or consent to any assignment or sublease
of any Major Lease without Lender's prior approval (other than any assignment or sublease
expressly permitted under a Major Lease pursuant to a unilateral right of Tenant thereunder not
requiring the consent of Borrower).

                      (e)    Upon Borrower's request and at Borrower's sole cost and expense,
Lender shall execute and deliver its standard form of subordination, non-disturbance and
attornment agreement to Tenant under any future Major Lease approved or deemed approved by
Lender, with such commercially reasonable changes as may be requested by such Tenant and
which are acceptable to Lender.

                      (f)    Borrower shall pay or reimburse Lender for all reasonable costs
and expenses (including, without limitation, reasonable attorneys' fees and expenses) incurred by
Lender in connection with the review of any matter requiring Lender's consent under this
Section 4.1.6.

                       (g)   Within ten(! 0) days after Lender's request, Borrower shall furnish
to Lender a statement of all tenant security or other deposits and copies of all Leases not
previously delivered to Lender, certified as being true, correct and complete.

                       (h)    All security deposits of Tenants, whether held in cash or any other
form, shall be held in compliance with all applicable Legal Requirements and shall not be
commingled with any other funds of Borrower and, if cash, shall be deposited by Borrower at
such commercial or savings bank or banks as may be reasonably satisfactory to Lender.
Borrower shall, upon request, provide Lender with evidence reasonably satisfactory to Lender of
Borrower's compliance with the foregoing.           Following the occurrence and during the
continuance of any Event of Default, Borrower shall, upon Lender's request, if permitted by any
applicable Legal Requirements, turn over to Lender the security deposits (and any interest
theretofore earned thereon) with respect to all or any portion of the Property, to be held by
Lender subject to the terms of the Leases.

         4.1.7 Alterations. Lender's prior approval shall be required in connection with any
alterations to the Property (a)(i) that could have a Material Adverse Effect, (ii) the cost of which
(including any related alteration, improvement or replacement) is reasonably anticipated to
exceed the Alteration Threshold, or (iii) that could materially and adversely affect any structural
component of any Improvements, any utility or HV AC system at the Property or the exterior of
any building constituting a part of any Improvements or (b) any alterations to the Property during
the continuation of any Event of Default. Any alteration to the Property shall be done and
completed by Borrower in a good and workmanlike fashion and in compliance with all
applicable Legal Requirements. If the total unpaid amounts incurred and to be incurred with
respect to such alterations to the Property shall at any time exceed the Alteration Threshold,
Borrower shall promptly deliver to Lender as security for the payment of such amounts and as
additional security for Borrower's obligations under the Loan Documents any of the following:
(A) cash, (B) letters of credit (in form and from an issuer acceptable to Lender), or (C) U.S.


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Obligations. Such security shall be in an amount equal to the excess of the total unpaid amounts
incurred and to be incurred with respect to such alterations to the Improvements (other than such
amounts to be paid or reimbursed by Tenants under the Leases; provided that the applicable
Leases shall be in full force and effect) over the Alteration Threshold, and, at Lender's option,
Lender shall have the right to apply such security from time to time to pay for such alterations.
Upon substantial completion of any alteration to the Property, Borrower shall provide evidence
reasonably satisfactory to Lender that (I) such alteration was constructed in accordance with all
applicable Legal Requirements, (2) all contractors, subcontractors, materialmen and
professionals who provided work, materials or services in connection with such alteration have
been paid in full and have delivered unconditional releases of liens (unless a dispute exists and
Borrower is contesting the lien in good faith and in compliance with Section 4 .1.2 hereof), and
(3) all licenses and permits necessary for the use, operation and occupancy of the Improvements
have been issued, provided that, if any such license or permit is temporary in nature, Borrower
shall diligently pursue procuring a permanent license or permit from the applicable
Governmental Authority.

          4.1.8     Management Agreement.

        Borrower shall not engage a Manager or enter into a Management Agreement without
Lender's prior written consent. In the event Borrower retains a Manager and enters into a
Management Agreement with Lender's consent pursuant to the immediately preceding sentence,
then the following subsections (a) and (b) shall be applicable.

        (a) Borrower shall cause the Property to be operated in accordance with the Management
Agreement. Borrower shall (i) diligently perform and observe all of the terms, covenants and
conditions of the Management Agreement on the part of Borrower to be performed and
observed, (ii) promptly notify Lender of any default under the Management Agreement of which
it is aware, (iii) promptly deliver to Lender a copy of each financial statement, business plan,
capital expenditures plan, report and estimate received by it under the Management Agreement
and (iv) promptly enforce the performance and observance of all of the terms, covenants and
conditions required to be performed and/or observed by Manager under the Management
Agreement, in a commercially reasonable manner. If Borrower shall default in the performance
or observance of any term, covenant or condition of the Management Agreement on the part of
Borrower to be performed or observed, then, without limiting Lender's other rights or remedies
under this Agreement or the other Loan Documents, and without waiving or releasing Borrower
from any of its obligations hereunder, under the other Loan Documents or under the
Management Agreement, Lender shall have the right, but shall be under no obligation, to pay any
sums and to perform any act as may be appropriate to cause the terms, covenants and conditions
of the Management Agreement on the part of Borrower to be performed or observed in all
material respects. Borrower shall not, without prior consent of Lender, (1) surrender, terminate,
cancel, modify, renew, amend, or extend the Management Agreement; provided that Borrower
may, without Lender's consent, replace Manager with a Qualified Manager pursuant to a
Replacement Management Agreement, (2) reduce or consent to the reduction of the term of the
Management Agreement, (3) increase or consent to the increase of the amount of any fees or
other charges under the Management Agreement, or (4) otherwise modify, change, supplement,
alter or amend, or waive or release any of its rights and remedies under, the Management
Agreement in any material respect. In connection with the replacement of Manager with a


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Qualified Manager, Borrower shall execute and cause Qualified Manager to execute an
assignment of management agreement and subordination of management fees in the form then
used by Lender. In the event that the Management Agreement expires or is terminated (without
limiting any obligation of Borrower to obtain Lender's consent to any termination or
modification of the Management Agreement in accordance with the terms and provisions of this
Agreement), Borrower shall promptly enter into a Replacement Management Agreement with a
Qualified Manager. Upon the occurrence and during the continuation of an Event of Default,
Borrower shall not exercise any rights, make any decisions, grant any approvals or otherwise
take any action under the Management Agreement without the prior consent of Lender.

                      (b)     Without limitation to the foregoing, if (i) an Event of Default has
occurred and is continuing, (ii) Manager shall be in default under the Management Agreement
beyond any applicable notice and cure period, (iii) Manager shall become insolvent or a debtor in
any Bankruptcy Action, (iv) at any time Manager has engaged in gross negligence, fraud, willful
misconduct or misappropriation of funds, and/or (v) at any time the Debt Service Coverage Ratio
(based upon the trailing twelve (12) month period immediately preceding the date of such
determination) is less than 1.25 to 1.00, Borrower shall, at Lender's request, terminate the
Management Agreement and replace Manager with a Qualified Manager pursuant to a
Replacement Management Agreement, it being understood and agreed that the management fee
for such Qualified Manager shall not exceed then prevailing market rates.

         4. 1.9 Franchise Agreement. Borrower shall cause the Property to be operated in
accordance with the Franchise Agreement. Borrower shall (i) diligently perform and observe all
of the terms, covenants and conditions of the Franchise Agreement on the part of Borrower to be
performed and observed, (ii) promptly notify Lender of any default under the Franchise
Agreement of which it is aware, (iii) promptly deliver to Lender a copy of each financial
statement, business plan, capital expenditures plan, report and estimate received by it under the
Franchise Agreement, and (iv) promptly enforce the performance and observance of all of the
terms, covenants and conditions required to be performed and/or observed by Franchisor under
the Franchise Agreement, in a commercially reasonable manner. If Borrower shall default in the ·
performance or observance of any term, covenant or condition of the Franchise Agreement on
the part of Borrower to be performed or observed, then, without limiting Lender's other rights or
remedies under this Agreement or the other Loan Documents, and without waiving or releasing
Borrower from any of its obligations hereunder, under the other Loan Documents or under the
Franchise Agreement, Lender shall have the right, but shall be under no obligation, to pay any
sums and to perform any act as may be appropriate to cause the terms, covenants and conditions
of the Franchise Agreement on the part of Borrower to be performed or observed in all material
respects. Borrower shall not, without prior consent of Lender, (!) surrender, terminate, cancel,
modify, renew, amend, or extend the Franchise Agreement, (2) reduce or consent to the
reduction of the term of the Franchise Agreement, (3) increase or consent to the increase of the
amount of any fees or other charges under the Franchise Agreement, or (4) otherwise modify,
change, supplement, alter or amend, or waive or release any of its rights and remedies under the
Franchise Agreement in any material respect. In the event that the Franchise Agreement expires
or is terminated (without limiting any obligation of Borrower to obtain Lender's consent to any
termination or modification of the Franchise Agreement in accordance with the terms and
provisions of this Agreement), Borrower shall promptly enter into a new franchise agreement in
form and substance acceptable to Lender with a franchisor acceptable to Lender. Upon the


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occurrence and during the continuation of an Event of Default, Borrower shall not exercise any
rights, make any decisions, grant any approvals or otherwise take any action under the Franchise
Agreement without the prior consent of Lender. Borrower shall reimburse Lender for any out of
pocket fees and expenses incurred by Lender in connection with the transfer or reissuance of any
subordination agreement, comfort letter or similar agreement with any Franchisor in connection
with the transfer of the Loan.

          4.1.10 Intentionally Omitted.

       4.1.11 Performance of Other Agreements. Borrower shall observe and perform in all
material respects each and every term to be observed or performed by Borrower pursuant to the
terms of any Operating Agreements and Material Agreements. Without limitation to the
foregoing, Borrower shall (a) give prompt notice to Lender of any notice received by Borrower
under any of the Material Agreements or Operating Agreements, together with a complete copy
of any such notice, (b) enforce, short of termination thereof, the performance and observance of
each and every term, covenant and provision of the Material Agreements or Operating
Agreements to be performed or observed, if any, (c) not terminate or amend any of the terms or
provisions of any Material Agreement or Operating Agreement, without the prior written consent
of Lender and (d) not enter into any Material Agreement or Operating Agreement; provided,
however, Lender's consent shall not be required with respect to (x) the execution of a Material
Agreement on an arm's length basis and on commercially reasonable terms, (y) a termination of
any Material Agreement if the other party thereto is in material default and the termination of
such agreement would be commercially reasonable or (z) any amendment or waiver of any term
or provision of any Material Agreement entered on an arm's length basis and on commercially
reasonable terms. In the event a Material Agreement terminates by its terms, with Lender's
consent or pursuant to clause (z), Borrower shall enter into a replacement thereof that is
negotiated on arm's length basis and contains commercially reasonable terms (except that no
replacement shall be required where the related service or subject matter is no longer required or
relevant to the use, operation or enjoyment of the Property). Borrower shall notify Lender in the
event Borrower does not replace the terminated Material Agreement.

        4.1.12 Transfers. (a) Without the prior consent of Lender, neither Borrower nor any
Restricted Party shall do any of the following (each, a "Transfer"): sell, transfer, convey, assign,
mortgage, pledge, encumber, alienate, grant a Lien on, grant any option with respect to or grant
any other interest in the Property, any part thereof or any interest therein (including any legal,
beneficial or economic interest in Borrower or any Restricted Party), directly or indirectly,
voluntarily or involuntarily, by operation of law or otherwise, and whether or not for
consideration or of record, other than Permitted Transfers.

                         (b)     A Transfer shall include (i) an installment sales agreement wherein
Borrower agrees to sell the Property, any part thereof or any interest therein for a price to be paid
in installments; (ii) an agreement by Borrower leasing all or a substantial part of the Property for
other than actual occupancy by a space tenant thereunder or a sale, assignment or other transfer
of, or the grant of a security interest in, Borrower's right, title and interest in and to any Leases or
any Rents; (iii) if Borrower or any Restricted Party is a corporation, the voluntary or involuntary
sale, conveyance or transfer of such corporation's stock (or the stock of any corporation directly
or indirectly controlling such corporation by operation of Jaw or otherwise) or the creation or


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issuance of new stock such that such corporation's stock shall be vested in a party or parties who
are not now stockholders or any change in the control of such corporation; (iv) if Borrower or
any Restricted Party is a limited or general partnership, joint venture or limited liability
company, the change, removal, resignation or addition of a partner, joint venturer, manager or
member, the voluntary or involuntary transfer of any partnership, joint venture, membership or
manager interest or any change in the control of such limited or general partnership, joint venture
or limited liability company; (v) if Borrower or any Restricted Party is a trust, the change or
removal of any trustee of such trust, the voluntary or involuntary transfer of the legal or
beneficial interest in such trust or the creation or issuance of new legal or beneficial interests or
conversion of such trust from a revocable to an irrevocable trust; (vi) the transfer, assignment or
pledge of any distribution or dividends of a stockholder, partner, venturer, member, manager or
other beneficial owner of a Restricted Party; and (vii) if Borrower enters into, or the Property is
subjected to, any PACE Loan.

                        (c)    Lender shall not be required to demonstrate any actual impairment
of its security or any increased risk of default hereunder or under the other Loan Documents in
order to declare the Debt immediately due and payable upon a Transfer (other than a Permitted
Transfer) without Lender's prior consent. This provision shall apply to every Transfer regardless
of whether voluntary or not, and whether or not Lender has consented to any previous Transfer.

                        (d)      No consent to any assumption of the Loan shall occur on or before
earlier to occur of (I) the first (I st) anniversary of the date hereof and (2) the sixtieth (60th) day
following the initial Securitization of the Loan. Thereafter, Lender's consent to a Transfer of the
Property and the assumption of the Loan (in whole and not in part) shall not be unreasonably
withheld after consideration of all relevant factors and provided that the following conditions are
satisfied: (i) Lender shall have received a notice from Borrower requesting Lender's consent to
such Transfer not less than forty-five (45) days prior to the proposed date of such Transfer; (ii)
no Event of Default shall have occurred and remain outstanding; (iii) the proposed transferee
("Transferee") shall be a Single Purpose Entity (and shall not be a tenant in common structure, a
Delaware statutory trust or a crowdfunded entity); (iv) the Organizational Documents of
Transferee and any managing member or general partner thereof shall be reasonably satisfactory
to Lender; (v) neither any Transferee's Sponsor, Transferee nor any other Person owned or
controlled, directly or indirectly, by Transferee's Sponsors shall have been a party to any
Bankruptcy Action or taken advantage of any Bankruptcy Law or any law for the benefit of
debtors within seven (7) years prior to the date of the proposed Transfer; (vi) neither any
Transferee's Sponsor, Transferee nor any other Person owned or controlled, directly or
indirectly, by Transferee's Sponsors shall have defaulted under its obligations with respect to any
Indebtedness in a manner which is not reasonably acceptable to Lender; (vii) there shall be no
material litigation or regulatory action pending or threatened against any Transferee's Sponsor,
Transferee or any other Person owned or controlled, directly or indirectly, by Transferee's
Sponsors which is not reasonably acceptable to Lender; (viii) Transferee and Transferee's
Sponsors shall, as of the date of such Transfer, have an aggregate net worth and liquidity
reasonably satisfactory to Lender; (ix) Transferee and Transferee's Sponsors (together with
Transferee's proposed property manager) shall be experienced owners and operators of
properties similar in location, size, class, use, operation and value as the Property, as evidenced
by financial statements and other information reasonably satisfactory to Lender (it being
understood and agreed that Lender reserves the right to approve Transferee without approving its


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proposed property manager); (x) if the Management Agreement will be terminated as a result of
such Transfer, the Property shall be managed by a Qualified Manager in accordance with a
Replacement Management Agreement; (xi) if a Franchise Agreement is in effect, such Franchise
Agreement will remain in full force and effect after giving effect to such Transfer (unless (I)
Lender has consented to the termination of such Franchise Agreement in its sole and absolute
discretion and (2) a new franchise agreement has been executed with the franchisor under the
terminated Franchise Agreement or a new franchisor, which new franchise agreement and
franchisor shall be reasonably acceptable to Lender; (xii) Transferee shall have delivered all
agreements, certificates and opinions reasonably required by Lender (including, if applicable, an
amendment to Section 8.5 and/or Schedule I hereof to incorporate necessary changes based on
differences in the organizational structures of Borrower and Transferee); (xiii) no Event of
Default shall occur as a result of such Transfer; (xiv) Transferee shall have assumed all
obligations of Borrower under the Loan Documents pursuant to an assumption agreement in
form and substance reasonably satisfactory to Lender; (xv) Borrower shall have delivered, at its
sole cost and expense, an endorsement to the Title Insurance Policy, as modified by the
assumption agreement, as a valid first lien on the Property and naming Transferee as owner of
the Property, which endorsement shall insure that, as of the date of the recording of the
assumption agreement, the Property shall not be subject to any Liens other than those contained
in the Title Insurance Policy issued on the date hereof and the Permitted Encumbrances; (xvi)
one (!) or more Transferee's Sponsors reasonably acceptable to Lender having (x) a direct or
indirect equity interest of twenty percent (20%) or more in Transferee, (y) control over
Transferee and (z) an aggregate net worth and liquidity reasonably satisfactory to Lender shall
(A) have assumed all obligations of Guarantor under the Guaranty and the Environmental
Indemnity or (B) have executed a replacement guaranty and a replacement environmental
indemnity in form and substance reasonably satisfactory to Lender; (xvii) intentionally omitted;
(xviii) if required by Lender, Borrower shall have delivered a Rating Agency Confirmation as to
such Transfer and Transferee; (xix) Borrower shall have paid to Lender an assumption fee equal
to one percent (1 %) of the Outstanding Principal Balance; and (xx) Borrower shall have paid all
reasonable out-of-pocket costs and expenses incurred in connection with such Transfer
(including reasonable fees and disbursements of Lender's counsel and fees, costs and expenses
of the Rating Agencies).

                       (e)     Notwithstanding anything to the contrary contained in this Section
4.1.12, Lender's consent shall not be required in connection with Transfers of the direct or
indirect ownership interests in any Restricted Party (x) that do not result in a Transfer of more
than forty-nine percent (49%), in the aggregate, of the direct or indirect ownership interests irt
Borrower or (y) to an immediate family member (i.e., parents, spouses, siblings, children or
grandchildren) of an owner of such interest (or a trust for the benefit of any such person(s)) for
estate planning purposes; provided that the following conditions are satisfied: (i) no Event of
Default shall have occurred and remain outstanding or shall occur solely as a result of such
Transfer, (ii) such Transfer shall not (1) cause the transferee, together with its Affiliates, to
acquire control of Borrower, (2) result in any Borrower no longer being controlled by Key
Principal, or (3) except in connection with a Transfer described in clause (y) above, cause the
transferee, together with its Affiliates, to increase its direct or indirect interest in Borrower to an
amount which exceeds forty-nine percent (49%) in the aggregate, (iii) to the extent the transferee
owns twenty percent (20%) or more of the direct or indirect interests in Borrower immediately
following such Transfer (provided that such Transferee did not own 20% or more of the direct or


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indirect ownership interests in Borrower as of the Closing Date), Borrower shall deliver, at
Borrower's sole cost and expense, customary searches (credit, judgment, lien, bankruptcy, etc.)
reasonably acceptable to Lender with respect to such transferee and its Affiliates as Lender may
reasonably require, (iv) after giving effect to such Transfer, Key Principal shall continue to own,
directly or indirectly, at least fifty-one percent (51 %) of all legal, beneficial and economic
interests in Borrower, (v) Borrower shall give Lender notice of such Transfer request, together
with copies of all instruments effecting such Transfer and copies of any Organizational
Documents that Lender shall require, not less than thirty (30) days prior to the proposed date of
such Transfer, and (vi) the legal and financial structure of Borrower and the single purpose
nature and bankruptcy remoteness of Borrower, after such Transfer, shall satisfy Lender's the
then current applicable underwriting criteria and requirements.

                      (f)     Lender's consent to one Transfer shall not be deemed to be a
waiver of Lender's right to require such consent to any future occurrence of same. Any Transfer
made in contravention of this Section 4.1.12 shall be null and void and of no force and effect.

                       (g)    Borrower agrees to bear and shall pay or reimburse Lender on
demand for all reasonable out-of-pocket costs and expenses (including, without limitation,
reasonable attorneys' fees and expenses, title search costs and title insurance endorsement
premiums) incurred by Lender in connection with the review, approval and/or documentation of
any proposed Transfer. If required by Lender, Borrower shall deposit with Lender an amount
equal to Lender's anticipated costs and expenses in evaluating any proposed Transfer.

          4.1.13 Intentionally Omitted.

        4.1.14 Patriot Act Compliance. Borrower will use its good faith and commercially
reasonable efforts to comply with the Patriot Act and all applicable requirements of
Governmental Authorities relating to terrorism and money laundering. Lender shall have the
right to audit Borrower's compliance with the Patriot Act and all applicable requirements of
Governmental Authorities relating to terrorism and money laundering. In the event that
Borrower fails to comply with the Patriot Act or any such requirements of Governmental
Authorities, Lender may, at its option, cause Borrower to comply therewith. At all times
throughout the term of the Loan, including after giving effect to any Transfers permitted
pursuant to the Loan Documents, (a) none of the funds or other assets of Borrower, any SPC
Party or Guarantor shall constitute property of, or shall be beneficially owned, directly or
indirectly, by any Prohibited Person, with the result that the investment in Borrower, any SPC
Party or Guarantor, as applicable (whether directly or indirectly), would be prohibited by law, or
the Loan made by Lender would be in violation of law, (b) no Prohibited Person shall have any
interest of any nature whatsoever in Borrower, any SPC Party or Guarantor, as applicable, with
the result that the investment in Borrower, any SPC Party or Guarantor, as applicable (whether
directly or indirectly), would be prohibited by law or the Loan would be in violation of law, and
(c) none of the funds of Borrower, any SPC Party or Guarantor, as applicable, shall be derived
from any unlawful activity with the result that the investment in Borrower, any SPC Party or
Guarantor, as applicable (whether directly or indirectly), would be prohibited by law or the Loan
would be in violation of law. All costs and expenses incurred by Lender in connection therewith
shall be paid by Borrower to Lender, upon demand, with interest at the Default Rate from the



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date such costs and expenses were incurred to and including the date the reimbursement payment
is received by Lender. All such indebtedness shall be secured by the Security Instrument.

       4.1.15 Debt Cancellation. Borrower shall not cancel or otherwise forgive or release any
material claim or debt (other than termination of Leases in accordance herewith) owed to
Borrower by any Person, except for adequate consideration and in the ordinary course of
Borrower's business.

        4.1.16 Name. Identity. Structure. or Principal Place of Business. Borrower shall not
change its name, identity (including its trade name or names), or principal place of business set
forth in the introductory paragraph of this Agreement, without, in each case, first giving Lender
thirty (30) days prior written notice. Borrower shall not change its corporate, partnership or
other structure, or the place of its organization as set forth herein, except in the case of a
Permitted Transfer, without, in each case, the consent of Lender. Upon Lender's request,
Borrower shall execute and deliver additional financing statements, security agreements and
other instruments which may be necessary to effectively evidence or perfect Lender's security
interest in the Property as a result of such change of principal place of business or place of
organization.

       4.1.17 Access to the Property. Borrower shall permit agents, representatives and
employees of Lender to inspect the Property or any part thereof at reasonable hours upon
reasonable advance notice, subject to the rights of tenants.

      4.1.18 Notice of Default. Borrower shall promptly advise Lender of the occurrence of
any Event of Default of which Borrower has knowledge.

        4.1.19 Further Assurances. Borrower shall, at Borrower's sole cost and expense: (a)
execute and deliver to Lender such documents, instruments, certificates, assignments and other
writings, and do such other acts necessary or desirable, to evidence, preserve and/or protect the
collateral at any time securing or intended to secure the Obligations, as Lender may reasonably
require; and (b) do and execute all and such further lawful and reasonable acts, conveyances and
assurances for the better and more effective carrying out of the intents and purposes of the Loan
Documents, as Lender shall reasonably require from time to time.

         4.1.20 Intentionally Omitted.

        4.1.21 Estoppel Statement. (a) After written request by Lender, Borrower shall within
ten (10) days furnish Lender with a statement, duly acknowledged and certified, setting forth (i)
the amount of the original principal amount of the Note, (ii) the unpaid principal amount of the
Note, (ii) the Applicable Interest Rate of the Note, (iv) the date installments of interest and/or
principal were last paid, (v) any offsets or defenses to the payment of the Debt, and (vi) that the
Note, this Agreement, the Security Instrument and the other Loan Documents are valid, legal and
binding obligations and have not been modified or if modified, giving particulars of such
modification.

                       (b)    Borrower shall use commercially reasonable efforts to deliver to
Lender, within thirty (30) days after Lender's written request, an estoppel certificate from each
Tenant under any Lease in form and substance reasonably satisfactory to Lender; provided that


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(i) Borrower shall only be required to use commercially reasonable efforts to obtain an estoppel
certificate from any Tenant not required to provide an estoppel certificate under its Lease, (ii)
such estoppel certificate may be in the form required under such Lease, and (iii) Borrower shall
not be required to deliver such estoppel certificate from any Tenant more frequently than two (2)
times in any calendar year.

          V.       INSURANCE; CASUALTY; CONDEMNATION

       Section 5.1    Insurance. (a) Borrower shall obtain and maintain, or cause to be
maintained, insurance for Borrower and the Property providing at least the following coverages:

                                 (i)     comprehensive all risk insurance (including wind and
          named storms) on the Improvements and the personal property at the Property (A) in an
          amount equal to one hundred percent (100%) of the "full replacement cost" of the
          Property, which for purposes of this Agreement shall mean actual replacement value
          (exclusive of costs of excavations, foundations, underground utilities and footings) with a
          waiver of depreciation; (B) containing an agreed amount endorsement with respect to the
          Improvements and personal property at the Property waiving all co-insurance provisions;
          (C) providing for no deductible in excess of Ten Thousand and No/I 00 Dollars ($10,000)
          for all such insurance coverage, except for wind/named storms and earthquake which
          may provide for a deductible of five percent (5%) of the total insurable value of the
          Property; and (D) if any of the Improvements or the use of the Property shall at any time
          constitute a legal non-conforming structure or use, containing "law and ordinance"
          coverage including coverage for loss of the undamaged portion of the Improvements,
          demolition and increased costs of construction in an amount acceptable to Lender. In
          addition, Borrower shall obtain: (I) if any portion of the Improvements is currently or at
          any time in the future located in a federally designated "special flood hazard area," flood
          hazard insurance in an amount equal to the maximum amount of such insurance available
          under the National Flood Insurance Act of 1968, the Flood Disaster Protection Act of
          1973 or the National Flood Insurance Reform Act of 1994, as each may be amended, plus
          such excess amount as Lender shall require; and (2) if the Property is located in seismic
          zone 3 or 4 and the PML/SEL of the Property exceeds twenty percent (20% ), earthquake
          insurance in amounts and in form and substance satisfactory to Lender, provided that the
          insurance pursuant to clauses (I) and (2) hereof shall be on terms consistent with the
          comprehensive all risk insurance policy required under this Section 5.1 (a)(i);

                                 (ii)   broad form commercial general liability insurance against
         claims for personal injury, bodily injury, death or property damage occurring upon, in or
         about the Property, such insurance (A) to be on the so-called "occurrence" form with an
         occurrence limit of not less than One Million and No/I 00 Dollars ($1,000,000) and an
         aggregate limit of not less than Two Million and No/I 00 Dollars ($2,000,000); (B) to
         continue at not less than the aforesaid limit until required to be changed by Lender by
         reason of changed economic conditions making such protection inadequate; and (C) to
         cover at least the following hazards: (I) premises and operations; (2) products and
         completed operations on an "if any" basis; (3) independent contractors; (4) contractual
         liability for all insured contracts; and (5) contractual liability covering the indemnities
         contained in Article 9 of the Security Instrument to the extent the same is available;


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                                  (iii)   business income insurance (A) with loss payable to Lender;
         (B) covering all risks required to be covered by insurance pursuant to Sections 5.!Ca)(i),
         Civ), (vi), (xi) and (xii) for a period commencing at the time of loss for such length of
         time as it takes to repair or replace with the exercise of due diligence and dispatch or the
         expiration of twelve (12) months, whichever first occurs, and notwithstanding that the
         Policy may expire prior to the end of such period; (C) in an amount equal to one hundred
         percent (100%) of the projected gross income (less non-continuing expenses) from the
         Property for a period of twelve (12) months; and (D) containing an extended period of
         indemnity endorsement which provides that after the physical loss to the Improvements
         and the Personal Property has been repaired, the continued loss of income will be insured
         until such income either returns to the same level it was at prior to the loss, or the
         expiration of six (6) months from the date that the Property is repaired or replaced and
         operations are resumed, whichever first occurs, and notwithstanding that the policy may
         expire prior to the end of such period. The amount of such business income insurance
         shall be determined prior to the date hereof and at least once each year thereafter based
         on Borrower's reasonable estimate of the gross income (less non-continuing expenses)
         from the Property for the succeeding twelve (12) month period. All proceeds payable to
         Lender pursuant to this Section 5.l(a)Ciii) shall be held by Lender and shall be applied to
         the obligations secured by the Loan Documents from time to time due and payable
         hereunder and under the Note; provided, however, that nothing herein contained shall be
         deemed to relieve Borrower of its obligation to pay the Debt at the time and in the
         manner provided for in this Agreement, the Note and the other Loan Documents except
         to the extent such amounts are actually paid out of the proceeds of such business income
         insurance;

                                (iv)   at all times during which structural construction, repairs or
         alterations are being made with respect to the Improvements, and only if the property and
         liability coverage forms do not otherwise apply, (A) commercial general liability and
         umbrella liability insurance covering claims related to construction, repair and alteration
         at the Property not covered by or under the terms or provisions of the commercial general
         liability insurance and umbrella liability insurance policies required under this Section
         D; and (B) the insurance provided for in Section 5.l(a)(i) above written in a so-called
         builder's risk completed value form in amounts and with deductibles, terms and
         conditions required by Lender (1) on a non-reporting basis, (2) covering all risks required
         to be insured against pursuant to Sections 5.l(a)(i), (iii), (vi), (xi) and (xii), (3) including
         permission to occupy the Property, and (4) with an agreed amount endorsement waiving
         co-insurance provisions;

                                (v)    workers' compensation, subject to the statutory limits of
         the state in which the Property is located, and employer's liability insurance with a limit
         of at least One Million and Noll 00 Dollars ($1,000,000) per accident and per disease per
         employee, and One Million and No/100 Dollars ($1,000,000) for disease aggregate (if
         applicable);

                                  (vi)    comprehensive boiler and machinery insurance in amounts
         required by Lender and on terms consistent with the insurance required under Section
         5. l(a)(i) above (if applicable);


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                              (vii) umbrella liability insurance in addition to primary coverage
         in an amount not less than Fifteen Million and Noll 00 Dollars ($15,000,000.00) per
         occurrence on terms consistent with the insurance required under Section 5. l(a)(ii) and, if
         applicable, (viii);

                               (viii) commercial auto liability coverage for all owned and non-
          owned vehicles, including rented and leased vehicles, containing minimum limits per
          occurrence of One Million and No/100 Dollars ($1,000,000) (if applicable);

                                (ix)    liquor liability insurance or other liability insurance
          required in connection with the sale of alcoholic beverages (if applicable);

                                (x)     insurance against employee dishonesty in an amount
          required by Lender (if applicable);

                                 (xi)    with respect to commercial property, general liability,
          business income, and umbrella liability insurance required under this Section 5.1 (a)
          (including, if applicable, insurance required under Section 5.l(a)(iv) above), insurance
          for loss resulting from perils and acts of terrorism in amounts and with terms and
          conditions applicable to commercial property, general liability, business income, and
          umbrella liability insurance required under this Section 5.1 (a). The policy or endorsement
          providing for such insurance shall be in form and substance satisfactory to Lender and
          shall satisfy Rating Agency criteria for securitized loans; and

                                 (xii) upon sixty (60) days' notice, such other insurance and in
          such amounts as Lender may, from time to time, reasonably request against such other
          insurable hazards which at the time are commonly insured against for properties similar
          to the Property located in or around the region in which the Property is located.

                       (b)     All insurance provided for in Section 5.l(a) shall be obtained
under valid and enforceable policies (each individually, a "Policy" and collectively, the
"Policies") and, to the extent not specified above, shall be subject to the approval of Lender as to
insurers, amounts, deductibles, loss payees and insureds. Not less than fifteen (15) days prior to
the expiration dates of the Policies theretofore furnished to Lender, certificates of insurance
evidencing the Policies (and, upon Lender's request, certified copies of such Policies or such
other evidence as shall be acceptable to Lender) accompanied by evidence satisfactory to Lender
of payment of the premiums then due thereunder (the "Insurance Premiums") shall be
delivered by Borrower to Lender.

                      (c)    Any blanket insurance Policy shall be subject to Lender's
approval, which approval shall be conditioned upon, among other things, evidence satisfactory to
Lender that such Policy provides the same protection as would a separate Policy insuring only
the Property in compliance with the provisions of Section 5.l(a).

                             (d)         All Policies of insurance provided for or contemplated by Section
2.,lll0. shall be primary coverage and shall name Borrower as a named insured and, in the case of
liability policies, except for the Policy referenced in Section 5. l(a)(v) and (viii), Lender and its
successors and/or assigns as the additional insured, as its interests may appear, and, in the case of


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property insurance (including, but not limited to, flood, earthquake, boiler and machinery, and
terrorism insurance), shall name Lender and its successors and/or assigns, as their interests may
appear, as mortgagee pursuant to a non-contributing mortgagee clause (or its equivalent) in favor
of Lender and its successors and/or assigns providing that the loss thereunder shall be payable to
Lender and its successors and/or assigns. Borrower shall not procure or permit any of its
constituent entities to procure any other insurance coverage which would be on the same level of
payment as the Policies or would adversely impact in any way the ability of Borrower or Lender
to collect any proceeds under any of the Policies.

                        (e)      All property insurance provided for in Section 5. lCa) shall: (a)
provide that no act or negligence of Borrower, or anyone acting for Borrower, or of any Tenant
or other occupant, or failure to comply with the provisions of any Policy, which might otherwise
result in a forfeiture of the insurance or any part thereof, or foreclosure or similar action, shall in
any way affect the validity or enforceability of the insurance insofar as Lender is concerned; (b)
provide that the Policy shall not be canceled or permitted to lapse without at least thirty (30)
days' written notice to Lender, except ten (10) days' written notice for non-payment of premium;
(c) not contain any provisions which would make Lender be liable for any Insurance Premiums
thereon or subject to any assessments thereunder; and (d) provide that the issuers thereof shall
give written notice to Lender if the issuer(s) of the Policies elect not to renew prior to its
expiration.

                        (f)    If at any time Lender is not in receipt of written evidence that all
insurance required hereunder is in full force and effect, Lender shall have the right, without
notice to Borrower, to take such action as Lender deems necessary to protect its interest in the
Property, including, without limitation, the obtaining of such insurance coverage as Lender in its
sole discretion deems appropriate and all costs and expenses (including any Insurance Premiums)
incurred by Lender in connection with such action or in obtaining such insurance and keeping it
in effect shall be paid by Borrower to Lender upon demand with interest at the Default Rate from
the date such costs and expenses were incurred to and including the date the reimbursement
payment is received by Lender. All such indebtedness shall be secured by the Security
Instrument.

                         (g)    In the event of foreclosure of the Security Instrument or other
transfer of title to the Property in extinguishment in whole or in part of the Obligations, all right,
title and interest of Borrower in and to the Policies then in force concerning the Property and all
proceeds payable thereunder shall thereupon vest in Lender, tlie purchaser at such foreclosure or
the transferee in the event of such otl1er transfer of title.

                       (h)      The Policies shall be issued by financially sound and responsible
insurance companies authorized to do business in the State and having a claims paying ability
rating of "A" or better by S&P. Notwithstanding the foregoing, Lender shall accept Western
World Insurance Company, rated "A XV" with AM Best and currently not rated by S&P, as the
insurer for the general liability Policy, United States Liability Insurance Company, rated A++ X
with AM Best and is currently not rated by S&P, and Employers Preferred Insurance Company,
rated "A-XI" and currently not rated with S&P, for so long as ilie rating of such insurers is not
withdrawn or downgraded below the date hereof. In the event such insurer's rating is withdrawn



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or downgraded below this rating, Borrower shall promptly notify Lender and replace such
insurer with an insurer meeting the rating requirements set forth herein.

        Section 5.2     Casualty. If the Property shall be damaged or destroyed, in whole or in
part, by fire or other casualty (a "Casualty"), Borrower shall give prompt notice of such damage
to Lender and shall promptly commence and diligently prosecute the completion of the
Restoration of the Property as nearly as possible to the condition the Property was in
immediately prior to such Casualty, with such alterations as may be reasonably approved by
Lender and otherwise in accordance with Section 5.4. Borrower shall pay all costs of such
Restoration whether or not such costs are covered by insurance. Lender may, but shall not be
obligated to make proof of loss if not made promptly by Borrower. In the event of a Casualty
where the loss and the applicable Net Proceeds are less than the Restoration Threshold, Borrower
may settle and adjust such claim; provided that (a) no Event of Default has occurred and remains
outstanding and (b) such adjustment is carried out in a commercially reasonable and timely
manner. In the event of a Casualty where the loss and the applicable Net Proceeds is equal to or
greater than the Restoration Threshold or if an Event of Default has occurred and remains
outstanding, Borrower may settle and adjust such claim only with the prior consent of Lender
(which consent shall not be unreasonably withheld or delayed) and Lender shall have the
opportunity to participate, at Borrower's cost and expense, in any such adjustments.

          Section 5.3     Condemnation. Borrower shall promptly give Lender notice of the actual
 or threatened commencement of any proceeding for the Condemnation of all or any part of the
 Property and shall deliver to Lender copies of any and all papers served in connection with such
 proceedings. Lender may participate in any such proceedings, and Borrower shall from time to
 time deliver to Lender all instruments requested by it to permit such participation. Borrower
 shall, at its expense, diligently prosecute any such proceedings, and shall consult with Lender, its
 attorneys and experts, and cooperate with them in the can·ying on or defense of any such
 proceedings. Notwithstanding any taking by any public or quasi public authority through
 Condemnation or otherwise (including, but not limited to, any transfer made in lieu of or in
 anticipation of the exercise of such taking), Borrower shall continue to pay the Debt at the time
and in the manner provided for its payment in the Note and in this Agreement and the Debt shall
 not be reduced until any Award shall have been actually received and applied by Lender, after
 the deduction of expenses of collection, to the reduction or discharge of the Debt. Lender shall
 not be limited to the interest paid on the Award by the condemning authority but shall be entitled
to receive out of the Award interest at the rate or rates provided herein or in the Note. If the
Property or any portion thereof is taken by a condemning authority, Borrower shall, promptly
commence and diligently prosecute the Restoration of the Property and otherwise comply with
the provisions of Section 5.4. If the Property is sold, through foreclosure or otherwise, prior to
the receipt by Lender of the Award, Lender shall have the right, whether or not a deficiency
judgment on the Note shall have been sought, recovered or denied, to receive the Award, or a
portion thereof sufficient to pay the Debt.

       Section 5.4    Restoration. The following provisions shall apply in connection with the
Restoration ofthe Prope1ty:

                      (a)     If the Net Proceeds shall be less than the Restoration Threshold
and the costs of completing the Restoration shall be less than the Restoration Threshold, the Net


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Proceeds will be disbursed by Lender to Borrower upon receipt, provided that all of the
conditions set forth in Section 5.4(b)(i) are met and Borrower delivers to Lender a written
undertaking to expeditiously commence and to satisfactorily complete with due diligence the
Restoration in accordance with the terms of this Agreement.

                       (b)     If the Net Proceeds are equal to or greater than the Restoration
Threshold or the costs of completing the Restoration is equal to or greater than the Restoration
Threshold Lender shall make the Net Proceeds available for the Restoration in accordance with
the provisions of this Section 5.4. The term "Net Proceeds" shall mean: (i) the net amount of
all insurance proceeds received by Lender pursuant to Section 5.l(a)(i), (iv), (vi), (xi) and (xii) as
a result of such damage or destruction (or any proceeds of self-insurance maintained in lieu of
such insurance policies), after deduction of its reasonable costs and expenses (including, but not
limited to, reasonable counsel fees), if any, in collecting same ("Insurance Proceeds"), or (ii)
the net amount of the Award, after deduction of its reasonable costs and expenses (including, but
not limited to, reasonable counsel fees), if any, in collecting same ("Condemnation Proceeds"),
whichever the case may be.

                                 (i)     The Net Proceeds shall be made available to Borrower for
          Restoration provided that each of the following conditions are met: (A) no Event of
          Default shall have occurred and remain outstanding; (B)(l) in the event the Net Proceeds
          are Insurance Proceeds, less than twenty five percent (25%) of the total floor area of the
          Improvements has been damaged, destroyed, or rendered unusable as a result of such fire
          or other casualty or (2) in the event the Net Proceeds are Condemnation Proceeds, less
          than ten percent ( 10%) of the land constituting the Property is taken, and such land is
          located along the perimeter or periphery of the Property; (C) intentionally omitted; (D)
          Borrower shall have commenced the Restoration as soon as reasonably practicable (but in
          no event later than ninety (90) days after such Casualty or Condemnation, whichever the
          case may be, occurs) and shall diligently pursue the same to satisfactory completion; (E)
          Lender shall be satisfied that any operating deficits and all scheduled payments under this
          Agreement and the other Loan Documents (including scheduled payments of principal
          and interest) will be paid during the period required for Restoration from (1) the Net
          Proceeds, (2) the Insurance Proceeds of the business or rental interruption or other loss of
          income insurance specified in Section 5.l(a)(iii) hereof or (3) other funds of Borrower;
          (F) Lender shall be satisfied that following the completion of the Restoration, the Debt
          Service Coverage Ratio shall not be less than 1.35: 1.00; (G) Lender shall be satisfied
          that the Restoration will be completed on or before the earliest to occur of (1) the date
          that is six (6) months prior to the Stated Maturity Date, (2) intentionally omitted, (3)
          intentionally omitted, (4) the date required for such completion under the terms of the
          Franchise Agreement, (5) the date, if any, required under the applicable Legal
          Requirements for such completion, or (6) six (6) months prior to the expiration of the
          insurance coverage specified in Section 5. !(a)(iii) hereof; (H) the Property and the use
          thereof after the Restoration will be in compliance with and permitted under all
          applicable Legal Requirements; (I) the Restoration shall be done and completed by
          Borrower in an expeditious and diligent fashion and in compliance with all applicable
          Legal Requirements; (J) such Casualty or Condemnation, as applicable, does not result in
          the loss of access to the Property or the Improvements; (K) the Franchise Agreement
          shall remain in full force and effect during and after the completion of the Restoration;


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         and (L) Lender shall be satisfied that, upon the completion of the Restoration, the loan-to-
         value ratio of the Loan (as so determined by Lender) shall not be greater than the lesser
         of (I) 67.0%, and (2) the loan-to-value ratio of the Loan (as so determined by Lender)
         immediately prior to such Casualty or Condemnation.

                                 (ii)   The Net Proceeds shall be held by Lender in an interest
         bearing account and, until disbursed in accordance with the provisions of this Section
         5.4(b), shall constitute additional security for the Debt and other obligations under the
         Loan Documents. The Net Proceeds shall be disbursed by Lender to, or as directed by,
         Borrower from time to time during the course of the Restoration, upon receipt of
         evidence satisfactory to Lender that (A) all materials installed and work and labor
         performed (except to the extent that they are to be paid for out of the requested
         disbursement) in connection with the Restoration have been paid for in full, and (B) there
         exist no notices ofpendency, stop orders, mechanic's or materialman's liens or notices of
         intention to file same, or any other Liens or encumbrances of any nature whatsoever on
         the Property which have not either been fully bonded to the satisfaction of Lender and
         discharged of record or in the alternative fully insured to the satisfaction of Lender by the
         title company issuing the Title Insurance Policy.

                                 (iii)   All plans and specifications required in connection with the
          Restoration shall be subject to prior review and acceptance in all respects by Lender and
          by an independent consulting engineer selected by Lender (the "Casualtv Consultant").
          Lender shall have the use of the plans and specifications and all permits, licenses and
          approvals required or obtained in connection with the Restoration. The identity of the
          contractors, subcontractors and materialmen engaged in the Restoration as well as the
          contracts under which they have been engaged, shall be subject to prior review and
          acceptance by Lender and the Casualty Consultant. Borrower shall deliver, or cause to be
          delivered, to Lender a signed, detailed budget approved in writing by Borrower's
          architect or engineer stating all of the costs and expenses of completing the Restoration,
          which budget shall be acceptable to Lender and the Casualty Consultant. All costs and
          expenses incurred by Lender in connection with making the Net Proceeds available for
          the Restoration including, without limitation, reasonable counsel fees and disbursements
          and the Casualty Consultant's fees, shall be paid by Borrower.

                                (iv)   In no event shall Lender be obligated to make
         disbursements of the Net Proceeds in excess of an amount equal to the costs actually
         incurred from time to time for work in place as part of the Restoration, as certified by the
         Casualty Consultant, minus the Casualty Retainage. The term "Casualtv Retainage"
         shall mean an amount equal to ten percent (10%), of the costs actually incurred for work
         in place as part of the Restoration, as certified by the Casualty Consultant, until the
         Restoration has been completed. The Casualty Retainage shall in no event, and
         notwithstanding anything to the contrary set forth above in this Section 5.4(b), be less
         than the amount actually held back by Borrower from contractors, subcontractors and
         materialmen engaged in the Restoration. The Casualty Retainage shall not be released
         until the Casualty Consultant certifies to Lender that the Restoration has been completed
         in accordance with the provisions of this Section 5.4(b) and that all approvals necessary
         for the occupancy and use of the Property have been obtained from all appropriate


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          Governmental Authorities, and Lender receives evidence satisfactory to Lender that the
          costs of the Restoration have been paid in full or will be paid in full out of the Casualty
          Retainage; provided, however, that Lender will release the portion of the Casualty
          Retainage being held with respect to any contractor, subcontractor or materialman
          engaged in the Restoration as of the date upon which the Casualty Consultant certifies to
          Lender that the contractor, subcontractor or materialman has satisfactorily completed all
          work and has supplied all materials in accordance with the provisions of the contractor's,
          subcontractor's or materialman's contract, the contractor, subcontractor or materialman
          delivers the lien waivers and evidence of payment in full of all sums due to the
          contractor, subcontractor or materialman as may be reasonably requested by Lender or by
          the title company issuing the Title Insurance Policy for the Property, and Lender receives
          an endorsement to such Title Insurance Policy insuring the continued priority of the Lien
          of the Security Instrument and evidence of payment of any premium payable for such
          endorsement. If required by Lender, the release of any such portion of the Casualty
          Retainage shall be approved by the surety company, if any, which has issued a payment
          or performance bond with respect to the contractor, subcontractor or materialman.

                               (v)    Lender shall not be obligated to make disbursements of the
          Net Proceeds more frequently than once every calendar month.

                                  (vi)    If at any time the Net Proceeds or the undisbursed balance
          thereof shall not, in the opinion of Lender in consultation with the Casualty Consultant, if
          any, be sufficient to pay in full the balance of the costs which are estimated by the
          Casualty Consultant to be incurred in connection with the completion of the Restoration,
          Borrower shall deposit the deficiency (the "Net Proceeds Deficiency") with Lender
          before any further disbursement of the Net Proceeds shall be made. The Net Proceeds
          Deficiency deposited with Lender shall be held by Lender and shall be disbursed for costs
          actually incurred in connection with the Restoration on the same conditions applicable to
          the disbursement of the Net Proceeds, and until so disbursed pursuant to this Section
          5.4(b) shall constitute additional security for the Debt and other obligations under the
          Loan Documents.

                                  (vii) The excess, if any, of the Net Proceeds and the remaining
          balance, if any, of the Net Proceeds Deficiency deposited with Lender after the Casualty
          Consultant certifies to Lender that the Restoration has been completed in accordance with
          the provisions of this Section 5.4(b), and the receipt by Lender of evidence satisfactory to
          Lender that all costs incurred in connection with the Restoration have been paid in full,
          shall be remitted by Lender to Borrower, provided no Event of Default shall exist.

                       (c)    All Net Proceeds not required (i) to be made available for the
Restoration or (ii) to be returned to Borrower as excess Net Proceeds pursuant to Subsection
5.4(b)(vii) may be retained and applied by Lender toward the payment of the Debt whether or
not then due and payable in such order, priority and proportions as Lender in its discretion shall
deem proper or, at the discretion of Lender, the same may be paid, either in whole or in part, to
Borrower for such purposes as Lender shall designate, in its discretion. Provided no Event of
Default exists, Borrower shall not be obligated to pay any prepayment premium or other



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prepayment consideration in connection with a prepayment resulting from the application of Net
Proceeds to the Debt pursuant to the preceding sentence.

                       (d)     Notwithstanding anything to the contrary contained herein or in
any other Loan Document, ifthe Loan is included in a REMIC Trust and, immediately following
a release of any portion of the Lien of the Security Instrument following a Casualty or
Condemnation (but taking into account any proposed Restoration of the remaining Property), the
ratio of the unpaid principal balance of the Loan to the value of the remaining Property is greater
than 125% (such value to be determined, in Lender's sole discretion, by any commercially
reasonable method permitted to a REMIC Trust, based solely on real property and excluding any
personal property and going concern value, if any), the principal balance of the Loan must be
paid down by an amount equal to the least of the following amounts: (i) the Net Proceeds, (ii)
the fair market value of the released property at the time of the release, or (iii) an amount such
that the loan to value ratio of the Loan (as so determined by Lender) does not increase after the
release, unless Lender receives an opinion of counsel that if such amount is not paid, the
applicable Securitization will not fail to maintain its status as a REMIC Trust as a result of the
related release of such portion of the Lien of the Security Instrument. If and to the extent the
preceding sentence applies, only such amount of the Net Proceeds, if any, in excess of the
amount required to pay down the principal balance of the Loan may be released for purposes of
Restoration or released to Borrower as otherwise expressly provided in this Section 5.4.

          VI.      CASH MANAGEMENT AND RESERVE FUNDS

          Section 6.1        Cash Management.

        6.1.1 Clearing Account. Upon the occurrence of a Cash Management Trigger Event,
Borrower shall establish an account with Clearing Account Bank (the "Clearing Account") into
which all Rents shall be deposited in accordance with Section 6. J.2(a) below. The Clearing
Account shall be an Eligible Account and shall be established under Borrower's federal tax
identification number. On the date hereof, Borrower has delivered to Lender all executed account
opening and activation documentation required by the Clearing Account Bank to open and
activate the Clearing Account to be held by Lender until the occurrence of a Cash Management
Trigger Event (the "Clearing Account Activation Documentation"). Upon the occurrence of a
Cash Management Trigger Event, Lender is and shall be irrevocably authorized to submit the
Clearing Account Activation Documentation to the Clearing Account Bank to open and activate
the Clearing Account (the "Clearing Account Activation"). Borrower shall cooperate with
Lender in opening and activating the Clearing Account, and shall provide promptly upon request
such other account opening and activation documentation as may then be required by the
Clearing Account Bank and/or Lender. Borrower acknowledges and agrees that the Clearing
Account is and shall be subject to the sole dominion, control and discretion of Lender, its
authorized agents or designees, subject to the terms hereof and the terms of the Clearing Account
Agreement. The Clearing Account shall not be commingled with other monies held by Borrower
or Clearing Account Bank. All costs and expenses for establishing and maintaining the Clearing
Account shall be paid by Borrower.

       6.1.2 Instruction Notices: Deposits. (a) (i) Borrower shall, or shall cause Manager to,
within five (5) Business Days after the occurrence of a Cash Management Trigger Event deliver


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to each Tenant of the Property, and shall upon its entry into each new Lease following the
occurrence of a Cash Management Trigger Event deliver to the Tenant thereunder, a notice in the
form attached hereto as Exhibit A ("Tenant Instruction Notice"). Without limitation to the
foregoing, on the date hereof, Borrower has delivered to Lender executed Instruction Notices
with respect to each present Tenant of the Property, and, upon entering into each new Lease of
the Property, Borrower shall prior to the first occurrence of a Cash Management Trigger Event
deliver to Lender an executed Tenant Instruction Notice for to each Tenant thereunder. Tenant
Instruction Notices delivered to Lender shall be held by Lender until the occurrence of a Cash
Management Trigger Event. Borrower hereby ratifies and confirms that, from and after the
occurrence of a Cash Management Trigger Event, any and all Rents due Borrower under any and
all Leases shall be made payable to Clearing Account Bank in accordance with this Section
6.1.2. If Borrower fails to provide any such Tenant Instruction Notice (and without prejudice to
Lender's rights with respect to such default), Lender shall have the right, and Borrower hereby
grants to Lender a power of attorney (which power of attorney shall be coupled with an interest
and irrevocable so long as any portion of the Debt remains outstanding), to sign, complete
necessary account information and payment direction and deliver Tenant Instruction Notices to
each Tenant thereunder if and to the extent Lender deems it necessary and without limitation to
Borrower's obligation to provide Tenant Instruction Notices as set forth above. Without the prior
written consent of Lender, so long as any portion of the Debt remains outstanding, neither
Bon·ower nor Manager shall terminate, amend, revoke or modify any Tenant Instruction Notice
delivered to Lender or any Tenant in any manner whatsoever or direct or cause any Tenant to
pay any amount in any manner other than as provided in the related Tenant Instruction Notice.
Borrower shall, or shall cause Manager to, from and after the occurrence of a Cash Management
Trigger Event, cause each present and future Tenant of the Property to pay all Rents directly to
the lockbox established in connection with the Clearing Account (if payment is made by check,
money order or similar instrument) or directly to the Clearing Account (if payment is made by
wire transfer) in accordance herewith. Further, if at any time the Clearing Account and/or
Clearing Account Bank shall change, Borrower shall, or shall cause Manager to, send out such
replacement Tenant Instruction Notices or amendments or supplements thereto to Lender or
Tenants, as applicable, as soon as is practicable and in any event within five (5) Business Days
after the date of such change (with Lender's counter-signature or acknowledgement thereon). If
Borrower or any agent of Borrower shall at. any time after the occurrence of a Cash Management
Trigger Event receive from any Tenant or any other party any Rents or other charges related to
the Property, Borrower shall immediately, and in any event within one (1) Business Day, remit
or cause its agent to remit such receipts to Clearing Account Bank for deposit into the Clearing
Account, or immediately, and in any event within one(!) Business Day, wire transfer such sums
directly into the Clearing Account.

        (ii) Borrower shall, or shall cause Manager to, within five (5) Business Days after the
occurrence of a Cash Management Trigger Event deliver to each bank, issuer, processor or other
entity ("Credit Card Company") with which Borrower has entered into merchant's or other
agreement with respect to the processing of charge card, credit card, debit card or comparable
forms of payment (a list of such Credit Card Companies as of the date hereof is attached hereto
as Schedule VI), and shall upon its entry into each new agreement following the occurrence of a
Cash Management Trigger Event deliver to the Credit Card Company thereunder, a notice in the
form attached hereto as Exhibit B ("Credit Card Instruction Notice"). Without limitation to the
foregoing, on the date hereof, Borrower has delivered to Lender executed Credit Instruction


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Notices with respect to each Credit Card Company listed on Schedule VI, and, upon entering
into each new agreement with a Credit Card Company, Borrower shall prior to the first
occurrence of a Cash Management Trigger Event deliver to Lender an executed Credit Card
Instruction Notice for to each Credit Card Company thereunder. Credit Card Instruction Notices
delivered to Lender shall be held by Lender until the occurrence of a Cash Management Trigger
Event. Borrower hereby ratifies and confirms that, from and after the occurrence of a Cash
Management Trigger Event, all Rents payable with respect to the Property, in accordance with
such merchant's agreements or otherwise, shall be transferred instead by wire transfer or the
ACH System to Clearing Account Bank in accordance with this Section 6.1.2. If Borrower fails
to provide any such Credit Card Instruction Notice (and without prejudice to Lender's rights with
respect to such default), Lender shall have the right, and Borrower hereby grants to Lender a
power of attorney (which power of attorney shall be coupled with an interest and irrevocable so
long as any portion of the Debt remains outstanding), to sign, complete necessary account
information and payment direction and deliver Credit Card Instruction Notices to each Credit
Card Company thereunder if and to the extent Lender deems it necessary and without limitation
to Borrower's obligation to provide Credit Card Instruction Notices as set forth above. Without
the prior written consent of Lender, so long as any portion of the Debt remains outstanding,
neither Borrower nor Manager shall terminate, amend, revoke or modify any Credit Card
Instruction Notice in any manner whatsoever or direct or cause any Credit Card Company to pay
any amount in any manner other than as provided in the related Credit Card Instruction Notice.
Furthermore, Bo1Tower shall, and shall cause Manager to, from after the occurrence of a Cash
Management Trigger Event, instruct all Persons that maintain open accounts with Borrower with
respect to the Property or with whom Borrower does business on an "accounts receivable" basis
with respect to the Property to deliver all payments due under such accounts to the Clearing
Account. If at any time the Clearing Account and/or Clearing Account Bank shall change,
Borrower shall, or shall cause Manager to, send out such replacement Credit Card Instruction
Notices or amendments or supplements thereto to Lender or Credit Card Companies, as
applicable, as soon as is practicable and in any event within five (5) Business Days after the date
of such change (with Lender's counter-signature or acknowledgement thereon). If Borrower or
any agent of Borrower shall at any time after the occurrence of a Cash Management Trigger
Event receive from any Credit Card Company or any other party any Rents or other charges
payable or other charges related to the Property, Borrower shall immediately, and in any event
within one (!) Business Day, remit or cause its agent to remit such receipts to Clearing Account
Bank for deposit into the Clearing Account, or immediately, and in any event within one (1)
Business Day, wire transfer such sums directly into the Clearing Account.

                       (b)    Borrower shall at all times cause there to be a Clearing Account
Agreement in effect with Clearing Account Bank. So long as no Event of Default shall then
exist at the time, Borrower shall have the right at any time to designate an Eligible Institution as
successor Clearing Account Bank to hold the Clearing Account upon fifteen (15) days prior
written notice to Lender and Clearing Account Bank and Lender's confirmation that accounts at
such successor Clearing Account Bank satisfy the requirements of this Section 6. l .2(b) (and, if
prior to Clearing Account Activation, the requirements of Section 6.1.2(a) above) and shall
otherwise be reasonably acceptable to Lender. No such designation shall become effective until
(i) Borrower has (1) delivered to Lender a written Clearing Account Agreement which has been
duly executed and delivered to Lender by Borrower and the successor Clearing Account Bank
and (2) prepared, executed, and filed such financing statements as Lender may reasonably deem


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necessary or appropriate, and (ii) the successor Clearing Account Bank has been approved by
Lender, which approval shall not be unreasonably withheld if Clearing Account Bank is an
Eligible Institution. Upon receipt by Lender of the items complying with the requirements
specified in the preceding sentence, Lender shall promptly deliver to the predecessor Clearing
Account Bank (with a copy to Borrower) instructions to close the Clearing Account (if then open
and activated) at the predecessor institution and to withdraw and transfer the funds on deposit
therein directly to Lender for deposit into the new Clearing Account at the successor Clearing
Account Bank.

                       (c)    If at any time Clearing Account Bank shall cease to be an Eligible
Institution, Lender may instruct Borrower to appoint a successor Clearing Account Bank
designated by Lender that is an Eligible Institution to hold the Clearing Account, whereupon
Borrower shall, within thirty (30) days of such instruction, (i) deliver to Lender a Clearing
Account Agreement which has been duly executed and delivered to Lender by Borrower and the
successor Cleaiing Account Bank and (2) prepare, execute and file such financing statements as
Lender may deem reasonably necessary or appropriate. Upon receipt by Lender of the items
complying with the requirements specified in the preceding sentence, Lender shall promptly
deliver to the predecessor Clearing Account Bank (with a copy to Borrower) instructions to close
the Clearing Account (if then open and activated) at the predecessor institution and to withdraw
and transfer the funds on deposit therein directly to Lender for deposit into the new Clearing
Account at the successor Clearing Account Bank.

        6.1.3 Disbursements from the Clearing Account and Cash Management Account. (a)
Pursuant to the Clearing Account Agreement, on each Business Day, Clearing Account Bank
shall be authorized to disburse all final and collected funds on deposit in the Clearing Account
(the "Available Funds") as follows: (i) prior to the provision by Lender of Cash Management
Activation Notice, or if a Cash Management Activation Notice has been previously issued, after
Clearing Account Bank's receipt of a Cash Management De-Activation Notice, all Available
Funds shall be disbursed on each Business Day via ACH System, if available, or otherwise by
wire transfer, to an account to be designated in writing by Borrower to Clearing Account Bank or
as otherwise designated by Borrower to Clearing Account Bank from time to time; and (ii) upon
receipt of a Cash Management Activation Notice and until receipt of a Cash Management De-
Activation Notice, all Available Funds shall be disbursed via ACH System, if available, or
otherwise by wire transfer, to an account under Lender's sole dominion and control to be
designated in writing by Lender to Clearing Account Bank (the "Cash Management Account")
at the Cash Management Bank (in each case without notifying, or obtaining the consent of,
Borrower). B01Tower agrees to cooperate with Lender and Cash Management Bank at any time
during the term of this Agreement to execute any additional documents and take all additional
actions which may be reasonably necessary or proper to establish the Cash Management
Account.

                      (a)     Provided no Event of Default shall have occurred and is
continuing, on each Payment Date, fund deposited in the Cash Management Account shall be
applied in accordance with the terms of the Cash Management Agreement.

        6.1.4 Limitation of Liability. Borrower by executing this Agreement hereby consents
to the use of the Clearing Account and Cash Management Account and the selection of Clearing


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Account Bank and Cash Management Bank and any successors to Clearing Account Bank and/or
Cash Management Bank appointed in accordance with the terms of this Agreement and the Cash
Management Agreement. Lender shall not be liable for any claims, suits, actions, costs,
damages, liabilities and expenses (collectively, the "Account Liabilities") in connection with the
subject matter of this Agreement or the Cash Management Agreement or its obligations
hereunder or thereunder, including, without limitation, any Account Liabilities arising out of the
use of the lockbox, the Clearing Account or the Cash Management Account, the selection of
Clearing Account Bank or Cash Management Bank, Clearing Account Bank's or Cash
Management Bank's failure to comply with the terms and provisions of this Agreement or the
Cash Management Agreement, the failure of the Clearing Account or Cash Management
Account to produce a return on the investment of monies deposited therein or the loss of any
monies as the result of the insolvency of Clearing Account Bank or Cash Management Bank,
provided Lender shall be liable for Account Liabilities caused by Lender or Lender's agents
gross negligence or willful misconduct.

       6.1.5 Application After Event of Default. Upon the occurrence and during the
continuation of an Event of Default, Lender may, in addition to any and all other rights and
remedies available to Lender, apply any amounts then on deposit in the Clearing Account and/or
the Cash Management Account to the payment of the Debt in any order, proportion and priority
as Lender may determine in its sole and absolute discretion.

        6.1.6 Payments Received Under Cash Management Agreement. The insufficiency of
funds on deposit in the Clearing Account and/or Cash Management Account shall not relieve
Borrower from the obligation to make any payments, as and when due pursuant to this
Agreement, the Note and the other Loan Documents, and such obligation shall be separate and
independent, and not conditioned on any event or circumstance whatsoever. Notwithstanding
anything to the contrary contained in this Agreement, the Note or the other Loan Documents, and
provided that no Event of Default shall have occurred and remain outstanding, Borrower's
obligations with respect to the payment of the Monthly Debt Service Payment Amount and
amounts required to be deposited into the Reserve Funds, if any, shall be deemed satisfied to the
extent sufficient amounts are deposited in the Cash Management Account to satisfy such
obligations pursuant to the Cash Management Agreement on the dates each such payment is
required, regardless of whether any of such amounts are so applied by Lender.

       6.1. 7 Security Interest; Perfection of Accounts. Borrower hereby pledges to Lender,
and grants a security interest in, any and all monies now or hereafter deposited in the Clearing
Account and the Cash Management Account as additional security for the performance of the
Obligations. Further, Borrower hereby represents, warrants and covenants that:

                        (a)    This Agreement, together with the other Loan Documents, create a
valid and continuing security interest (as defined in the Uniform Commercial Code) in the
Clearing Account and the Cash Management Account in favor of Lender, which security interest
is prior to all other Liens, and is enforceable as such against creditors of and purchasers from
Borrower. Other than in connection with the Loan Documents, Borrower has not sold, pledged,
transferred or otherwise conveyed the Clearing Account and the Cash Management Account;




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                      (b)   The Clearing Account and the Cash Management Account
constitute "deposit accounts" or "securities accounts" within the meaning of the Uniform
Commercial Code;

                        (c)    Pursuant and subject to the terms of this Agreement and the other
Loan Documents, Clearing Account Bank and Cash Management Bank have agreed to comply
with all instructions originated by Lender, without further consent by Borrower, directing
disposition of the Clearing Account and the Cash Management Account and all sums at any time
held, deposited or invested therein, together with any interest or other earnings thereon, and all
proceeds thereof (including proceeds of sales and other dispositions), whether accounts, general
intangibles, chattel paper, deposit accounts, instruments, documents or securities;

                      (d)    The Clearing Account and the Cash Management Account are not
in the name of any Person other than Borrower, as pledgor, or Lender, as pledgee. Borrower has
not consented to Clearing Account Bank or Cash Management Bank complying with instructions
with respect to the Clearing Account or the Cash Management Account from any Person other
than Lender; and

                      (e)    Borrower shall not further pledge, assign or grant any security
interest in the Clearing Account or the monies deposited therein or permit any lien or
encumbrance to attach thereto, or any levy to be made thereon, or any UCC-1 Financing
Statements, except those naming Lender as the secured party, to be filed with respect thereto.

          Section 6.2        Required Repair Funds.

        6.2.1 Deposit of Required Repair Funds. Borrower shall perform the repairs at the
Property as more particularly set forth on Schedule IV hereto (such repairs, collectively, the
"Required Repairs"), and shall complete each of the Required Repairs on or before the
respective deadline as set forth on Schedule IV. On the Closing Date, Borrower shall deposit
with Lender an amount equal to the Required Repair Deposit. Amounts deposited pursuant to
this Section 6.2.1 are referred to herein as the "Required Repair Funds" and the account in
which such amounts are held by Lender shall hereinafter be referred to as the "Required Repair
Account."

         6.2.2 Release of Required Repair Funds. Lender shall disburse to Borrower the
Required Repair Funds to pay or reimburse Borrower for the cost of Required Repairs upon
delivery to Lender of a request for disbursement in form specified or approved by Lender and
accompanied by a certification from Borrower and evidence reasonably satisfactory to Lender of
the incurrence of the related expenditure and, if applicable, completion of any related work lien
free, in a good workmanlike manner and in accordance with all applicable Legal Requirements,
and the satisfaction of such other conditions as Lender may reasonably require. Lender shall not
be required to disburse Required Repair Funds more frequently than once each calendar month,
and each disbursement must be in amounts not less than the Minimum Disbursement Amount (or
a lesser amount if the total remaining balance of the Required Repair Funds is less than the
Minimum Disbursement Amount, in which case only one disbursement of the amount of the
remaining balance of the Required Repair Funds shall be made). Any Required Repair Funds
remaining after the Debt has been paid in full shall be promptly returned to Borrower.


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          Section 6.3        Tax and Insurance Escrow Fund.

         6.3.1 Deposits. On the Closing Date, Borrower shall deposit with Lender an amount
equal to the Initial Tax Deposit and, on each Payment Date, Borrower shall deposit with Lender
an amount equal to one-twelfth (1/12) of the Taxes (the "Monthly Tax Deposit") that Lender
from time to time estimates will be payable during the next ensuing twelve (12) months in order
to accumulate sufficient funds to pay all such Taxes at least thirty (30) days prior to their
respective due dates. Amounts deposited pursuant to this Section 6.3.1 are referred to herein as
the "Tax Funds" and the account in which such amounts are held by Lender shall hereinafter be
referred to as the "Tax Account." If at any time Lender reasonably determines that the Tax
Funds will not be sufficient to pay the Taxes at least thirty (30) days prior to the respective due
dates, Lender shall notify Borrower of such determination and the monthly deposits for Taxes
shall be increased by the amount that Lender reasonably estimates is sufficient to make up the
deficiency at least twenty (20) days prior to the respective due dates for the Taxes; provided that
if B01Tower receives notice of any such deficiency after the date that is twenty (20) days prior to
the date that Taxes are due, Borrower will deposit such amount within one (1) Business Day
after its receipt of such notice.

         6.3.2 Release of Tax Funds. Lender will apply the Tax Funds to payments of Taxes
required to be made by Borrower pursuant to Section 4.1.2 and under the Security Instrument.
Borrower shall furnish Lender with all bills, statements and estimates for Taxes at least thirty
(30) days prior to the date on which such Taxes first become payable. In making any payment
relating to Taxes, Lender may do so according to any bill, statement or estimate procured from
the public office (with respect to Taxes) without inquiry into the accuracy of such bill, statement
or estimate or into the validity of any tax, assessment, sale, forfeiture, tax lien or title or claim
thereof. If the amount of the Tax Funds shall exceed the amounts due for Taxes, Lender shall, in
its sole discretion, return any excess to Borrower or credit such excess against future payments to
be made to the Tax Funds. Any Tax Funds remaining after the Debt has been paid in full shall
be returned to Borrower.

          Section 6.4        Insurance Funds.

        6.4.1 Deposits of Insurance Funds. On the Closing Date, Borrower shall deposit with
Lender an amount equal to the Initial Insurance Deposit and, on each Payment Date, Borrower
shall deposit with Lender an amount equal to one-twelfth (1112) of the Insurance Premiums (the
"Monthlv Insurance Deposit") that Lender reasonably estimates will be payable for the renewal
of the coverages afforded by the Policies upon the expiration thereof in order to accumulate
sufficient funds to pay all such Insurance Premiums at least thirty (30) days prior to the
expiration of the Policies. Amounts deposited pursuant to this Section 6.4.1 are referred to
herein as the "Insurance Funds" and the account in which such amounts are held by Lender
shall hereinafter be referred to as the "Insurance Account." If at any time Lender reasonably
dete1mines that the Insurance Funds will not be sufficient to pay the Insurance Premiums at least
thirty (30) days prior to the expiration of the Policies, Lender shall notify Borrower of such
determination and the monthly deposits for Insurance Premiums shall be increased by the
amount that Lender reasonably estimates is sufficient to make up the deficiency at least thirty
(30) days prior to expiration of the Policies; provided that if Borrower receives notice of any



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such deficiency after the date that is thirty (30) days prior to expiration of the Policies, Borrower
will deposit such amount within one (1) Business Day after its receipt of such notice.

        6.4.2 Release of Insurance Funds. Lender will apply the Insurance Funds to payments
of Insurance Premiums for the Policies required to be maintained by Borrower pursuant to
Section 5.1 hereof. Borrower shall furnish Lender with all bills, invoices and statements for
Insurance Premiums at least twenty (20) days prior to the date on which such Insurance
Premiums first become payable. In making any payment relating to Insurance Premiums, Lender
may do so according to any bill, invoice or statement procured from the insurance company or its
agent, without inquiry into the accuracy of such bill, invoice or statement. If the amount of the
Insurance Funds shall exceed the amounts due for Insurance Premiums, Lender shall, in its sole
discretion, return any excess to Borrower or credit such excess against future payments to be
made to the Insurance Funds. Any Insurance Funds remaining after the Debt has been paid in
full shall be returned to Borrower.

          Section 6.5        Capital Expenditure Funds.

        6.5.1 Deposits of Capital Expenditure Funds. On the Closing Date, Borrower shall
deposit with Lender an amount equal to the Initial Capital Expenditure Deposit and, on each
Payment Date, Borrower shall deposit with Lender an amount equal to the Monthly Capital
Expenditure Deposit for annual Capital Expenditures approved by Lender, which approval shall
not be unreasonably withheld or delayed ("Approved Capital Expenditures''). Amounts
deposited pursuant to this Section 6.5.l are referred to herein as the "Capital Expenditure
Funds" and the account in which such amounts are held by Lender shall hereinafter be referred
to as the "Capital Expenditure Account." Lender may reassess its estimate of the amount
necessary for Capital Expenditures from time to time and may require Borrower to increase the
monthly deposits required pursuant to this Section 6.5.l upon thirty (30) days' written notice to
Borrower if Lender determines in its reasonable discretion that an increase is necessary for
proper maintenance and operation of the Property.

       6.5.2 Release of Capital Expenditure Funds. Lender shall disburse to Borrower the
Capital Expenditure Funds to pay or reimburse Borrower for Approved Capital Expenditures
upon delivery to Lender of a request for disbursement in form specified or approved by Lender
and accompanied by a certification from Borrower and evidence reasonably satisfactory to
Lender of the incurrence of the related expenditure and, if applicable, completion of any related
work lien free, in a good workmanlike manner and in accordance with all applicable Legal
Requirements, and the satisfaction of such other conditions as Lender may reasonably require.
Lender shall not be required to disburse Capital Expenditure Funds more frequently than once
each calendar month, and each disbursement must be in amounts not less than the Minimum
Disbursement Amount (or a lesser amount if the total remaining balance of the Capital
Expenditure Funds is less than the Minimum Disbursement Amount, in which case only one
disbursement of the amount of the remaining balance of the Capital Expenditure Funds shall be
made). Any Capital Expenditure Funds remaining after the Debt has been paid in full shall be
promptly released to Borrower.

         Section 6.6         Intentionally Omitted.



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          Section 6.7        Intentionally Omitted.

          Section 6.8        Intentionally Omitted.

          Section 6.9        Excess Cash Flow Funds.

        6.9.1 Deposits of Excess Cash Flow Funds. During a Cash Sweep Event Period, except
during any period that Borrower is required to deposit Excess Cash Flow pursuant to Section
6.11.1 below, Borrower shall deposit with Lender Excess Cash Flow, which sums shall be held
by Lender as additional security for the Loan. Amounts so deposited shall hereinafter be referred
to as the "Excess Cash Flow Funds" and the account in which such amounts are held by Lender
shall hereinafter be referred to as the "Excess Cash Flow Account."

       6.9.2 Release of Excess Cash Flow Funds. Upon the termination of a Cash Sweep
Event Period and provided that no other Cash Sweep Event shall have occurred and remain
outstanding, all funds on deposit in the Excess Cash Flow Account shall be deposited into the
Cash Management Account and applied in accordance with this Agreement and the Cash
Management Agreement.

          Section 6.10       Intentionally Omitted.

          Section 6.11       PIP Reserve Funds.

        6.11.1 Deposits of PIP Reserve Funds. On the Closing Date, Borrower shall deposit
with Lender an amount equal to the Initial PIP Reserve Deposit and, on each Payment Date
during the occurrence of a Franchise Trigger Event, Borrower shall deposit with Lender all
Excess Cash Flow to pay or reimburse Borrower for the costs and expenses of any work set forth
in any PIP approved by Lender (the "PIP Work"). Amounts deposited pursuant to this Section
6.11.1 are referred to herein as the "PIP Reserve Funds" and the account in which such amounts
are held by Lender shall hereinafter be referred to as the "PIP Reserve Account."

       6.11.2 Release of PIP Reserve Funds. Lender shall disburse to Borrower the PIP
Reserve Funds to pay or reimburse Borrower for approved costs and expenses of completing the
PIP Work provided that:

                      (a)    Borrower shall deliver to Lender a request for disbursement m
form specified or approved by Lender;

                      (b)   Borrower shall deliver to Lender invoices evidencing that the costs
for which such disbursements are requested are due and payable;

                          (c)    Borrower shall deliver to Lender an Officer's Certificate and
evidence reasonably satisfactory to Lender confirming that (i) all such costs have been
previously paid by Borrower or will be paid from the proceeds of the requested disbursement, (ii)
all conditions precedent to such disbursement required by the Loan Documents have been
satisfied, (iii) the related work has been completed lien free, in a good workmanlike manner and
in accordance with all applicable Legal Requirements, and (iv) the amount remaining in the PIP



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Reserve Account, after g1vmg effect to the requested disbursement, shall be sufficient to
complete the PIP Work; and

                        (d)      Lender may condition the making of a requested disbursement on
(i) reasonable evidence establishing that Borrower has applied any amounts previously received
by it in accordance with this Section for the expenses to which specific draws made hereunder
relate, (ii) a reasonably satisfactory site inspection, (iii) receipt of lien releases and waivers from
any contractors, subcontractors and others with respect to such amounts, and (iv) if such
disbursement is the final disbursement, confirmation from the Franchisor that the PIP has been
completed and accepted by Franchisor; and

                             (e)         the satisfaction of such other conditions as Lender may reasonably
require.

Lender shall not be required to disburse PIP Reserve Funds more frequently than once each
calendar month, and each disbursement must be in amounts not less than the Minimum
Disbursement Amount (or a lesser amount if the total remaining balance of the PIP Reserve
Funds is less than the Minimum Disbursement Amount, in which case only one disbursement of
the amount of the remaining balance of the PIP Reserve Funds shall be made). Any PIP Reserve
Funds remaining after the Debt has been paid in full shall be promptly released to Borrower.

           Section 6.12      Reserve Funds. Generally.
        6.12.1 Security Interest. Borrower hereby pledges to Lender, and grants a security
interest in, any and all monies now or hereafter deposited in the Reserve Funds as additional
security for the performance of the Obligations. Until expended or applied as provided in this
Agreement, the Reserve Funds shall constitute additional security for the performance of the
Obligations. Lender shall have no obligation to release any of the Reserve Funds while any
Event of Default has occurred and remains outstanding. Notwithstanding anything to the
contrary contained herein or in any other Loan Document, upon the occurrence of an Event of
Default, Lender may, in addition to any and all other rights and remedies available to Lender,
apply any sums then present in the Reserve Funds to the payment of the Debt in any order,
proportion and priority as Lender may determine in its sole and absolute discretion. Borrower
shall not further pledge, assign or grant any security interest in any Reserve Fund or permit any
lien or encumbrance to attach thereto, or any levy to be made thereon, or any UCC-1 Financing
Statements, except those naming Lender as the secured party, to be filed with respect thereto.
         6.12.2 Investments: Income Taxes. The Reserve Funds shall be held in Lender's name
and may be commingled with Lender's own funds at financial institutions selected by Lender in
its sole discretion. The Reserve Funds may be invested in Pennitted Investments as directed by
Lender. Lender shall not be liable for any loss sustained on the investment of any funds
constituting the Reserve Funds. In connection with the liquidation and transfer of any amounts
then invested in Pennitted Investments to the applicable Reserve Funds or reinvestment of such
amounts in other Permitted Investments as Lender may reasonably determine to be necessary to
perfect or protect any security interest granted or purported to be granted hereby or to enable
Lender to exercise and enforce Lender's rights and remedies hereunder with respect to any
Reserve Funds, Borrower shall deposit with Lender an amount equal to the actual losses
sustained on such liquidation within one ( 1) Business Day of Lender's notice. All interest on a


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Reserve Fund (other than the Tax Fund and the Insurance Fund, which shall not be added to or
become a part thereof and shall be the sole property of and shall be paid to Lender) shall be
added to ad become a part thereof. Borrower shall report on its federal, state and local income
tax returns all interest or income on the Reserve Funds credited or paid to Borrower.

        6.12.3 Costs. All reasonable, out-of-pocket costs and expenses incurred by Lender in
connection with holding and disbursing the Reserve Funds (including, without limitation, the
costs and expenses of the inspections, if any, required hereunder) shall be paid by Borrower.

         VII.      DEFAULTS

         Section 7.1     Event of Default. Each of the following events shall constitute an event of
default hereunder (an "Event of Default"): (i) if any portion of the Debt is not paid on or before
the date the same is due and payable or if the entire Debt is not paid on or before the Maturity
Date; (ii) if any of the Taxes or Other Charges is not paid prior to the date the same becomes
delinquent except to the extent sums sufficient to pay such Taxes and Other Charges have been
deposited with Lender in accordance with the terms of this Agreement; (iii) ifthe Policies are not
kept in full force and effect (unless due to Lender's failure to apply the Insurance Funds to
 payment oflnsurance Premiums as required in Section 6.4.2), or if the Policies are not delivered
to Lender upon request or Borrower has not delivered evidence of the renewal of the Policies
thirty (30) days prior to their expiration as provided in this Agreement; (iv) if any breach of any
provision of Section 3.1.15, Section 4.1.12 or Section 8.5 shall occur; (v) if any representation or
warranty made by Borrower or any Guarantor herein or in any other Loan Document, or in any
report, certificate, financial statement or other instrument, agreement or document furnished to
Lender shall have been false or misleading in any material respect as of the date the
 representation or warranty was made; (vi) if (A) Borrower, any SPC Party or any Guarantor shall
commence any case, proceeding or other action (I) under any existing or future law of any
jurisdiction, domestic or foreign, relating to bankruptcy, insolvency or relief of debtors, seeking
to have an order for relief entered with respect to it, or seeking to adjudicate it a bankrupt or
insolvent, or seeking reorganization, adjustment, liquidation, dissolution or other relief with
respect to it or its debts, or (2) seeking appointment of a receiver, trustee, custodian or other
similar official for it or for all or any substantial part of its assets, or Borrower, any SPC Party or
any Guarantor shall make a general assignment for the benefit of its creditors; or (B) there shall
be commenced against Borrower, any SPC Party or any Guarantor any case, proceeding or other
action of a nature referred to in clause (A) above which (1) results in the entry of an order for
relief or any such adjudication or appointment or (2) remains undismissed or undischarged for a
period of ninety (90) days; (C) there shall be commenced against Borrower, any SPC Party or
any Guarantor any case, proceeding or other action seeking issuance of a warrant of attachment,
execution, distraint or similar process against all or any substantial part of its assets which results
in the entry of any order for any such relief which shall not have been vacated, discharged, or
stayed or bonded pending appeal within ninety (90) days from the entry thereof; (D) Borrower,
any SPC Party or any Guarantor shall take any action in furtherance of, or indicating its consent
to, approval of, or acquiescence in, in each case in writing, any of the acts set forth in clause (A),
(B), or (C) above; or (E) if Borrower, any SPC Party or any Guarantor fails or admits its inability
to pay debts generally as they become due (provided that, with respect to any Guarantor, the
events or occurrences set forth in this clause shall constitute an Event of Default only if Lender
elects to declare the same as an Event of Default in Lender's sole and absolute discretion); (vii)


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if Borrower shall be in default beyond any applicable notice or cure period under any other
mortgage, deed of trust, deed to secure debt or other security agreement covering any part of the
Property whether it be superior or junior in lien to the Security Instrument; (viii) if the Property
becomes subject to any Lien other than a lien for local real estate taxes and assessments not then
delinquent and such Lien shall remain undischarged of record (by payment, bonding or
otherwise) for a period of thirty (30) days after Borrower has first received notice thereof(except
where such Lien is being contested by Borrower in accordance with Section 4.1.2 hereof); (ix) if
within three (3) days of Lender's demand therefor Borrower fails to comply with any of its
obligations under Section 8.1, Section 8.2 and/or Section 8.4, (x) with respect to any term,
covenant or provision set forth herein which specifically contains a notice requirement and/or
grace period, if Borrower shall be in default under such term, covenant or condition after the
giving of such notice and/or the expiration of such grace period; (xi) intentionally omitted; (xii)
intentionally omitted; (xiii) if a material default has occurred and continues beyond any
applicable cure period under the Franchise Agreement and such default permits Franchisor to
terminate or cancel the Franchise Agreement; (xiv) if Borrower ceases to do business as a hotel
at the Property or terminates such business for any reason whatsoever (other than temporary
cessation in connection with any continuous and diligent renovation or restoration of the
Property following a Casualty or Condemnation); (xv) if any default beyond any applicable
notice or cure period occurs under any guaranty or indemnity executed in connection with the
Loan and such default continues after the expiration of applicable grace periods, if any; or (xvi)
if Borrower shall continue to be in default under any other tem1, covenant or condition of this
Agreement, the Note, the Security Instrument or the other Loan Documents not specified above
for more than (y) ten (I 0) days after written notice from Lender, in the case of any default which
can be cured by the payment of a sum of money, or (z) thirty (30) days after written notice from
Lender ,in the case of any other default, provided that, in the case of any default referred to in
clause (z), if such default cannot reasonably be cured within such thirty (30) day period and
Borrower shall have commenced to cure such default within such thirty (30) day period and
thereafter diligently and expeditiously proceeds to cure the same, such thirty (30) day period
shall be extended for so Jong as it shall require Borrower in the exercise of due diligence to cure
such default, it being agreed that no such extension shall be for a period in excess of sixty (60)
days.

        Section 7.2     Remedies. Upon the occurrence of an Event of Default and at any time
thereafter, in addition to any other rights or remedies available to it pursuant to this Agreement
and the other Loan Documents or at law or in equity, Lender may take such action, without
notice or demand, that Lender deems advisable to protect and enforce its rights against Borrower
and in and to the Property, including, without limitation, declaring the Debt to be immediately
due and payable, and Lender may enforce or avail itself of any or all rights or remedies provided
in the Loan Documents against Borrower and or any part of the Property, including, without
limitation, all rights or remedies available at law or in equity. Upon the occurrence of an Event
of Default, all or any one or more of the rights, powers, privileges and other remedies available
to Lender against Borrower under this Agreement or any of the other Loan Documents executed
and delivered by, or applicable to, Borrower or at law or in equity may be exercised by Lender at
any time and from time to time, whether or not all or any of the Debt shall be declared due and
payable, and whether or not Lender shall have commenced any foreclosure proceeding or other
action for the enforcement of its rights and remedies under any of the Loan Documents with
respect to all or any part of the Property. Any such actions taken by Lender shall be cumulative


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and concurrent and may be pursued independently, singly, successively, together or otherwise, at
such time and in such order as Lender may determine in its sole discretion, to the fullest extent
permitted by Legal Requirement, without impairing or otherwise affecting the other rights and
remedies of Lender permitted by Legal Requirement, equity or contract or as set forth herein or
in the other Loan Documents. Without limiting the generality of the foregoing, Borrower agrees
that if an Event of Default is continuing (i) Lender is not subject to any "one action" or "election
of remedies" law or rule, and (ii) all Liens and other rights, remedies or privileges provided to
Lender shall remain in full force and effect until Lender has exhausted all of its remedies against
the Property and the Security Instrument has been foreclosed, sold and/or otherwise realized
upon in satisfaction of the Debt or the Debt has been paid in full.

        Section 7.3   Remedies Cumulative; Waivers. The rights, powers and remedies of
Lender under this Agreement shall be cumulative and not exclusive of any other right, power or
remedy which Lender may have against Borrower pursuant to this Agreement or the other Loan
Documents, or existing at law or in equity or otherwise. Lender's rights, powers and remedies
may be pursued singularly, concurrently or otherwise, at such time and in such order as Lender
may determine in Lender's sole discretion. No delay or omission to exercise any remedy, right
or power accruing upon an Event of Default shall impair any such remedy, right or power or
shall be construed as a waiver thereof, but any such remedy, right or power may be exercised
from time to time and as often as may be deemed expedient. A waiver of one or more Events of
Default with respect to Borrower shall not be construed to be a waiver of any subsequent Event
of Default by Borrower or to impair any remedy, right or power consequent thereon.

          VIII. SPECIAL PROVISIONS

        Section 8.1     Sale of Mortgage and Securitization. (a) Lender shall have the right (i) to
sell or otherwise transfer the Loan as a whole loan or sell or otherwise transfer any portion
thereof or any interest therein, (ii) to sell participation interests in the Loan or (iii) to securitize
the Loan or any portion thereof or any interest therein in one or more private or public
securitizations. (The transactions referred to in clauses (i), (ii) and (iii) are each hereinafter
referred to as a "Secondary Market Transaction" and the transaction referred to in clause (iii)
shall hereinafter be referred to as a "Securitization." Any certificates, notes or other securities
issued in connection with a Securitization are hereinafter referred to as "Securities.")

                        (b)     Lender may forward to each actual or prospective purchaser,
transferee, assignee, servicer, participant, investor in such Securities or any Rating Agency rating
such Securities (each, an "Investor"), all documents and information which Lender now has or
may hereafter acquire relating to the Debt and to Borrower, any Guarantor and the Property,
whether furnished by Borrower, any Guarantor or otherwise, as Lender determines necessary or
desirable. If requested by Lender, Borrower shall assist Lender in satisfying the market standards
to which Lender customarily adheres or which may be required in the marketplace, by the Rating
Agencies, Investors or prospective Investors or by any Legal Requirements in connection with
any Secondary Market Transactions. Borrower shall cooperate, and shall cause each Guarantor
to cooperate, with Lender in connection with any Secondary Market Transactions. Borrower
shall also promptly furnish and shall cause each Guarantor to consent to Lender furnishing to any
actual or prospective Investors and Rating Agency any and all available information concerning
the Property, the Leases, the financial condition of Borrower or any Guarantor as may be


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requested by Lender, any Investor, prospective Investor, Rating Agency or prospective Rating
Agency (including, but not limited to, copies of information previously supplied to Lender) in
connection with any Secondary Market Transaction.

         Section 8.2    Securitization Indemnification. Borrower understands that all information
provided to Lender by Borrower, its Affiliates or their respective agents, counsel and
representatives, including information provided (y) in connection with a Secondary Market
Transaction or the underwriting or closing of the Loan or (z) at any time after the date hereof
(including financial statements of Borrower, operating statements and rent rolls with respect to
the Property) ("Provided Information") may be included in written materials (including a
prospectus, private placement memorandum or other marketing or offering documentation)
("Disclosure Documents") used or provided to Investors or Rating Agencies in connection with
a Secondary Market Transaction and may also be included in filings with the Securities and
Exchange Commission pursuant to the Securities Act of 1933, as amended (the "Securities
 Act"), or the Securities and Exchange Act of 1934, as amended (the "Exchange Act"), and may
be made available to Investors, Rating Agencies and other advisory and service providers
 relating to Secondary Market Transactions. Borrower hereby agrees to indemnify Lender, Rialto
Mortgage Finance, LLC ("RIALTO"), any Affiliate of Lender or RIALTO that has filed any
 registration statement relating to a Securitization or has acted as the issuer, sponsor, depositor or
seller in connection with a Securitization, any Affiliate of Lender that acts as an underwriter,
 placement agent or initial purchaser of Securities issued in connection with a Securitization, any
other issuers, depositors, underwriters, placement agents or initial purchasers of Securities issued
in connection with a Securitization, and each of their respective officers, directors, partners,
employees, representatives, agents and Affiliates, and each Person that controls any such Person
within the meaning of Section 15 of the Securities Act or Section 20 of the Exchange Act
(collectively, the "Securitization Indemnified Parties") for any Losses (collectively, the
"Securitization Indemnification Liabilities") to which any Securitization Indemnified Party
may become subject insofar as the Securitization Indemnification Liabilities arise out of or are
based upon (i) any untrue statement or alleged untrue statement of any material fact contained in
any Provided Information or the omission or alleged omission to state in any Provided
Information a material fact required to be stated in such information or necessary in order to
make the statements in such information, in light of the circumstances under which they were
made, not misleading, (ii) a breach of the representations and warranties made by Borrower in
Sections 3.1.20 hereof, (iii) any untrue statement or alleged untrue statement of a material fact in
any Disclosure Document, or any omission or alleged omission to state a material fact required
to be stated in any Disclosure Document or necessary in order to make the statements in any
Disclosure Document, in light of the circumstances under which they were made, not misleading,
(iv) any Exchange Act Filings and information therein or other reports containing comparable
information that are required to be made "available" to holders of the Securities under applicable
Legal Requirements, as it relates to the Property, Borrower, Guarantor, Manager or any Affiliate
of Borrower, Guarantor, Manager or any other aspect of the Loan or (v) any indemnification
made by any Securitization Indemnified Party to the Rating Agencies in connection with issuing,
monitoring or maintaining the securities issued in connection with any securitization of the Loan
(in the case of clauses (iii)-(v), to the extent such Losses arise out of or are based upon an untrue
statement or omission made therein in reliance upon and in conformity with Provided
Information). To the extent that any undertaking to indemnify, defend and hold harmless set
forth in this Section 8.2 may be unenforceable because it violates any Jaw or public policy,


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Borrower shall pay or contribute the maximum portion that it is permitted to pay or contribute
and satisfy under applicable law to the payment and satisfaction of all Securitization
Indemnification Liabilities incurred by the Securitization Indemnified Parties. Borrower agrees
that the obligations set forth in this Section 8.2 shall apply whether or not any Securitization
Indemnified Party is a formal party to any claim, action, suit or proceeding. Borrower further
agrees that the Securitization Indemnified Parties are intended third party beneficiaries under this
Section 8.2. The liabilities and obligations of Borrower and the Securitization Indemnified
Parties under this Section 8.2 shall survive the satisfaction and discharge of the Debt.

        Section 8.3    Servicer. At the option of Lender, the Loan may be serviced by a servicer,
master servicer, primary servicer, special servicer and/or trustee (any such servicer, master
servicer, primary servicer, special servicer and trustee, together with its agents, nominees or
designees, are collectively referred to herein as "Servicer") selected by Lender and Lender may
delegate all or any portion of its responsibilities under this Agreement and the other Loan
Documents to Servicer pursuant to a pooling and servicing agreement, servicing agreement,
special servicing agreement and/or other agreement providing for the servicing of one (I) or
more mortgage loans (collectively, the "Servicing Agreement") between Lender and Servicer.
Servicer shall have the right to exercise all rights of Lender and enforce all obligations of
Borrower and Guarantor pursuant to the provisions of this Agreement and the other Loan
Documents. Borrower shall be responsible for (i) any reasonable set-up fees or any other initial
costs and expenses relating to or arising under the Servicing Agreement and (ii) any fees and
expenses of Servicer (including, without limitation, attorneys' fees and disbursements) in
connection with any release of the Property, any prepayment, defeasance, assumption,
amendment or modification of the Loan, any documents or matters requested by Borrower,
special servicing or work-out of the Loan or enforcement of the Loan Documents. Without
limiting the generality of the foregoing, Servicer shall be entitled to reimbursement of costs and
expenses as and to the same extent (but without duplication) as Lender is entitled thereto under
this Agreement and the other Loan Documents.

        Section 8.4    Mezzanine Loan; Components. Lender shall have the right, at any time to
modify the Loan in order to (i) create one or more senior, pari-passu and/or subordinate notes
(each a "Replacement Note"), create one or more components of the Note or any Replacement
Note or reduce the number of components of the Note or any Replacement Note, or (ii) create
one or more mezzanine loans (each, a "Mezzanine Loan") made to a newly formed single
purpose, bankruptcy remote entity acceptable to Lender (each, a "Mezzanine Borrower") that
will own one hundred percent (100%) of the direct or indirect ownership interests in Borrower
(as designated by Lender) to be secured by a first priority perfected security interest on all such
interests, and, in the case of both (i) and (ii), revise the interest rate, reallocate the principal
balances of the Note, any Replacement Note or any component (or, in the case of any Mezzanine
Loan, of the Loan and any Mezzanine Loan(s)), increase or decrease the monthly debt service
payments for the Note, any Replacement Note or any component (or, in the case of any
Mezzanine Loan, for the Loan and any Mezzanine Loan(s)) or eliminate all or any part of the
component structure, the multiple note structure or the Mezzanine Loan structure (including the
elimination of the related allocations of principal and interest payments), provided that, in each
of the foregoing instances, (I) the outstanding principal balance of the Note and all Replacement
Notes (or, in the case of any Mezzanine Loan, of the Loan and all Mezzanine Loans)
immediately after the effective date of such modification equals the outstanding principal


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balance of the Note and all Replacement Notes (or, in the case of any Mezzanine Loan, of the
Loan and all Mezzanine Loans) immediately prior to such modification and (2) the weighted
average of the interest rates for the Note and all Replacement Notes, including all components
thereof (or, in the case of any Mezzanine Loan, for the Loan and all Mezzanine Loans)
immediately after the effective date of such modification equals the weighted interest rate of the
Note and all Replacement Notes, including all components thereof (or, in the case of any
Mezzanine Loan, for the Loan and all Mezzanine Loans) immediately prior to such modification.
At Lender's election, the Note, any Replacement Note, any Mezzanine Loan or any component
of any of the foregoing may be subject to one or more Secondary Market Transactions. Lender
shall have the right to modify the Note, any Replacement Note, any Mezzanine Loan or any
components thereof in accordance with this Section 8.4 and, provided that such modification
shall comply with the terms of this Section 8.4 it shall become immediately effective. Borrower
shall promptly execute (and cause each Mezzanine Borrower to execute) such documents and
instruments, cause its counsel to deliver such opinion letters, execute such amendments to the
Loan Documents and any Mezzanine Loan documents, and deliver such amendments or updates
to the title insurance policy insuring the lien of this Agreement as Lender may request to
effectuate the purpose of this Section 8.4. All costs and expenses incurred by Borrower in
connection with this Section 8.4 shall be paid by Borrower.

       Section 8.5     Single Purpose Entity. Until the Debt has been paid in full, Borrower
hereby represents, warrants and covenants that since its formation it has always been and shall
continue to be a Single Purpose Entity.

         Section 8.6     Exculpation. Subject to the qualifications below, Lender shall not enforce
 the liability and obligation of Borrower to perform and observe the obligations contained in this
 Agreement, the Note or the Security Instrument by any action or proceeding wherein a money
judgment shall be sought against Borrower or any Affiliate of Borrower or any officers,
 directors, shareholders, manager, members, trustees, employee or agents of Borrower or its
Affiliates other than the Guarantor pursuant to the Guaranty and the Environmental Indemnity
(collectively, "Exculpated Parties"), except that Lender may bring a foreclosure action, action
for specific performance or other appropriate action or proceeding to enable Lender to enforce
and realize upon this Note, the Security Instrument, the other Loan Documents, and the interest
 in the Property, the Rents and any other collateral given to Lender created by this Agreement, the
Note, the Security Instrument and the other Loan Documents; provided, however, that any
judgment in any such action or proceeding shall be enforceable against Borrower only to the
extent of Borrower's interest in the Property, in the Rents and in any other collateral given to
Lender. Lender, by accepting this Agreement, the Note and the Security Instrument, agrees that it
shall not, except as otherwise expressly provided in the Loan Documents, sue for, seek or
demand any deficiency judgment against Borrower or any Exculpated Party in any such action or
proceeding, under or by reason of or under or in connection with this Agreement, the Note, the
other Loan Documents or the Security Instrument. The provisions of this Section 8.6 shall not,
however, (a) constitute a waiver, release or impairment of any obligation evidenced or secured
by this Agreement, the Note, the other Loan Documents or the Security Instrument; (b) impair
the right of Lender to name Borrower as a party defendant in any action or suit for judicial
foreclosure and sale under the Security Instrument; (c) affect the validity or enforceability of any
indemnity (including, without limitation, the Environmental Indemnity), guaranty (including
without limitation, the Guaranty), master lease or similar instrument made in connection with


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this Agreement, the Note, the Security Instrument, or the other Loan Documents; (d) impair the
right of Lender to obtain the appointment of a receiver; (e) impair the enforcement of the
Assignment of Leases and Rents executed in connection herewith; (f) impair the right of Lender
to obtain a deficiency judgment or other judgment on the Note against Borrower if necessary to
obtain any Insurance Proceeds or Awards to which Lender would otherwise be entitled under the
Security Instrument; provided however, Lender shall only enforce such judgment to the extent of
the Insurance Proceeds and/or Awards, or (g) constitute a waiver of the right of Lender to
enforce the liability and obligation of Borrower, by money judgment or otherwise, to the extent
of any Losses arising out of or in connection with the following:

                               (i)  fraud, intentional or material misrepresentation by
         Borrower, Guarantor or any of their respective Affiliates, agents or representatives in
         connection with the Loan;

                               (ii)  the gross negligence or willful misconduct by or on behalf
         of Borrower, Guarantor or any of their respective Affiliates, agents or representatives in
         connection with the Loan;

                                (iii) the removal or disposal of any portion of the Property
         during the continuance of an Event of Default, unless any personal property that is
         removed or disposed of is replaced with personal property of the same utility and the
         same or greater value;

                              (iv)    the misappropriation, misapplication or conversion by
         Borrower of (A) any Insurance Proceeds paid by reason of any Casualty, (B) any Awards
         or other amounts received in connection with a Condemnation of all or a portion of the
         Property, or (C) any Rents collected and not applied in accordance with the Loan
         Documents;

                                (v)     the failure to deliver to Lender upon a foreclosure of the
         Security Instrument any security deposits, advance deposits or any other deposits
         collected with respect to the Property, except to the extent any such security deposits
         were applied in accordance with the terms and conditions of the applicable Leases prior
         to such foreclosure or action in lieu thereof;

                                 (vi)    Borrower's failure to obtain and maintain in full force and
         effect fully paid for Policies as required by this Agreement or to pay any Taxes or
         assessments affecting the Property, provided that Borrower will not be liable under this
         clause (vi) to the extent that (x) the Property does not generate sufficient cash flow to pay
         such sums during the applicable period or (y) sufficient funds have been deposited in the
         applicable Reserve Fund, Lender's access to such funds is not restricted by court order or
         any actions of Borrower or Guarantor, Lender is obligated to apply or make available
         such funds for such purposes and Lender does not apply or make available such funds for
         the payment of Taxes or assessments or premiums for Policies, as applicable;

                                (vii) failure to pay charges for labor or materials or other
         charges that can create Liens on any portion of the Property, provided that Borrower will



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         not be liable under this clause (vii) to the extent that the Property does not generate
         sufficient cash flow to pay such sums unless such charges were incurred in violation of
         the Loan Documents;

                                         (viii)   Borrower's breach of any of its obligations set forth m
         Section 8.2 hereof;

                                         (ix)     the occurrence of any material physical waste at the
         Property;

                                (x)     Borrower's or Guarantor's commission of a criminal act
         which results in seizure or forfeiture of the Property or any portion thereof;

                                         (xi)     the breach of Section 8.5 in any material respect;

                                 (xii) Borrower's failure to permit on-site inspections of the
         Property or to provide financial infonnation or to appoint a new property manager upon
         written request of Lender, in each case as required by, and in accordance with the terms
         and provisions of, this Agreement and the other Loan Documents;

                                 (xiii) any litigation or other legal proceeding related to the Debt
         filed by, or any other act or omission by, any Restricted Party that delays, opposes,
         impedes, obstructs, hinders, enjoins or otherwise interferes with or frustrates the efforts
         of Lender to exercise any rights and remedies available to Lender as provided herein or in
         any other Loan Document or to realize on any collateral for the Loan, including, without
         limitation, the assertion by any Restricted Party of any defenses (other than defenses
         raised in good faith) or counterclaims against Lender; or

                                 (xiv) if (i) the Franchise Agreement is amended, modified or
         terminated without Lender's prior written consent other than as expressly permitted by
         this Agreement, (ii) Borrower fails to pay for and complete any and all work required
         under any PIP pursuant to the Franchise Agreement or any replacement franchise
         agreement during the term of the Loan or (iii) Borrower breaches any of its obligations
         set forth in Section 4.1.9 hereof.

        Notwithstanding anything to the contrary in this Agreement, the Note or any of the other
Loan Documents, (A) Lender shall not be deemed to have waived any right which Lender may
have under Section 506(a), 506(b) or 111 l(b) or any other provisions of the U.S. Bankruptcy
Code or any other Bankruptcy Law to file a claim for the full amount of the Debt or to require
that all collateral shall continue to secure all of the Obligations in accordance with the Loan
Documents, and (B) the Debt shall be fully recourse to Borrower in the event that any of the
following occur:

                  (1)     Borrower fails to maintain its status as a single purpose entity as required
         by, and in accordance with the terms and provisions of, this Agreement and the other
         Loan Documents, and such failure is a factor in the consolidation of the assets and
         liabilities of Borrower and any other Person;



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                 (2)     Borrower fails to obtain Lender's prior consent to any Indebtedness except
         to the extent expressly permitted by this Agreement;

                 (3)    Borrower fails to obtain Lender's prior consent to any Transfer except to
         the extent expressly permitted by this Agreement;

                   (4)      Borrower files a voluntary petition under the Bankruptcy Law;

                 (5)     Guarantor or an Affiliate, officer, director, or representative which
         controls, directly or indirectly, Borrower files, or joins, in each case in writing, in the
         filing of, an involuntary petition against Borrower under the Bankruptcy Law, or solicits
         or causes to be solicited petitioning creditors for any involuntary petition against
         Borrower from any Person;

                  (6)    Borrower files, without the prior written consent of Lender, an answer
         consenting to or otherwise acquiescing in or joining in, in each case in writing, any
         involuntary petition filed against it by any other Person under the Bankruptcy Law, or
         solicits or causes to be solicited petitioning creditors for any involuntary petition against
         Borrower from any Person but expressly permitting Borrower to appear in any
         proceeding relating to the foregoing to assert defenses to, and to dismiss or stay, such
         action within the time periods provided under the Loan Documents;

                 (7)     Guarantor or any Affiliate, officer, director, or representative which
         controls, directly or indirectly, Borrower consents to or acquiesces in or joins in, in each
         case in writing, an application for the appointment of a custodian, receiver, trustee, or
         examiner for Borrower or any portion of the Property;

                (8)     Borrower makes an assignment for the benefit of creditors, or admits, in
         writing (except to Lender or its successors or assigns) or in any action or proceeding, its
         insolvency or inability to pay its debts as they become due; or

                 (9)   Any expiration or termination of the Franchise Agreement for any reason
         until such time as a replacement franchise agreement acceptable to Lender has been
         entered into with a franchisor acceptable to Lender, all related PIP Work has been
         completed and paid for and Lender has received an executed comfort letter from such
         replacement franchisor acceptable to Lender.

         IX.       MISCELLANEOUS

        Section 9.1     Survival. This Agreement and all covenants, agreements, representations
and warranties made herein and in the certificates delivered pursuant hereto shall survive the
making by Lender of the Loan and the execution and delivery to Lender of the Note, and shall
continue in full force and effect so Jong as all or any of the Debt is outstanding and unpaid unless
a longer period is expressly set forth herein or in the other Loan Documents. Whenever in this
Agreement any of the parties hereto is referred to, such reference shall be deemed to include the
legal representatives, successors and assigns of such party. All covenants, promises and
agreements in this Agreement, by or on behalf of Borrower, shall inure to the benefit of the legal
representatives, successors and assigns of Lender.


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        Section 9 .2    Lender's Discretion. Whenever pursuant to this Agreement Lender
exercises any right given to it to approve or disapprove any matter, or any arrangement or term is
to be satisfactory to Lender, the decision of Lender to approve or disapprove such matter or to
decide whether arrangements or terms are satisfactory or not satisfactory shall (except as is
otherwise specifically herein provided) be in the sole and absolute discretion of Lender and shall
be final and conclusive. Prior to a Securitization, whenever pursuant to this Agreement the
Rating Agencies are given any right to approve or disapprove any matter, or any arrangement or
term is to be satisfactory to the Rating Agencies, the decision of Lender to approve or disapprove
such matter, or to decide whether arrangements or terms are satisfactory or not satisfactory, shall
be substituted therefor, which such decision shall be based upon Lender's determination of
Rating Agency criteria (unless Lender has an independent approval right in respect of the matter
at issue pursuant to the terms of this Agreement, in which case the discretion afforded to Lender
in connection with such independent approval right shall apply instead).

      Section 9.3 Governing Law. (a) THIS AGREEMENT, THE NOTE AND THE
OTHER LOAN DOCUMENTS AND THE OBLIGATIONS ARISING HEREUNDER AND
THEREUNDER SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF TEXAS APPLICABLE TO CONTRACTS MADE
AND PERFORMED IN SUCH STATE (WITHOUT REGARD TO PRINCIPLES OF
CONFLICTS OF LAWS) AND ANY APPLICABLE LAW OF THE UNITED STATES OF
AMERICA.

                 (a)  ANY LEGAL SUIT, ACTION OR PROCEEDING AGAINST
LENDER OR BORROWER ARISING OUT OF OR RELATING TO THIS AGREEMENT,
THE NOTE OR THE OTHER LOAN DOCUMENTS MAY AT LENDER'S OPTION BE
INSTITUTED IN ANY FEDERAL OR STATE COURT IN THE CITY OF NEW YORK,
COUNTY OF NEW YORK, PURSUANT TO SECTION 5-1402 OF THE NEW YORK
GENERAL OBLIGATIONS LAW AND BORROWER WAIVES ANY OBJECTIONS WHICH
IT MAY NOW OR HEREAFTER HAVE BASED ON VENUE AND/OR FORUM NON
CONVENIENS OF ANY SUCH SUIT, ACTION OR PROCEEDING, AND BORROWER
HEREBY IRREVOCABLY SUBMITS TO THE JURISDICTION OF ANY SUCH COURT IN
ANY SUIT, ACTION OR PROCEEDING.

        Section 9.4    Modification, Waiver in Writing.        No modification, amendment,
extension, discharge, termination or waiver of any provision of this Agreement, the Note, or of
any other Loan Document, nor consent to any departure by Borrower therefrom, shall in any
event be effective unless the same shall be in a writing signed by the party against whom
enforcement is sought, and then such waiver or consent shall be effective only in the specific
instance, and for the purpose, for which given. Except as otherwise expressly provided herein,
no notice to, or demand on Borrower, shall entitle Borrower to any other or future notice or
demand in the same, similar or other circumstances.

        Section 9.5    Delay Not a Waiver. Neither any failure nor any delay on the part of
Lender in insisting upon strict performance of any term, condition, covenant or agreement, or
exercising any right, power, remedy or privilege hereunder, or under the Note or under any other
Loan Document, or any other instrument given as security therefor, shall operate as or constitute
a waiver thereof, nor shall a single or partial exercise thereof preclude any other future exercise,


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or the exercise of any other right, power, remedy or privilege. In particular, and not by way of
limitation, by accepting payment after the due date of any amount payable under this Agreement,
the Note or any other Loan Document, Lender shall not be deemed to have waived any right
either to require prompt payment when due of all other amounts due under this Agreement, the
Note or the other Loan Documents, or to declare a default for failure to effect prompt payment of
any such other amount.

        Section 9.6     Notices. All notices or other written communications hereunder shall be
deemed to have been properly given (i) upon delivery, if delivered in person or by facsimile
transmission with receipt acknowledged by the recipient thereof and confirmed by telephone by
sender, (ii) one (1) Business Day after having been deposited for overnight delivery with any
reputable overnight courier service, or (iii) three (3) Business Days after having been deposited
in any post office or mail depository regularly maintained by the U.S. Postal Service and sent by
registered or certified mail, postage prepaid, return receipt requested, addressed as follows:

If to Borrower:              Kornbluth Texas, LLC
                             302 W. Bay Area Blvd.
                             Webster, Texas 77598
                             Attention: Cheryl Tyler
                             Facsimile No.: (28 I) 335-6723

with a copy to:              Garvey Schubert Barer
                             121 SW Morrison, 11th Floor
                             Portland, Oregon 97204-314 I
                             Attention: Joseph W. West, Esq.
                             Facsimile No.: (503) 226-0259

If to Lender:                Rialto Mortgage Finance, LLC
                             600 Madison Avenue, 12th Floor
                             New York, New York 10022
                             Attention: Kenneth M. Gorsuch, Managing Director
                             Facsimile No.: (212) 415-4841

with a copy to:              Rialto Capital
                             730 NW 107 Avenue, Suite 400
                             Miami, Florida 33172
                             Attention: Liat Heller, General Counsel
                             Facsimile No.: (305) 229-6425

and                          Sills Cummis & Gross, P.C.
                             1 Riverfront Plaza
                             Newark, NJ 07102
                             Attention: Robert Hempstead, Esq.
                             Facsimile No: (973) 643-7000




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or addressed as such party may from time to time designate by written notice to the other parties.
Either party by notice to the other may designate additional or different addresses for subsequent
notices or communications.

      Section 9.7 Trial by Jury. BORROWER HEREBY AGREES NOT TO ELECT A
TRIAL BY JURY OF ANY ISSUE TRIABLE OF RIGHT BY JURY, AND WAIVES ANY
RIGHT TO TRIAL BY JURY FULLY TO THE EXTENT THAT ANY SUCH RIGHT SHALL
NOW OR HEREAFTER EXIST WITH REGARD TO THE LOAN DOCUMENTS, OR ANY
CLAIM, COUNTERCLAIM OR OTHER ACTION ARISING IN CONNECTION
THEREWITH. THIS WAIVER OF RIGHT TO TRIAL BY JURY IS GIVEN KNOWINGLY
AND VOLUNTARILY BY BORROWER, AND IS INTENDED TO ENCOMPASS
INDIVIDUALLY EACH INSTANCE AND EACH ISSUE AS TO WHICH THE RIGHT TO A
TRIAL BY JURY WOULD OTHERWISE ACCRUE. LENDER rs HEREBY AUTHORIZED
TO FILE A COPY OF THIS PARAGRAPH IN ANY PROCEEDING AS CONCLUSIVE
EVIDENCE OF THIS WAIVER BY BORROWER.

        Section 9.8   Headings. The Article and/or Section headings and the Table of Contents
in this Agreement are included herein for convenience of reference only and shall not constitute
a part of this Agreement for any other purpose.

        Section 9.9    Severability. Wherever possible, each provision of this Agreement shall
be interpreted in such manner as to be effective and valid under applicable Legal Requirements,
but if any provision of this Agreement shall be prohibited by or invalid under Legal
Requirement, such provision shall be ineffective to the extent of such prohibition or invalidity,
without invalidating the remainder of such provision or the remaining provisions of this
Agreement.

        Section 9.10 Preferences. Lender shall have the continuing and exclusive right to apply
or reverse and reapply any and all payments by Borrower to any portion of the obligations of
Borrower hereunder. To the extent Borrower makes a payment or payments to Lender, which
payment or proceeds or any part thereof are subsequently invalidated, declared to be fraudulent
or preferential, set aside or required to be repaid to a trustee, receiver or any other party under
any bankruptcy law, State or federal law, common law or equitable cause, then, to the extent of
such payment or proceeds received, the obligations hereunder or part thereof intended to be
satisfied shall be revived and continue in full force and effect, as if such payment or proceeds
had not been received by Lender.

        Section 9.11 Waiver of Notice. Borrower shall not be entitled to any notices of any
nature whatsoever from Lender except with respect to matters for which this Agreement or the
other Loan Documents specifically and expressly provide for the giving of notice by Lender to
Borrower and except with respect to matters for which Borrower is not, pursuant to applicable
Legal Requirements, permitted to waive the giving of notice. Borrower hereby expressly waives
the right to receive any notice from Lender with respect to any matter for which this Agreement
or the other Loan Documents do not specifically and expressly provide for the giving of notice
by Lender to Borrower.




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        Section 9.12 Remedies of Borrower. In the event that a claim or adjudication is made
that Lender or its agents have acted umeasonably or umeasonably delayed acting in any case
where by law or under this Agreement or the other Loan Documents, Lender or such agent, as
the case may be, has an obligation to act reasonably or promptly, Borrower agrees that neither
Lender nor its agents shall be liable for any monetary damages, and Borrower's sole remedies
shall be limited to commencing an action seeking injunctive relief or declaratory judgment. The
parties hereto agree that any action or proceeding to determine whether Lender has acted
reasonably shall be determined by an action seeking declaratory judgment.

         Section 9.13 Expenses; Indenmity. (a) Borrower shall pay or, if Borrower fails to pay,
reimburse Lender upon receipt of notice from Lender, for all reasonable costs and expenses
(including reasonable attorneys' fees and disbursements) incurred by Lender in connection with
(i) Borrower's ongoing perfo1mance of and compliance with Borrower's agreements and
covenants contained in the Loan Documents on its part to be performed or complied with after
the Closing Date, including, without limitation, confirming compliance with environmental and
insurance requirements; (ii) Lender's ongoing performance of and compliance with all
agreements and covenants contained in the Loan Documents on its part to be performed or
complied with after the Closing Date; (iii) the negotiation, preparation, execution, delivery and
administration of any consents, amendments, waivers or other modifications to the Loan
Documents and any other documents or matters requested by Borrower or any Guarantor; (iv)
the filing and recording fees and expenses, title insurance and reasonable fees and expenses of
counsel for providing to Lender all required legal opinions, and other similar expenses incurred, .
in creating and perfecting the Liens in favor of Lender pursuant to the Loan Documents; (v)
enforcing or preserving any rights, in response to third party claims or the prosecuting or
defending of any action or proceeding or other litigation, in each case against, under or affecting
Borrower, the Loan Documents, the Property or any other security given for the Loan; and (vi)
enforcing any Obligations of or collecting any payments due from Borrower or Guarantor under
the Loan Documents or with respect to the Property or in connection with any refinancing or
restructuring of the credit arrangements provided under this Agreement in the nature ofa "work-
out" or of any Bankruptcy Action; provided, however, that Borrower shall not be liable for the
payment of any such costs and expenses to the extent the same arise by reason of the gross
negligence, illegal acts, fraud or willful misconduct of Lender, as determined by a final non-
appealable judgment of a court of competent jurisdiction. Any costs due and payable to Lender
may be paid, at Lender's election in its sole discretion, from any amounts in the Cash
Management Account.

                        (b)     Borrower shall indemnify, defend and hold harmless the
Indemnified Pai1ies from and against any and all Losses that may be imposed on, incurred by, or
asserted against any Indemnified Party in any manner relating to or arising out of (i) any default
or breach by Borrower of its Obligations under, or any material misrepresentation by Borrower
contained in, the Loan Documents, (ii) the use or intended use of the proceeds of the Loan, (iii)
any materials or information provided by or on behalf of Borrower, or contained in any
documentation approved by Borrower; (iv) ownership of the Security Instrument, the Property or
any interest therein, or receipt of any Rents; (v) any accident, injury to or death of persons or loss
of or damage to property occurring in, on or about the Property or on the adjoining sidewalks,
curbs, adjacent property or adjacent parking areas, streets or ways; (vi) any use, nonuse or
condition in, on or about .the Property or on adjoining sidewalks, curbs, adjacent property or


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adjacent parking areas, streets or ways; (vii) performance of any labor or services or the
furnishing of any materials or other property in respect of the Property; (viii) any failure of the
Property to comply with any Legal Requirement; (ix) any claim by brokers, finders or similar
persons claiming to be entitled to a commission in connection with any Lease or other
transaction involving the Property or any part thereof, or any liability asserted against such
Indemnified Party with respect thereto; (x) the claims of any lessee of any portion of the Property
or any Person acting through or under any lessee or otherwise arising under or as a consequence
of any Lease; and (xi) any indemnification to the Rating Agencies in connection with issuing,
monitoring or maintaining the Securities insofar as such Losses arise out of any untrue statement
of any material fact in any materials or information provided by or on behalf of Borrower or
arise out of the omission to state a material fact in such materials or information required to be
stated therein or necessary in order to make the statements in such materials or information, in
light of the circumstances under which they were made, not misleading (collectively, the
"Indemnified Liabilities"); provided, however, that Borrower shall not have any obligation to
the Indemnified Parties hereunder to the extent that such Indemnified Liabilities arise from the
gross negligence, illegal acts, fraud or willful misconduct of the Indemnified Parties, as
determined by a final non-appealable judgment of a court of competent jurisdiction. Borrower
hereby fully and unconditionally releases each of the Indemnified Parties from and against any
and all Losses that may be or may have previously been imposed on, incurred by, or asserted
against any Indemnified Party by Borrower or any affiliate of Borrower in any manner relating to
or arising out of the origination, underwriting or processing of the Loan by Lender.The
provisions of Section 9.13(a), this Section 9.13(b), Section 9.13(c) and Section 9.13(d) shall
survive any payment or prepayment of the Loan and any foreclosure or satisfaction of the
Security Instrument.

                        (c)   Borrower shall, at its sole cost and expense, indemnify, defend and
hold harmless Indemnified Parties from and against any and all Losses imposed on, incurred by,
or asserted against any Indemnified Parties and directly or indirectly arising out of or in any way
relating to any tax on the making and/or recording of the Security Instrument, the Note or any of
the other Loan Documents, but excluding any income, franchise or other similar taxes.

                        (d)    Borrower shall, at its sole cost and expense, indemnify, defend and
hold harmless the Indemnified Parties from and against any and all Losses (including, without
limitation, reasonable attorneys' fees and costs incurred in the investigation, defense, and
settlement of Losses incurred in correcting any prohibited transaction or in the sale of a
prohibited loan, and in obtaining any individual prohibited transaction exemption under ERISA
that may be required, in Lender's sole discretion) that Lender may incur, directly or indirectly, as
a result of a default under Section 3. 1.15.

                       (e)   Upon written request by any Indemnified Party, Borrower shall
defend such Indemnified Party (if requested by any Indemnified Party, in the name of the
Indemnified Party) by attorneys and other professionals approved by the Indemnified Parties.
Notwithstanding the foregoing, any Indemnified Parties may, in their sole and absolute
discretion, engage their own attorneys and other professionals to defend or assist them, and, at
the option of Indemnified Parties, their attorneys shall control the resolution of claim or
proceeding. Upon demand, Borrower shall pay or, in the sole and absolute discretion of the
Indemnified Parties, reimburse, the Indemnified Parties for the payment of reasonable fees and


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disbursements of attorneys, engineers, environmental consultants, laboratories and other
professionals in connection therewith.

                      (f)     Borrower hereby agrees to pay for or, if Borrower's fails to pay, to
reimburse Lender for, any fees and expenses incurred by any Rating Agency in connection with
any Rating Agency review of the Loan or any consent, approval, waiver or confirmation
obtained from such Rating Agency pursuant to the terms and conditions of the Loan Documents,
and Lender shall be entitled to require payment of such fees and expenses as a condition
precedent to obtaining any such consent, approval, waiver or confirnmtion.

         Section 9.14 Schedules and Exhibits Incorporated. The Schedules and Exhibits
annexed hereto are hereby incorporated herein as a part of this Agreement with the same effect
as if set forth in the body hereof.

        Seciion 9.15 Offsets. Counterclaims and Defenses. Any assignee of Lender's interest
in and to this Agreement, the Note and the other Loan Documents shall take the same free and
clear of all offsets, counterclaims or defenses which are unrelated to such documents which
Borrower may otherwise have against any assignor of such documents, and no such unrelated
counterclaim or defense shall be interposed or asserted by Borrower in any action or proceeding
brought by any such assignee upon such documents and any such right to interpose or assert any
such unrelated offset, counterclaim or defense in any such action or proceeding is hereby
expressly waived by Borrower.

        Section 9.16 No Joint Venture or Partnership; No Third Party Beneficiaries. Borrower
and Lender intend that the relationships created hereunder and under the other Loan Documents
be solely that of borrower and lender. Nothing herein or therein is intended to create a joint
venture, pminership, tenancy in common, or joint tenancy relationship between Borrower and
Lender nor to grant Lender any interest in the Property other than that of mortgagee, beneficiary
or lender. This Agreement and the other Loan Documents are solely for the benefit of Lender
and Borrower and nothing contained in this Agreement or the other Loan Documents shall be
deemed to confer upon anyone other than Lender and Borrower any right to insist upon or to
enforce the performance or observance of any of the obligations contained herein or therein. All
conditions to the obligations of Lender to make the Loan hereunder are imposed solely and
exclusively for the benefit of Lender and no other Person shall have standing to require
satisfaction of such conditions in accordance with their terms or be entitled to assume that
Lender will refuse to make the Loan in the absence of strict compliance with any or all thereof
and no other Person shall under any circumstances be deemed to be a beneficiary of such
conditions, any or all of which may be freely waived in whole or in part by Lender if, m
Lender's sole discretion, Lender deems it advisable or desirable to do so.

        Section 9.17 Publicitv. All news releases, publicity or advertising by Borrower or their
Affiliates through any media intended to reach the general public which refers to the Loan
Documents or the financing evidenced by the Loan Documents, to Lender, RIALTO, or any of
their Affiliates shall be subject to the prior written approval of Lender, which shall not be
unreasonably withheld. Notwithstanding the foregoing, disclosure required by any federal or
State securities laws, rules or regulations, as determined by Borrower's counsel, shall not be
subject to the prior written approval of Lender.


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         Section 9.18 Waiver of Marshalling of Assets. To the fullest extent permitted by
applicable Legal Requirements, Borrower, for itself and its successors and assigns, waives all
rights to a marshalling of the assets of Borrower, Borrower's partners and others with interests in
Borrower, and of the Property, or to a sale in inverse order of alienation in the event of
foreclosure of all or part of the Security Instrument, and agrees not to assert any right under any
laws pertaining to the marshalling of assets, the sale in inverse order of alienation, homestead
exemption, the administration of estates of decedents, or any other matters whatsoever to defeat,
reduce or affect the right of Lender under the Loan Documents to a sale of the Property for the
collection of the Debt without any prior or different resort for collection or of the right of Lender
to the payment of the Debt out of the net proceeds of the Property in preference to every other
claimant whatsoever.

        Section 9.19 Waiver of Counterclaim. Borrower hereby waives the right to assert a
counterclaim, other than a compulsory counterclaim, in any action or proceeding brought against
it by Lender or its agents.

        Section 9.20 Conflict; Construction of Documents; Reliance. In the event of any
conflict between the provisions of this Agreement and any of the other Loan Documents, the
provisions of this Agreement shall control. The parties hereto acknowledge that they were
represented by competent counsel in connection with the negotiation, drafting and execution of
the Loan Documents and that such Loan Documents shall not be subject to the principle of
construing their meaning against the party which drafted same. Borrower acknowledges that,
with respect to the Loan, Borrower shall rely solely on its own judgment and advisors in entering
into the Loan without relying in any manner on any statements, representations or
recommendations of Lender or any parent, subsidiary or Affiliate of Lender. Lender shall not be
subject to any limitation whatsoever in the exercise of any rights or remedies available to it under
any of the Loan Documents or any other agreements or instruments which govern the Loan by
virtue of the ownership by it or any parent, subsidiary or Affiliate of Lender of any equity
interest any of them may acquire in Borrower, and Borrower hereby irrevocably waives the right
to raise any defense or take any action on the basis of the foregoing with respect to Lender's
exercise of any such rights or remedies. Bo1TOwer acknowledges that Lender engages in the
business of real estate financings and other real estate transactions and investments which may
be viewed as adverse to or competitive with the business of Borrower or its Affiliates.

         Section 9.21 Brokers and Financial Advisors. Borrower agrees to pay and to indemnify
and hold Lender harmless from any all loss, cost or expense (including attorneys' fees and
expenses) arising from the claims of any brokers or anyone claiming a right to any fees in
connection with the financing of the Property (each, a "Broker"). It is possible that a Broker or
its affiliate shall receive consideration from Lender in connection with the Loan (including
incentive fees based on loan origination volume, additional brokerage fees or servicing rights or
fees) and that such consideration may be based on the profitability of the Loan to Lender.
Borrower acknowledges and agrees that it has made and will make such inquiries of each Broker,
if any, as it deems necessary with respect to the nature or existence of any such arrangement. No
agreement by Lender to pay any such fees or compensation to such Broker (if any) shall be
binding upon Lender unless it is set forth in separate written instrument that has been duly
executed by Lender and such Broker.



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        Section 9.22 Joint and Several Liability. If Borrower consists of more than one (!)
Person, the representations, warranties, covenants, obligations and liabilities of each Person shall
be joint and several.

        Section 9.23 Limitation on Liability. Any obligation or liability whatsoever of Lender
which may arise at any time under this Agreement or any other Loan Document shall be
satisfied, if at all, out of Lender's interest in the Property only. No such obligation or liability
shall be personally binding upon, nor shall resort for the enforcement thereof be had to, any other
asset or property of Lender or the asset or property of any of Lender's shareholders, directors,
officers, employees or agents, regardless of whether such obligation or liability is in the nature of
contract, tort or otherwise.

       Section 9.24 Prior Agreements. This Agreement and the other Loan Documents
contain the entire agreement of the parties hereto and thereto in respect of the transactions
contemplated hereby and thereby, and all prior agreements among or between such parties,
whether oral or written, between Borrower and/or its Affiliates and Lender are superseded by the
terms of this Agreement and the other Loan Documents.

THIS AGREEMENT AND THE OTHER LOAN DOCUMENTS REPRESENT THE
FINAL AGREEMENT BETWEEN THE PARTIES HERETO AND MAY NOT BE
CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS OR
SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES HERETO. THERE ARE NO
UNWRITTEN ORAL AGREEMENTS BETWEEN THE PARTIES HERETO.


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       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed by their duly authorized representatives, all as of the day and year first above written.



                                                    KORNBLUTH TEXAS, LLC, a Texas
                                                    limited ·ab"lity company




                                                    LENDER:

                                                    RIALTO MORTGAGE FINANCE,
                                                     LLC, a Delaware limited liability
                                                    company


                                                    By:
                                                          Name:
                                                          Title:




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       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed by their duly authorized representatives, all as of the day and year first above written.



                                                    KORNBLUTH TEXAS, LLC, a Texas
                                                    limited liability company

                                                    By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                        Name: Cheryl Tyler
                                                        Title: Manager




                                                    LENDER:

                                                    RIALTO MORTGAGE FINANCE,
                                                      LLC, a Delaware limited liability
                                                    company




                                                                       Uat Heller
                                                                   Authorized Signatory




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                                               SCHEDULE I

                                         (SINGLE PURPOSE ENTITY)

A "Single Purpose Entity" means a corporation, limited liability company or limited
partnership that:

        (a)     is organized solely for the purpose of (i) acquiring, developing, owning, holding,
selling, leasing, transferring, exchanging, managing and operating the Property, obtaining the
Loan from Lender and transacting lawful business that is incident, necessary and appropriate to
accomplish the foregoing; (ii) acting as a managing member of the limited liability company that
owns the Property; or (iii) acting as a general partner of the limited partnership that owns the
Property;

        (b)    has not engaged and will not engage in any business or activity unrelated to (i) the
acquisition, development, ownership, management or operation of the Property, (ii) acting as a
managing member of the limited liability company that owns the Property; or (iii) acting as a
general partner of the limited partnership that owns the Property;

        (c)    has not owned and will not own any assets other than (i) the Property, (ii) such
incidental Personal Property as may be necessary for the operation of the Property, (iii) the
membership interest in the limited liability company that owns the Property; or (iv) the general
partnership interest in the limited partnership that owns the Property;

        (d)     has not engaged in, sought or consented to and will not engage in, seek or consent
to any dissolution, winding up, liquidation, consolidation, merger, sale of all or substantially all
of its assets, or transfer of its partnership or membership interests (if such entity is a general
partner in a limited partnership or a member in a limited liability company);

         (e)    has preserved and will preserve its existence as an entity duly organized, validly
existing and in good standing (if applicable) under the laws of the jurisdiction of its organization
or formation and will not without the prior written consent of Lender, amend, modify, terminate
or fail to comply with the provisions of its Organizational Documents, or consent to or suffer the
amendment, modification, termination or breach of any of the Organizational Documents, or
amend, modify, terminate or fail to comply with, or consent or suffer the amendment,
modification, termination or breach of any Organizational Documents of any entity in which it
owns an .interest;

       (f)      has not owned and will not own any subsidiary or make any investment in, any
person or entity;

        (g)    has not commingled and will not commingle its assets with the assets of any of its
general partners, managing members, shareholders, Affiliates, principals or of any other person
or entity;

         (h)       has not incurred and will not incur any Indebtedness, other than, with respect to


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Borrower and, if Borrower is a limited partnership, its Single Purpose Entity general partner, the
following: (i) the Debt and (ii) unsecured trade payables and operational debt not evidenced by a
note and in an aggregate amount not exceeding one percent (I%) of the original principal amount
of the Loan at any one time; provided that any Indebtedness incurred pursuant to clause (ii) shall
be (A) outstanding not more than sixty (60) days and (B) incurred in the ordinary course of
business. No Indebtedness, other than the Debt, may be secured (senior, subordinate or pari
passu) by the Property;

         (i)    has maintained and will maintain its financial statements, accounting records,
bank accounts and other entity documents separate and apart from those of the partners,
members, shareholders, principals and Affiliates of such entity, and has not permitted and will
not permit its assets to be listed as assets on the financial statement of any other entity except that
such entity's financial position, assets, results of operations and cash flows may be included in
the consolidated financial statements of an Affiliate of such entity in accordance with GAAP;
provided, however, that any such consolidated financial statement shall contain a note indicating
that its separate assets and liabilities are neither available to pay the debts of the consolidated
entity nor constitute obligations of the consolidated entity;

        G)      has not entered into or been a party to and will not enter into or be a party to any
contract or agreement with any general partner, managing member, shareholder, principal or
Affiliate of Borrower, any Guarantor, or any general partner, managing member, shareholder,
principal or Affiliate thereof, except upon terms and conditions that are intrinsically fair and
substantially similar to those that would be available on an arm's-length basis with third parties;

        (k)     has maintained and will maintain its assets in such a manner that it will not be
costly or difficult to segregate, ascertain or identify its individual assets from those of any other
Person;

         (1)       has not made and will not make any loans to any third party;

       (m)      has held itself out and identified itself and will hold itself out and identify itself to
the public as a legal entity separate and distinct from any other Person;

        (n)    has conducted and will conduct its business solely in its own name in order not (i)
to mislead others as to the identity with which such other party is transacting business, or (ii) to
suggest that such entity is responsible for the debts of any third party (including any general
partner, managing member, shareholder, principal or Affiliate of such entity, but not including
any Single Purpose Entity limited partnership of which such entity is expressly permitted to be a
general partner in accordance with the terms hereof);

        (o)     is and will endeavor to remain solvent and pay its debts and liabilities (including,
as applicable, shared personnel and overhead expenses) from its assets as the same shall become
due;

         (p)   has maintained and will endeavor to maintain adequate capital for the normal
obligations reasonably foreseeable in a business of its size and character and in light of its
contemplated business operations;



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       (q)     has filed and will file its own tax returns, if any, as may be required under
applicable law, to the extent such entity is (1) not part of a consolidated group filing a
consolidated return or returns or (2) not treated as a division solely for tax purposes of another
taxpayer, and has paid and will pay any taxes so required to be paid under applicable law;

       (r)    has allocated and will allocate fairly and reasonably any overhead expenses that
are shared with an Affiliate, including paying for office space and services performed by any
employee of an Affiliate;

        (s)     has maintained and will maintain a sufficient number of employees, if any, in
light of its contemplated business operations and pay the salaries of its own employees from its
own funds;

       (t)     has not failed and will not fail to correct any known misunderstanding regarding
the separate identity of such entity;

      (u)      has held and will hold its assets in its own name and has conducted and will
conduct its business in its own name;

         (v)       has paid and will pay its own liabilities and expenses;

        (w)    has observed and will observe all corporate, limited liability company or limited
partnership formalities, as applicable;

        (x)     has not and will not assume or guarantee or become obligated for the debts of any
other Person or hold out its credit as being available to satisfy the obligations of any other Person
except by virtue of its status as a Single Purpose Entity general partner of a Single Purpose
Entity limited partnership that has been approved by Lender;

       (y)     has not and will not acquire obligations or securities of its partners, members or
shareholders or any other Affiliate;

       (z)    maintains and uses and will maintain and use separate stationery, invoices and
checks bearing its name;

         (aa)      has not pledged and will not pledge its assets for the benefit of any other Person;

        (bb) has not and will not have any obligation to, and will not, indemnify its partners,
officers, directors or members, as the case may be, unless such an obligation is fully
subordinated to the Debt and will not constitute a claim against it in the event that cash flow in
excess of the amount required to pay the Debt is insufficient to pay such obligation;

       (cc)        does not and will not have any of its obligations guaranteed by any Affiliate of
such entity;

       (dd) has complied and will comply with all of the terms and provisions contained in its
Organizational Documents;




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       (ee)     has acted and will continue to act in a manner to make the statement of facts
contained in its Organizational Documents true and correct;

       (ff)   has considered and will continue to consider the interests of its creditors m
connection with all actions;

          (gg)      intentionally omitted;

        (hh) if such entity is a limited partnership, does not and will not have any general
partner that is not a Single Purpose Entity that owns at least one-half of one percent (0.5%) of the
partnership interests in such limited partnership;

        (ii)    if such entity is a limited liability company, has and will continue to have at least
one (I) managing member that is a Single Purpose Entity that owns at least one-half of one
percent (0.5%) of the membership interests of the limited liability company ("SPC Party") or, if
such entity does not have a SPC Party, is as of the date hereof, and will continue to be, a
Delaware limited liability company that has Organizational Documents that provide that, as long
as any portion of the Debt remains outstanding, upon the occurrence of any event that causes the
last remaining member of such entity or the sole member of such entity if such entity is a single
member limited liability company (such last remaining member or single member shall be
referred to herein as "Sole Member") to cease to be a member of such entity (other than (i) upon
an assignment by Sole Member of all of its limited liability company interests in such entity and
the admission of the transferee, if permitted pursuant to the Organizational Documents of such
entity and the Loan Documents, or (ii) the resignation of Sole Member and the admission of an
additional member of such entity, if permitted pursuant to the Organizational Documents of such
entity and the Loan Documents), a Person that has signed the operating agreement of such
limited liability company, without any action of any Person and simultaneously with Sole
Member ceasing to be a member of such entity, automatically be admitted as a member of such
entity (a "Special Member") and shall preserve and continue the existence of such entity without
dissolution. The Organizational Documents of such entity shall further provide that for so long
as any portion of the Debt is outstanding, no Special Member may resign or transfer its rights as
a Special Member unless (A) a successor Special Member has been admitted to such entity as a
Special Member, and;

         Qj)    if such entity is a limited liability company that does not have a SPC Party, is as
of the date hereof, and will continue to be, a Delaware limited liability company that has
Organizational Documents that provide that, as long as any portion of the Debt remains
outstanding: (i) such entity shall be dissolved, and its affairs shall be wound up, only upon the
first to occur of the following: (A) the termination of the legal existence of the last remaining
member of such entity or the occurrence of any other event which terminates the continued
membership of the last remaining member of such entity in such entity unless the business of
such entity is continued in a manner permitted by its operating agreement or the Delaware
Limited Liability Company Act (the "Act"), or (B) the entry of a decree of judicial dissolution
under Section 18-802 of the Act; (ii) except as expressly permitted pursuant to the terms of the
Loan Documents, (y) Sole Member may not resign (in the case of a single member limited
liability company), and (z) no additional member shall be admitted to such entity; and (iii) upon
the occurrence of any event that causes the last remaining member of such entity to cease to be a


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member of such entity or that causes Sole Member to cease to be a member of such entity (other
than (A) upon an assignment by Sole Member of all of its limited liability company interests in
such entity and the admission of the transferee, if permitted pursuant to the Organizational
Documents of such entity and the Loan Documents, or (B) the resignation of Sole Member and
the admission of an additional member of such entity, if permitted pursuant to the Organizational
Documents of such entity and the Loan Documents), to the fullest extent permitted by law, the
personal representative of such last remaining member shall be authorized to, and shall, within
ninety (90) days after the occurrence of the event that terminated the continued membership of
such member in Borrower, agree in writing (1) to continue the existence of such entity, and (2) to
the admission of the personal representative or its nominee or designee, as the case may be, as a
substitute member of such entity, effective as of the occurrence of the event that terminated the
continued membership of such member in such entity; (iv) the bankruptcy of Sole Member or a
Special Member shall not cause such Sole Member or Special Member to cease to be a member
of such entity and upon the occurrence of such event, the business of such entity shall continue
without dissolution; (v) in the event of the dissolution of such entity, such entity shall conduct
only such activities as are necessary to wind up its affairs (including the sale of its assets and
properties in an orderly manner), and its assets and properties shall be applied in the manner, and
in the order of priority, set forth in Section 18-804 of the Act; and (vi) to the fullest extent
permitted by applicable law, each member and Special Members shall irrevocably waive any
right or power that they might have to cause such entity or any of its assets or properties to be
partitioned, to cause the appointment of a receiver for all or any portion of the assets or
properties of such entity, to compel any sale of all or any portion of the assets or prope1iies of
such entity pursuant to any applicable law or to file a complaint or to institute any proceeding at
law or in equity to cause the dissolution, liquidation, winding up or termination of such entity;

          (kk)     intentionally omitted;

          (ll)     intentionally omitted;

        (mm) the Organizational Documents of such entity shall from and after the date hereof
provide that such entity will not (and such entity agrees that it will not), without (i) the
unanimous consent of its board of directors or managers, or (ii) if such entity is a limited liability
company with a SPC Party or a limited partnership, the unanimous consent of the board of
directors or managers, (A) file or consent to the filing of any petition, either voluntary or
involuntary, to take advantage of any applicable insolvency, bankruptcy, liquidation or
reorganization statute, (B) seek or consent to the appointment of a receiver, liquidator or any
similar official for such entity or a substantial portion of its assets or properties, (C) take any
action that might cause such entity to become insolvent, (D) make an assignment for the benefit
of creditors, (E) admit in writing such entity's inability to pay its debts generally as they become
due, (F) declare or effectuate a moratorium on the payment of any obligations, or (G) take any
action in furtherance of any of the foregoing;

       (nn) the Organizational Documents of such entity shall provide an express
acknowledgment that Lender is an intended third-party beneficiary of the "special purpose" and
"separateness" provisions of such Organizational Documents; and

         (oo)      is as of the date hereof in compliance with and will continue to comply with all of


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the assumptions made in any Insolvency Opinion delivered in connection with the Loan.




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                                              SCHEDULE II

                                         (ORGANIZATIONAL CHART)




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                                                       ORGANIZATIONAL CHART
                                                          (Borrowing Entity)


William K. Kornbluth                                            Delores T. Kornbluth                      Cheryl Tyler
       26 shares                                                    25 shares                              49 shares

                                                                         25.52%
                                                                                                         49.96%


                                                          Kornbluth Enterprises, Inc.
                                                           a California corporation
                                                              EIN: 95-321929


                                                                           100%

                                                Kornbluth Texas, LLC, a Texas limited liability
                                                                  company
                                                             EIN: XX-XXXXXXX



Kornbluth Enterprises. Inc.                                                                Kornbluth Texas. LLC
Board of Directors:                                                                        Manager: Cheryl Tyler
William K. Kornbluth                                                                       Sole Member: Kornbluth Enterprises, Inc.
Cheryl Tyler
Officers:
William K. Kornbluth - President
Cheryl Tyler - Vice President
Delores T. Kornbluth - Secretary
                                                                                                                   GSB:8048638.l [39643.00300]




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                                         SCHEDULE III

                                         (RENT ROLL)

                                            NONE




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                                         SCHEDULE IV

                    (REQUIRED REPAIRS - DEADLINES FOR COMPLETION)



                                           NONE.




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                                           SCHEDULEV

                                         Intentionally Omitted




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                                              SCHEDULE VI

                                         (CREDIT CARD COMPANIES)

1.

2.

3.

4.

5.




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                                                     EXHIBIT A

                                          Form of Tenant Instruction Notice

                                           TENANT DIRECTION LETTER

                                                                  201

[Addressee]

Re:       Payment Direction Letter for _ _ _ _ _ __
          _ _ _ _ _____ (the "Property")

Dear [            ]:

--------,-----,--' a                              ("Borrower"), the owner of the Property, has
granted a security interest in the Property to Rialto Mortgage Finance, LLC, a Delaware limited
liability company (together with its successors and assigns, "Lender") and has agreed that all
rents due for the Property will be paid directly to a bank selected by Borrower and approved by
Lender. Therefore, from and after the date hereof, all rent to be paid by you under the Lease
between Borrower and you (the "Lease") should be sent directly to the following address:

                                          [CLEARING ACCOUNT BANK'S ADDRESS)
                                          or by wire transfer to:
                                          Bank:
                                          ABANo.:
                                          Account No.:
                                          Account Name:           _ _ _ _ _ Clearing Account,
                                          .__ _ _ _ _ _ _,,as Secured Party]
                                                                                           ,,
          All checks should be made out to "
                                                     ---------------
       These payment instructions cannot be withdrawn or modified without the prior written
consent of Lender or its agent ("Servicer"), or pursuant to a joint written instruction from
Borrower and Lender or Servicer. Until you receive written instructions from Lender or
Servicer, continue to send all rent payments due under the Lease to                     . All
rent payments must be delivered to                        no later than the day on which such
amounts are due under the Lease.




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        If you have any questions concerning this Jetter, please contact                      of
Borrower at                           or [         ] of Lender at                             or
________ of Servicer at                                 . We appreciate your cooperation in this
matter.




                                                   By: _ _ _ _ _ _ _ _ _ _ _ __
                                                      Name:
                                                      Title:




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                                                EXHIBITB

                                   Form Of Credit Card Instruction Notice



To:       [Name and Address of Credit Card Processor]
          ("Processor")

Re:                                            ("Borrower")
          Merchant Account Number:

Dear Sir/Madam:

Under various agreements among Borrower and Rialto Mortgage Finance, LLC, a Delaware
limited liability company, having an address at 600 Madison Avenue, 12th Floor, New York,
New York 10022 ("Lender"), Borrower has granted to the Lender a security interest in and to
Borrower's inventory, accounts, general intangibles, equipment, and other assets, including,
without limitation, all amounts due or to become due from the Processor to Borrower.

Under the terms and provisions of such agreements, Borrower is obligated to deliver all of the
Borrower's accounts, accounts receivable, and proceeds of inventory to a deposit account
designated by the Lender (the "Clearing Account"). Such accounts include all credit card
charges (the "Charges") submitted by Borrower to the Processor for processing and the amounts
which the Processor owes to Borrower on account thereof (the "Credit Card Proceeds").

This letter clarifies the respective interests and rights of Lender and Processor in and to the
Charges and the Credit Card Proceeds and provides, subject to the conditions hereof, for the
transmittal by Processor to the Clearing Account of the Credit Card Proceeds, as well as any
other proceeds of Lender's collateral received by Processor.

        I.      Processor recognizes that all Charges and Credit Card Proceeds constitute
collateral granted by Borrower to Lender.

       2.       Processor recognizes that Borrower has granted the Lender a security interest in,
and collaterally assigned to Lender, the contents of any reserve accounts or the like maintained
by Borrower with Processor in respect of Borrower's credit card arrangements with Processor
and as well as in and to any right to payment now or hereafter arising from Processor to
Borrower.




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       3.     Until Processor receives written notification from Lender that the interest of
Lender in the Charges and the Credit Card Proceeds has been terminated, all amounts as may
become due from time to time from Processor to Borrower shall be transferred only to the
Clearing Account as follows:

                                                Bank:
                                                ABANo.:
                                                Account No.:
                                                Account Name:_ _ _                  Clearing Account,
                                                             [                       , as Secured Party]

Any such transfers shall be initiated no later than I O:OOAM on each business day on which any
amount is owed by Processor to Borrower and shall be for the full amount then so owed, without
set off or reduction.

4.      A copy of each periodic statement issued by Processor to Borrower shall be provided to
the Lender at the following address (which address may be changed upon seven (7) days written
notice given to Processor by Lender):




                                        Attn:

5.      Processor shall not provide any loans, advances, or financial accommodations to
Borrower and shall not amend Processor's agreements with the Borrower without the prior
written consent of Lender.

6.       The Processor will:

                            (a)         Provide Lender with written notice upon the establishment of any
                                        escrow, reserve, or other account which the Processor has, or
                                        proposes to establish, with respect to its credit card relationship
                                        with Borrower.


                            (b)         Release any funds which it may hold in any such escrow, reserve,
                                        or other account no later than thirty (30) days after the sooner of
                                        the termination of that account or the termination of the credit card
                                        relationship between Processor and Borrower.


7.      Processor shall be fully protected in acting on any order or direction by Lender respecting
the Charges and the Credit Card Proceeds without making any inquiry whatsoever as to Lender's
right or authority to give such order or direction or as to the application of any payment made
pursuant thereto.


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8.      These payment instructions cannot be withdrawn or modified without the prior written
consent of Lender or its agent ("Servicer"), or pursuant to a joint written instruction from
Borrower and Lender or Servicer. If you have any questions concerning this letter, please
contact                          of Borrower at                   or [        J of Lender at
_ _ _ _ _ _ _ or                            of Servicer at                  . We appreciate
your cooperation in this matter.




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